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Fill in this information to identify your case: 

Debtor Name      The Litigation Practice Group P.C.

United States Bankruptcy Court for the: Central District of California                                                          Check if this is an
                                                                                                                                   amended filing
Case number (If known):




Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                   12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no
book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases.
Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet
is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule
or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor s interest, do
not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:    Cash and cash equivalents

1.   Does the debtor have any cash or cash equivalents?
      No. Go to Part 2.
      Yes. Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                       Current alue of debtor s
                                                                                                                           interest


2.   Cash on hand                                                                                                          $                        0.00

3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
     Name of institution (bank or brokerage firm)        Type of account                 Last 4 digits of account number

     3.1     Union Bank                                  Checking Account                                                  $                 4,500.00


4.   Other cash equivalents (Identify all)

     4.1     Funds held by payment processor - Marich Bein                                                                 $          12,000,000.00



5.   Total of Part 1
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.                        $          12,004,500.00




Official Form 206A/B                                                Schedule A/B: Property                                                 page 1 of 10
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Debtor         The Litigation Practice Group P.C.                                      Case number (if known)
                Name



Part 2:    Deposits and prepayments

6.   Does the debtor have any deposits or prepayments?
      No. Go to Part 3.
      Yes. Fill in the information below.
                                                                                                                           Current alue of debtor s
                                                                                                                           interest

7.   Deposits, including security deposits and utility deposits
     Description, including name of holder of deposit



8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
     Description, including name of holder of prepayment



9.   Total of Part 2
     Add lines 7 through 8. Copy the total to line 81.                                                                     $               62,000.00



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?
      No. Go to Part 4.
      Yes. Fill in the information below.
                                                                                                                           Current alue of debtor s
                                                                                                                           interest

11. Accounts receivable

     11a. 90 days old or less:                           120,000,000.00                                         0.00   =   $          120,000,000.00
                                              face amount                      doubtful or uncollectible accounts



     11b. Over 90 days old:                                           0.00                                      0.00   =   $                     0.00
                                              face amount                      doubtful or uncollectible accounts



12. Total of Part 3
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                $         120,000,000.00




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                Name



Part 4:   Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                            Valuation method used   Current alue of debtor s
                                                                                            for current value       interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:



15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture
    Name of entity:                                                  % of ownership:



16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:




17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.                                                             $                     0.00




Part 5:   Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
     Yes. Fill in the information below.
      General description              Date of the last          Net book value of          Valuation method used   Current alue of debtor s
                                       physical inventory        debtor's interest          for current value       interest
                                                                 (Where available)

19. Raw materials




20. Work in progress



21. Finished goods, including goods held for resale



22. Other inventory or supplies




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23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.                                                                            $                      0.00


24. Is any of the property listed in Part 5 perishable?
     No
     Yes

25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes.
              Book value      $                     0.00 Valuation method                                  Current Value   $                   0.00



26 Has any of the property listed in Part 5 been appraised by a professional within the last year?
    No
     Yes


Part 6:   Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                            Net book value of            Valuation method used            Current alue of debtor s
                                                                     debtor's interest            for current value                interest
                                                                     (Where available)

28. Crops either planted or harvested


                                                                     $              0.00                                       $                           0.00



29. Farm animals Examples: Livestock, poultry, farm-raised fish


                                                                     $              0.00                                       $                           0.00



30. Farm machinery and equipment (Other than titled motor vehicles)


                                                                      $             0.00                                       $                           0.00



31. Farm and fishing supplies, chemicals, and feed


                                                                      $             0.00                                       $                           0.00




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32. Other farming and fishing-related property not already listed in Part 6


                                                                     $               0.00                                           $                            0.00



33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.                                                                                  $                         0.00


34. Is the debtor a member of an agricultural cooperative?
     No
     Ye . I an of he deb or         proper     ored a he coopera i e?
       No
       Yes

35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes
              Book value      $                     0.00 Valuation method                                   Current Value   $                        0.00



36. Is a depreciation schedule available for any of the property listed in Part 6?
     No
     Yes

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     No
     Yes



Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
     No. Go to Part 8.
     Yes. Fill in the information below.
      General description                                            Net book value of          Valuation method used                   Current alue of debtor s
                                                                     debtor's interest          for current value                       interest
                                                                     (Where available)

39. Office furniture

    Office furniture                                                     $         0.00                                         $                       Unknown



40. Office fixtures

                                                                         $          0.00                                        $                               0.00




Official Form 206A/B                                 Schedule A/B: Property  Real and Personal Property                                               page 5 of 10
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                Name



41. Office equipment, including all computer equipment and
    communication systems equipment and software

     Misc. computers, monitors, cubicles, TV's,
     office supplies                                                        $             0.00                                  $                   Unknown



42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

                                                                            $             0.00                                  $                         0.00



43. Total of Part 7.
     Add lines 38 through 42. Copy the total to line 86.                                                                            $                     0.00


44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
      Yes

45 Has any of the property listed in Part 7 been appraised by a professional within the last year?
    No
      Yes



Part 8:     Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?
      No. Go to Part 9.
      Yes. Fill in the information below.

       General description                                                  Net book value of           Valuation method used       Current alue of debtor s
                                                                            debtor's interest           for current value           interest
       Include year, make, model, and identification numbers (i.e.,
       VIN, HIN, or N-number)                                               (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
                                                                            $             0.00                                  $                         0.00



48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
    floating homes, personal watercraft, and fishing vessels

                                                                            $             0.00                                  $                         0.00



49. Aircraft and accessories

                                                                            $             0.00                                  $                         0.00




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                Name



50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)
                                                                           $              0.00                                    $                           0.00



51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.                                                                               $                       0.00


52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes


Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
     Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

      Description and location of                   Nature and extent          Net book value of          Valuation method used           Current value of
      property                                      of debtor s interest       debtor's interest          for current value               debtor s interest
      Include street address or other description   in property                (Where available)
      such as Assessor Parcel Number (APN),
      and type of property (for example,
      acreage, factory, warehouse, apartment or
      office building), if available.




56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.               $                       0.00


57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes




Official Form 206A/B                                   Schedule A/B: Property  Real and Personal Property                                             page 7 of 10
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Part 10:   Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
     Yes. Fill in the information below.
      General description                                           Net book value of           Valuation method used       Current alue of debtor s
                                                                    debtor's interest           for current value           interest
                                                                    (Where available)

60. Patents, copyrights, trademarks, and trade secrets
                                                                     $           0.00                                   $                         0.00



61. Internet domain names and websites
                                                                     $           0.00                                   $                         0.00



62. Licenses, franchises, and royalties
                                                                     $           0.00                                   $                         0.00



63. Customer lists, mailing lists, or other compilations
    Customer leads                                                   $           0.00                                   $                  120,000.00



64. Other intangibles, or intellectual property
                                                                     $           0.00                                   $                         0.00



65. Goodwill
                                                                     $           0.00                                   $                         0.00



66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.                                                                     $              120,000.00


67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes




Official Form 206A/B                                 Schedule A/B: Property  Real and Personal Property                                   page 8 of 10
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                  Name



Part         All other assets
11:

70. Does the debtor own any other assets that have not yet been reported on this form?
       Include all interests in executory contracts and unexpired leases not previously reported on this form.
        No. Go to Part 12.
        Yes. Fill in the information below.
                                                                                                                             Current alue of debtor s
                                                                                                                             interest

71. Notes receivable
       Description (include name of obligor)

                                                                       0.00                                         0.00 =   $                      0.00
                                                   Total face amount              doubtful or uncollectible accounts



72. Tax refunds and unused net operating losses (NOLs)
       Description (for example, federal, state, local)

                                                                                        Tax Year                             $                      0.00



73. Interests in insurance policies or annuities

                                                                                                                             $                      0.00



74. Causes of action against third parties (whether or not a lawsuit has been filed)

                                                                                                                             $                      0.00
       Nature of claim

       Amount requested                        $                       0.00


75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of
    the debtor and rights to set off claims

                                                                                                                             $                      0.00
       Nature of claim
       Amount requested                        $                       0.00


76. Trusts, equitable or future interests in property

                                                                                                                             $                      0.00



77. Other property of any kind not already listed Examples: Season tickets, country club membership

                                                                                                                             $                      0.00




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                   Name




78. Total of Part 11.
     Add lines 71 through 77. Copy the total to line 90.                                                                                                      $                     0.00

79   Has any of the property listed in Part 11 been appraised by a professional within the last year?
      No
      Yes




Part 12:       Summary


In Part 12 copy all of the totals from the earlier parts of the form.

         Type of property                                                                              Current value of                      Current value of
                                                                                                       personal property                     real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                               $      12,004,500.00

  81. Deposits and prepayments. Copy line 9, Part 2.                                                   $            62,000.00

  82. Accounts receivable. Copy line 12, Part 3.                                                       $    120,000,000.00

  83. Investments. Copy line 17, Part 4.                                                               $                     0.00

  84 Inventory. Copy line 23, Part 5.                                                                  $                     0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                        $                     0.00

  86. Office furniture, fixtures, and equipment; and collectibles.
      Copy line 43, Part 7.                                                                            $                     0.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                        $                     0.00


  88. Real property. Copy line 56, Part 9. ................................................................................... Î              $                   0.00


  89. Intangibles and intellectual property. Copy line 66, Part 10.                                    $           120,000.00


  90. All other assets. Copy line 78, Part 11.                                                  + $                          0.00


  91. Total. Add lines 80 through 90 for each column...................... 91a.                        $    132,186,500.00           + 91b. $                     0.00




  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ........................................................................................          $    132,186,500.00




Official Form 206A/B                                           Schedule A/B: Property  Real and Personal Property                                                          page 10 of 10
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Fill in this information to identify your case: 

Debtor Name        The Litigation Practice Group P.C.

United States Bankruptcy Court for the: Central District of California                                                                       Check if this is an
                                                                                                                                                amended filing
Case number (If known):



Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15

Be as complete and accurate as possible


1.    Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.

Part 1:      List Creditors Who Have Secured Claims

                                                                                                                     Column A                   Column B
2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than                  Amount of claim            Value of collateral
      one secured claim, list the creditor separately for each claim.                                                Do not deduct the          that supports this
                                                                                                                     value of collateral.       claim

2.1       Creditor s Name                                            Describe debtor s propert that is
                                                                     subject to a lien
          Diverse Capital LLC                                                                                    $         1,224,810.00 $                        0.00

          Creditor s mailing address
          323 Sunny Isles Blvd, Ste 503
          Sunny Isles, FL 33154

          Creditor s email address, if kno n                         Describe the lien                               Description
                                                                                                                      Breach of Settlement Agreement

          Date debt was incurred                                     Is the creditor an insider or related party?
                                                                      No
          Last 4 digits of account number
                                                                      Yes
          Do multiple creditors have an interest in the same         Is anyone else liable on this claim?
          property?
                                                                      No
           No
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
           Yes. Have you already specified the relative priority?
              No. Specify each creditor, including this             As of the petition filing date, the claim is:
                      creditor, and its relative priority.           Check all that apply.
                                                                      Contingent
              Yes. The relative priority of creditors is             Unliquidated
                      specified on lines
                                                                      Disputed




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 3
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Debtor          The Litigation Practice Group P.C.                                            Case number (if known)
                Name



2.2      Creditor s Name                                            Describe debtor s propert that is
                                                                    subject to a lien
         City Capital NY                                                                                        $         2,950,000.00 $               1.00

         Creditor s mailing address
         1135 Kane Concourse
         Bay Harbour Islands, FL 33154

         Creditor s email address, if kno n                         Describe the lien                               Description
                                                                                                                     Breach of Contract

         Date debt was incurred                                     Is the creditor an insider or related party?
                                                                     No
         Last 4 digits of account number
                                                                     Yes
         Do multiple creditors have an interest in the same         Is anyone else liable on this claim?
         property?
                                                                     No
          No
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          Yes. Have you already specified the relative priority?
             No. Specify each creditor, including this             As of the petition filing date, the claim is:
                       creditor, and its relative priority.         Check all that apply.
                                                                     Contingent
             Yes. The relative priority of creditors is             Unliquidated
                       specified on lines
                                                                     Disputed

2.3      Creditor s Name                                            Describe debtor s propert that is
                                                                    subject to a lien
         Fundura Capital Group                                                                                  $         2,100,000.00 $               1.00

         Creditor s mailing address
         80 Broad Street, Ste 3303
         New York, NY 10004

         Creditor s email address, if kno n                         Describe the lien                               Description
                                                                                                                     Breach of Contract claim

         Date debt was incurred                                     Is the creditor an insider or related party?
                                                                     No
         Last 4 digits of account number
                                                                     Yes
         Do multiple creditors have an interest in the same         Is anyone else liable on this claim?
         property?
                                                                     No
          No
                                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H).
          Yes. Have you already specified the relative priority?
             No. Specify each creditor, including this             As of the petition filing date, the claim is:
                       creditor, and its relative priority.         Check all that apply.
                                                                     Contingent
             Yes. The relative priority of creditors is             Unliquidated
                       specified on lines
                                                                     Disputed




 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any                          $   6,274,810.00




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Part 2:   List Others to Be Notified for a Debt That You Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.
If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

Name and Address                                                                                           On which line in Part 1       Last 4 digits of
                                                                                                           did you enter the             account number
                                                                                                           related creditor?             for this entity




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Fill in this information to identify your case: 

Debtor            The Litigation Practice Group P.C.

United States Bankruptcy Court for the: Central District of California                                                                   Check if this is an
                                                                                                                                              amended filing
Case number (If known):



Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official
Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the
Additional Page of that Part included in this form.

Part 1:     List All Creditors with PRIORITY Unsecured Claims

1.       Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
           No. Go to Part 2.
           Yes. Go to line 2.
2.       List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3
         creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1
                                                                                                              Total Claim                 Priority Amount

2.1       Priorit creditor s name and mailing address          As of the petition filing date, the claim is:
                                                               Check all that apply.
                                                                                                               $             5,639.24     $              5,639.24
          Indiana Dept of Revenue                                  Contingent
                                                                   Unliquidated
           PO Box 1028
                                                                   Disputed
          INDIANAPOLIS, IN 46206

          Date or dates debt was incurred                      Basis for the claim:




          Last 4 digits of account number                      Is the claim subject to offset?                     Description
                                                                No
          Specify Code subsection of PRIORITY                   Yes                                                Withholding Tax
          unsecured claim: 11 U.S.C. § 507(a) (           )




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                               page 1 of 25
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2.2      Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                                                                           $                 190.05   $            190.05
         Dept of Labor and Industries                          Contingent
                                                               Unliquidated
         PO Box 34022
                                                               Disputed
         Seattle, WA 98124

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number 4900              Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Ins tax
         unsecured claim: 11 U.S.C. § 507(a) (         )


2.3      Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.                                              35.00                 35.00
                                                                                                           $                          $
         Arizona Dept of Economic Security                     Contingent
                                                               Unliquidated
         PO Box 6028
                                                               Disputed
         Phoenix, AZ 85005

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number                   Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Tax
         unsecured claim: 11 U.S.C. § 507(a) (         )


2.4      Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                                                                           $              6,357.40    $          6,357.40
         Arkansas Dept of Finance & Admin                      Contingent
                                                               Unliquidated
         PO Box 9941, Little Rock, AR 72203-
         9941
                                                               Disputed

         Little Rock, AR 72203

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number                   Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Tax
         unsecured claim: 11 U.S.C. § 507(a) (         )




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              Name



2.5      Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                                                                           $           346,480.39   $      346,480.39
         California Franchise Tax Board                        Contingent
                                                               Unliquidated
         PO Box 942857
                                                               Disputed
         Sacramento, CA 94257

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number                   Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Tax
         unsecured claim: 11 U.S.C. § 507(a) (         )


2.6      Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.                                         2,350.85              2,350.85
                                                                                                           $                        $
         Georgia Dept of Labor                                 Contingent
                                                               Unliquidated
         148 Andrew Young International Blvd,
         NE, Suite 752
                                                               Disputed

         Atlanta, GA 30303

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number                   Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Tax
         unsecured claim: 11 U.S.C. § 507(a) (         )


2.7      Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                                                                           $             9,025.99   $          9,025.99
         Internal Revenue Service (IRS)                        Contingent
                                                               Unliquidated
         Internal Revenue Service
                                                               Disputed
         Ogden, UT 84201

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number                   Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Tax
         unsecured claim: 11 U.S.C. § 507(a) (         )




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2.8      Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                                                                           $                 393.69   $            393.69
         Mississippi Dept of Revenue                           Contingent
                                                               Unliquidated
         PO Box 23075
                                                               Disputed
         Jackson, MS 39225

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number                   Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Tax
         unsecured claim: 11 U.S.C. § 507(a) (         )


2.9      Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.                                         3,262.49                3,262.49
                                                                                                           $                          $
         Nevada Dept of Taxation                               Contingent
                                                               Unliquidated
         1550 College Parkway, Suite 115
                                                               Disputed
         Carson City, NV 89706

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number                   Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Tax
         unsecured claim: 11 U.S.C. § 507(a) (         )


2.10     Priorit creditor s name and mailing address       As of the petition filing date, the claim is:
                                                           Check all that apply.
                                                                                                           $                 212.82   $            212.82
         Utah State Tax Commission                             Contingent
                                                               Unliquidated
         210 N 1950 W
                                                               Disputed
         Salt Lake City, UT 84134

         Date or dates debt was incurred                   Basis for the claim:




         Last 4 digits of account number                   Is the claim subject to offset?                     Description
                                                            No
         Specify Code subsection of PRIORITY                Yes                                                Tax
         unsecured claim: 11 U.S.C. § 507(a) (         )




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                 Name



2.11       Priorit creditor s name and mailing address          As of the petition filing date, the claim is:
                                                                Check all that apply.
                                                                                                                $                 112.12     $               112.12
           Wisconsin Dept of Revenue                                Contingent
                                                                    Unliquidated
           PO Box 8901
                                                                    Disputed
           Madison, WI 53708

           Date or dates debt was incurred                      Basis for the claim:




           Last 4 digits of account number                      Is the claim subject to offset?                     Description
                                                                 No
           Specify Code subsection of PRIORITY                   Yes                                                Tax
           unsecured claim: 11 U.S.C. § 507(a) (           )




Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

3.        List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
          claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                Amount of claim

3.1        Nonpriorit creditor s name and mailing address                      As of the petition filing date, the claim is:
                                                                               Check all that apply.
                                                                                                                                  $                        14,472.33
           Ajilon                                                                  Contingent
                                                                                   Unliquidated
           Lockbox: Dept CH 14031                                                  Disputed

           Palatine, IL 60055

           Date or dates debt was incurred                                     Basis for the claim:                                   Description

                                                                                                                                      Staffing Services


           Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




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              Name



3.2      Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        201,869.92
         Anthem Blue Cross                                            Contingent
                                                                      Unliquidated
         PO Box 511300                                                Disputed

         Los Angeles, CA 90051

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Insurance

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.3      Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                        187,956.90
         Azevedo Solutions Groups, Inc                                Contingent
                                                                      Unliquidated
         420 Adobe Canyon Rd                                          Disputed

         Kenwood, CA 95452

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      IT Vendor

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.4      Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                      6,174.87
                                                                                                                  $
         Carolina Technologies & Consulting Invoice                   Contingent
                                                                      Unliquidated
         1854 Hendersonville Road, Suite A                            Disputed
         PMB #178

         Asheville, NC 28803

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      IT Vendor


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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              Name



3.5      Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        219,533.80
         Collaboration Advisors                                       Contingent
                                                                      Unliquidated
         400 Dorla Court                                              Disputed

         Zephyr Cove, NV 89448

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Broker - marketing
                                                                                                                      affiliates
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.6      Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                         98,502.00
         Credit Reporting Service Inc                                 Contingent
                                                                      Unliquidated
         548 Market St, Suite 72907                                   Disputed

         San Francisco, CA 94104

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Credit reporting platform

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.7      Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                       374.00
                                                                                                                  $
         CT Corporation - Inv                                         Contingent
                                                                      Unliquidated
         PO Box 4349                                                  Disputed

         Carol Stream, IL 80107

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Agent for service of
                                                                                                                      process
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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              Name



3.8      Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        162,500.00
         Debt Pay Pro                                                 Contingent
                                                                      Unliquidated
         1900 E Golf Road, Suite 550                                  Disputed

         Schaumburg, IL 60173

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      CRM

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.9      Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                         90,570.08
         Document Fulfillment Services                                Contingent
                                                                      Unliquidated
         2930 Ramona Ave #100                                         Disputed

         Sacramento, CA 95826

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Mail vendor

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.10     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                      7,842.00
                                                                                                                  $
         EnergyCare, LLC                                              Contingent
                                                                      Unliquidated
         2925 N. Green Valley Parkway                                 Disputed
         Suite C

         Henderson, NV 89014

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Offshore call center


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.11     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        130,773.51
         Exela Enterprise Solutions                                   Contingent
                                                                      Unliquidated
         2701 E. Grauwyler Road                                       Disputed

         Irving, TX 75061

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Mail vendor

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.12     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                         21,557.13
         First Legal Network, LLC                                     Contingent
                                                                      Unliquidated
         PO Box 743451                                                Disputed

         Los Angeles, CA 90074

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Online filing platform

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.13     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                      7,861.98
                                                                                                                  $
         GHA Technologies Inc                                         Contingent
                                                                      Unliquidated
         Dept #2090                                                   Disputed
         PO Box 29661

         Phoenix, AZ 85038

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Computer sales


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.14     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                          455.00
         Harrington Electric Inc                                      Contingent
                                                                      Unliquidated
         PO Box 886                                                   Disputed

         Skyland, NC 28776

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Utility repair company

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.15     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                        1,010.00
         Imagine Reporting                                            Contingent
                                                                      Unliquidated
         1350 Columbia Street                                         Disputed
         Suite 703

         San Diego, CA 92103

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Document copying
                                                                                                                      vendor
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.16     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        8,107.11
         Juize, Inc                                                   Contingent
                                                                      Unliquidated
         PO Box 505                                                   Disputed

         Murrieta, CA 92562

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Appliance lease


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.17     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                         1,939.09
         Krisp Technologies, Inc                                      Contingent
                                                                      Unliquidated
         2150 Shattuck Ave                                            Disputed
         Penthouse 1300

         Berkeley, CA 94704

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Software vendor


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.18     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        13,325.68
         Liberty Mutual                                               Contingent
                                                                      Unliquidated
         PO Box 91013                                                 Disputed

         Chicago, IL 60680

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Insurance

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.19     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                         3,225.83
         Marc Lemauviel - Allegra                                     Contingent
                                                                      Unliquidated
         326 MacNeil Way                                              Disputed

         Weaverville, NC 28787

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Interior designer


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.20     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                          4,980.65
         MarkSYS Holdings, LLC                                        Contingent
                                                                      Unliquidated
         3725 Cincinnati Ave                                          Disputed
         Suite 200

         Rocklin, CA 95765

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Mail vendor


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.21     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        101,320.10
         Netsuite-Oracle                                              Contingent
                                                                      Unliquidated
         2300 Oracle Way                                              Disputed

         Austin, TX 78741

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Bookkeeping software

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.22     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                          1,091.89
         Pitney Bowes                                                 Contingent
                                                                      Unliquidated
         PO Box 981026                                                Disputed

         Boston, MA 02298

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Mail meter vendor


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.23     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        2,495.00
         Rapid Credit Inc                                             Contingent
                                                                      Unliquidated
         3558 Round Barn Blvd                                         Disputed
         Suite 200

         Santa Rosa, CA 95403

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Credit repair company


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.24     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        3,683.54
         SBS Leasing A Program of De Lage Landen                      Contingent
                                                                      Unliquidated
         PO Box 41602                                                 Disputed

         Philadelphi, PA 19101

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Equipment leasing -
                                                                                                                      copier-printer
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.25     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                          552.01
         Security Solutions                                           Contingent
                                                                      Unliquidated
         10911 Bloomfield St                                          Disputed

         Los Alamitos, CA 90720

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Door repair company


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.26     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        158,207.87
         Sharp Business Systems                                       Contingent
                                                                      Unliquidated
         8670 Argent St                                               Disputed

         Santee, CA 92071

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      IT support services and
                                                                                                                      phone system
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.27     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                         14,091.02
         Streamline Performance Inc                                   Contingent
                                                                      Unliquidated
         1551 N Tustin, #555                                          Disputed

         Santa Ana, CA 92705

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Consultant

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.28     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                      1,987.20
                                                                                                                  $
         Thomson Reuters                                              Contingent
                                                                      Unliquidated
         610 Opperman Drive                                           Disputed

         Eagen, MN 55123

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Online search engine
                                                                                                                      platform
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.29     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        18,343.43
         Twilio, Inc                                                  Contingent
                                                                      Unliquidated
         101 Spear Street                                             Disputed
         Suite 500

         San Francisco, CA 94105

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      SMS vendor for CRM


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.30     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                         9,125.00
         Nationwide Appearance Attorneys                              Contingent
                                                                      Unliquidated
         5737 Kanan Rd #628                                           Disputed

         Agoura Hills, CA 91301

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Appearance counsel -
                                                                                                                      1099 basis
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.31     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        52,095.81
         Executive Center LLC                                         Contingent
                                                                      Unliquidated
         5960 South Jones Blvd                                        Disputed

         Las Vegas, NV 89118

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Lease (abandoned) - Las
                                                                                                                      Vegas, NV
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.32     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        247,591.48
         Outsource Accelerator Ltd                                    Contingent
                                                                      Unliquidated
         City Marque Limited, Unit 8801-2                             Disputed
         Bldg 244-248 Des Voeux Rd
         Central Hong Kong




         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Offshore call center

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.33     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                        481,609.52
         TaskUs Holdings, Inc.                                        Contingent
                                                                      Unliquidated
         1650 Independence Dr                                         Disputed

         New Braunfels, TX 78132

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Offshore call center

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.34     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                    8,000,000.00
         Marich Bein LLC                                              Contingent
                                                                      Unliquidated
         99 Wall Street                                               Disputed
         Ste 2669

         New York, NY 10005

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Breach of Contract


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.35     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                   25,000,000.00
         Validation Partners LLC                                      Contingent
                                                                      Unliquidated
         1300 Sawgrass Pkwy                                           Disputed
         Ste 110

         Sunrise, FL 33323

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Breach of Contract


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.36     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                   36,810,655.64
         MC DVI Fund 1, LLC; MC DVI Fund 2, LLC                       Contingent
                                                                      Unliquidated
         1598 Cottonwood Dr                                           Disputed

         Glenview, IL 60026

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Breach of Contract

         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.37     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                   65,385,489.44
         Debt Validation Fund II, LLC                                 Contingent
                                                                      Unliquidated
         5075 Lower Valley Road                                       Disputed

         Atglen, PA 19310

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Breach of Contract


         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.38     Nonpriorit creditor s name and mailing address             As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                    $                        139,787.22
         Tustin Executive Center                                        Contingent
                                                                        Unliquidated
         1630 S Sunkist Steet                                           Disputed
         Ste A

         Anaheim, CA 92806

         Date or dates debt was incurred                            Basis for the claim:                                Description

                                                                                                                        Lease Dispute


         Last 4 digits of account number                            Is the claim subject to offset?
                                                                        No
                                                                        Yes



3.39     Nonpriorit creditor s name and mailing address             As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                    $                         28,000.00
         LexisNexus                                                     Contingent
                                                                        Unliquidated
         15500 B Rockfield Blvd                                         Disputed

         Irvine, CA 92618

         Date or dates debt was incurred                            Basis for the claim:                                Description

                                                                                                                        Breach of contract -
                                                                                                                        Online Research Platform
         Last 4 digits of account number    7028                    Is the claim subject to offset?
                                                                        No
                                                                        Yes



3.40     Nonpriorit creditor s name and mailing address             As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                    $                    1,400,000.00
         JP Morgan Chase                                                Contingent
                                                                        Unliquidated
         3 Park Plaza, Ste 900                                          Disputed

         Irvine, CA 92614

         Date or dates debt was incurred                            Basis for the claim:                                Description

                                                                                                                        Commercial orporate
                                                                                                                        credit card
         Last 4 digits of account number                            Is the claim subject to offset?
                                                                        No
                                                                        Yes




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3.41     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                    2,400,000.00
         Business Centers of America                                  Contingent
                                                                      Unliquidated
         1100 Sir Francis Drake Blvd                                  Disputed
         Ste 1

         Kentfield, CA 94904

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Receivable purchase -
                                                                                                                      unperfected
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.42     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Michael Schwartz                                             Contingent
                                                                      Unliquidated
         3968 Lowry Avenue                                            Disputed

         Cincinnati, OH 45229

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - See
                                                                                                                      SOFA #9
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.43     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Anibal Colon Jr                                              Contingent
                                                                      Unliquidated
         c/o Alexander Taylor, Esq.                                   Disputed
         Sulaiman Law Group Ltd
         2500 S. Highland Ave, Ste 200

         Lombard, IL 60148

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - SOFA
                                                                                                                      #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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3.44     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Kathleen Lacey                                               Contingent
                                                                      Unliquidated
         c/o David Chami, Esq.                                        Disputed
         Price Law Group
         8245 N. 85th Way

         Scottsdale, AZ 85258

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - SOFA
                                                                                                                      #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.45     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                        Unknown
         David Ulery                                                  Contingent
                                                                      Unliquidated
         c/o Joshua Eggnatz, Esq,                                     Disputed
         EGGNATZ | PASCUCCI
         7450 Griffin Road, Suite 230

         Davie, FL 33314

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - SOFA
                                                                                                                      #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.46     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Kimberly Birdsong                                            Contingent
                                                                      Unliquidated
         c/o Alexander J. Taylor, Esq.                                Disputed
         SULAIMANLAW GROUP
         2500 South Highland Ave
         Suite 200

         Lombard, IL 60148

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



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3.47     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Kevin Carpenter                                              Contingent
                                                                      Unliquidated
         c/o Alexander Taylor, Esq,                                   Disputed
         Sulaiman Law Group Ltd
         2500 S. Highland Ave, Ste 200

         Lombard, IL 60148

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.48     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                        Unknown
         Karen Suell                                                  Contingent
                                                                      Unliquidated
         c/o Nathan C. Volheim, Esq                                   Disputed
         Sulaiman Law Group
         2500 S. Highland Ave, Ste 200

         Lombard, IL 60148

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.49     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Gloria Eaton                                                 Contingent
                                                                      Unliquidated
         c/o Kris Skaar, Esq.                                         Disputed
         133 Mirramont Lake Dr.

         Woodstock, GA 30189

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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              Name



3.50     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Carolyn Beech                                                Contingent
                                                                      Unliquidated
         c/o Daniel Edelman, Esq.                                     Disputed
         20 South Clark St., Ste1500

         Chicago, IL 60603

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.51     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Debra Price                                                  Contingent
                                                                      Unliquidated
         c/o Robert Cocco                                             Disputed
         1500 Walnut St, Ste 900

         Philadelphia, PA 19102

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.52     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                                                    Unknown
                                                                                                                  $
         Kenneth Topp                                                 Contingent
                                                                      Unliquidated
         c/o Nathan Volheim, Esq                                      Disputed
         Sulaiman Law Group Ltd
         2500 S Highland Ave, Ste 200

         Lombard, IL 60148

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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Debtor        The Litigation Practice Group P.C.                                Case number (if known)
              Name



3.53     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Darcy Williamson, Trustee                                    Contingent
                                                                      Unliquidated
         510 SW 10th                                                  Disputed

         Topeka, KS 66612

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.54     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                        Unknown
         James Hammett                                                Contingent
                                                                      Unliquidated
         c/o Jenna Dakraub                                            Disputed
         Price Law Group
         8245 N. 85th Way

         Scottsdale, AZ 85258

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.55     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Johnny RIzo                                                  Contingent
                                                                      Unliquidated
         c/o Bobby Walker, Esq.                                       Disputed
         Sulaiman Law Group
         2500 S. Highland Ave, Ste 200

         Lombard, IL 60148

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




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Debtor        The Litigation Practice Group P.C.                                Case number (if known)
              Name



3.56     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Beverly Graham                                               Contingent
                                                                      Unliquidated
         c/o Bobby Walker, Esq.                                       Disputed
         Sulaiman Law Group
         2500 S. Highland Ave, Ste 200

         Lombard, IL 60148

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.57     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.                           $                        Unknown
         Kathleen Scarlett                                            Contingent
                                                                      Unliquidated
         c/o Jeremiah Heck, Esq.                                      Disputed
         Luftman Heck & Assoc
         6253 Riverside Dr, Ste 200

         Dublin, OH 43017

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes



3.58     Nonpriorit creditor s name and mailing address           As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                                                                  $                        Unknown
         Geneve and Myranda Sheffield                                 Contingent
                                                                      Unliquidated
         c/o Jeremiah Heck, Esq                                       Disputed
         Luftman Heck & Assoc
         6253 Riverside Dr, Ste 200

         Dublin, OH 43017

         Date or dates debt was incurred                          Basis for the claim:                                Description

                                                                                                                      Pending litigation - see
                                                                                                                      SOFA #7
         Last 4 digits of account number                          Is the claim subject to offset?
                                                                      No
                                                                      Yes




Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                    page 24 of 25
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Debtor        The Litigation Practice Group P.C.                                         Case number (if known)
              Name




Part 3:   List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are
      collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed,
      copy the next page.

                                                                      On which line in Part 1 or Part 2 is the         Last 4 digits of account
      Name and mailing address
                                                                      related creditor (if any) listed?                number




Part 4:   Total Amounts of the Priority and Nonpriority Unsecured Claims


5.    Add the amounts of priority and nonpriority unsecured claims.                             Total of claim amounts


5a.   Total claims from Part 1                                                     5a.           $                374,060.04



5b.   Total claims from Part 2                                                     5b.     +     $         141,439,158.05




5c.   Total of Parts 1 and 2                                                       5c.           $         141,813,218.09
      Lines 5a + 5b = 5c.




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Fill in this information to identify your case: 

Debtor Name      The Litigation Practice Group P.C.

United States Bankruptcy Court for the: Central District of California                                                                   Check if this is an
                                                                                                                                            amended filing
Case number (If known):                                                           Chapter    7




Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.
1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check hi bo and file hi form i h he co r i h he deb or o her ched le . There i no hing el e o repor on hi form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
          Form 206A/B).

                                                                                      State the name and mailing address for all other parties with whom
2.     List all contracts and unexpired leases
                                                                                      the debtor has an executory contract or unexpired lease

2.1    State what the contract or
                                             Debtor's office - this lease             Tustin Executive Center
       lease is for and the nature
       of the debtor s interest              will be rejected                         1630 S. Sunkist St., Ste A
                                                                                      Anaheim, CA 92806
       State the term remaining

       List the contract number of
       any government contract


2.2    State what the contract or
                                             Former office in Las Vegas               Executive Center LLC
       lease is for and the nature
       of the debtor s interest              - lease will be rejected.                5960 S. JOnes Blvd.
                                                                                      Las Vegas, NV 89118
       State the term remaining

       List the contract number of
       any government contract


2.3    State what the contract or
                                             See list of additional                   See attached list
       lease is for and the nature
       of the debtor s interest              executory contracts

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                                 page 1 of 1
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Fill in this information to identify your case: 

Debtor Name      The Litigation Practice Group P.C.

United States Bankruptcy Court for the: Central District of California                                                              Check if this is an
                                                                                                                                       amended filing
Case number (If known):




Official Form 206H
Schedule H: Your Codebtors                                                                                                                              12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.
1.    Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       Yes
2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

      Column 1: Codebtor                                                                      Column 2: Creditor

                                                                                                                                 Check all schedules that
      Name and description            Mailing address                                         Name
                                                                                                                                 apply:




Official Form 206H                                              Schedule H: Your Codebtors                                                        page 1 of 1
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Fill in this information to identify your case: 

Debtor name      The Litigation Practice Group P.C.

United States Bankruptcy Court for the: Central District of California                                                      Check if this is an
                                                                                                                               amended filing
Case number (If known):




Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
the debtor s name and case number (if kno n).



Part 1:    Income

1.   Gross revenue from business
      None
          Identif the beginning and ending dates of the debtor s fiscal ear,           Sources of income                          Gross income
          which may be a calendar year                                                 Check all that apply.                      (before deductions and
                                                                                                                                  exclusions)


          From the beginning of the       From 1/1/2023   to           Filing date      Operating a business                     $     30,000,000.00
          fiscal year to filing date:          MM/DD/YYYY                               Other
          For prior year:                 From 1/1/2022   to 12/31/2022                 Operating a business                     $   155,000,000.00
                                               MM/DD/YYYY    MM/DD/YYYY                 Other
          For the year before that:       From 1/1/2021   to 12/31/2021                 Operating a business                     $     97,000,000.00
                                               MM/DD/YYYY    MM/DD/YYYY                 Other

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
     from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.
      None
                                                                                       Description of sources of revenue          Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

          From the beginning of the       From                   to    Filing date                                                $
          fiscal year to filing date:               MM/DD/YYYY

          For prior year:                 From                   to                                                               $
                                                    MM/DD/YYYY        MM/DD/YYYY

          For the year before that:       From                   to                                                               $
                                                    MM/DD/YYYY        MM/DD/YYYY




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Debtor        The Litigation Practice Group P.C.                                                 Case number (if known)
              Name



Part 2:    List Certain Transfers Made Before Filing for Bankruptcy


3.    Certain payments or transfers to creditors within 90 days before filing this case
      List payments or transfers⎯including expense reimbursements⎯to any creditor, other than regular employee compensation, within 90 days
      before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
      adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
       None

           Creditor s name and address                         Dates              Total amount or value           Reasons for payment or transfer
                                                                                                                  Check all that apply

     3.1 City Capital                                                             $           50,000.00             Secured debt
           Credi or Name                                                                                            Unsecured loan repayments
                                                                                                                    Suppliers or vendors
           Number        Street                                                                                     Services
                                                                                                                    Other
                                                                                                                            ¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯
           City                     State    ZIP Code


           Creditor s name and address                         Dates              Total amount or value           Reasons for payment or transfer
                                                                                                                  Check all that apply

     3.2 Marich Bein                                                              $      12,000,000.00              Secured debt
           Credi or Name                                                                                            Unsecured loan repayments
                                                                                                                    Suppliers or vendors
           Number        Street                                                                                     Services
                                                                                                                    Other Funds improperly held by
                                                                                                                   payment processor
                                                                                                                            ¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯¯
           City                     State    ZIP Code




4.    Payments or other transfers of property made within 1 year before filing this case that benefited any insider
      List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
      guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
      $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
      Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
      general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
      the debtor. 11 U.S.C. § 101(31).
       None

           Insider s name and address                         Dates               Total amount or value           Reasons for payment or transfer

     4.1                                                                         $
           In ider Name


           Number       Street


           City                     State    ZIP Code

           Relationship to debtor




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                Name




5.    Repossessions, foreclosures, and returns
      List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
      sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
       None

           Creditor s name and address                         Description of the property                               Date                Value of property

     5.1                                                                                                                                      $
           Credi or Name


           Number        Street


           City                     State    ZIP Code




6.    Setoffs
      List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
      the debtor without permission or refused to make a payment at the debtor direc ion from an acco n of he deb or beca e he deb or o ed a deb .
       None

           Creditor s name and address                         Description of the action creditor took                   Date action         Amount
                                                                                                                         was taken

     6.1                                                                                                                                      $
           Credi or Name


           Number        Street

                                                              Last 4 digits of account number: XXXX
           City                     State    ZIP Code




Part 3:    Legal Actions or Assignments


7.    Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
      List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
      was involved in any capacity within 1 year before filing this case.
       None

           Case title                               Nature of case                           Court or agenc s name and address                    Status of case

     7.1                                                                                     See attached list                                     Pending
                                                                                             Credi or Name                                         On appeal
           Case Number                                                                                                                             Concluded

                                                                                             Number          Street


                                                                                             City                        State   ZIP Code




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               Name



8.    Assignments and receivership
      List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
      hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
       None

           Custodian s name and address                         Description of the property                          Value


     8.1                                                                                                         $
           C      odian   name
                                                                Case title                                           Court name and address



           Number         Street                                                                                     Co r    Name
                                                                Case number


           City                     State     ZIP Code                                                               Number     Street
                                                                Date of order or assignment


                                                                                                                     City                   State      ZIP Code




Part 4:    Certain Gifts and Charitable Contributions


9.    List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
      of the gifts to that recipient is less than $1,000
       None

           Recipient s name and address                       Description of the gifts or contributions              Dates given          Value

     9.1                                                                                                                                   $
           Recipien       Name



           Number          Street



           City                     State    ZIP Code

           Recipient s relationship to debtor




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                Name



Part 5:      Certain Losses


10.     All losses from fire, theft, or other casualty within 1 year before filing this case.
         None

             Description of the property lost              Amount of payments received for the loss                       Date of loss       Value of property
             and how the loss occurred                     If you have received payments to cover the loss, for                              lost
                                                           example, from insurance, government compensation,
                                                           or tort liability, list the total received.
                                                           List unpaid claims on Official Form 106A/B (Schedule
                                                           A/B: Assets Real and Personal Property).


      10.1                                                                                                                                   $




Part 6:      Certain Payments or Transfers


11.     Payments related to bankruptcy
        List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
        the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
        seeking bankruptcy relief, or filing a bankruptcy case.
         None

             Who was paid or received the transfer?            If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                             value

      11.1                                                                                                                                    $
             Recipien   Name



             Number       Street



             City                    State    ZIP Code

             Email or website address




             Who made the payment, if not debtor?




12.     Self-settled trusts of which the debtor is a beneficiary
        List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
        a self-settled trust or similar device.
        Do not include transfers already listed on this statement.
         None



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                                                                         Exhibit "1"                                                              0050
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                                                                   14584
Debtor          The Litigation Practice Group P.C.                                                 Case number (if known)
                Name



             Name of trust or device                            Describe any property transferred                      Dates transfers         Total amount or
                                                                                                                       were made               value

      12.1                                                                                                                                      $

             Trustee




13.     Transfers not already listed on this statement
        List any transfers of money or other property⎯by sale, trade, or any other means⎯made by the debtor or a person acting on behalf of the debtor
        within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
        Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         None

             Who received transfer?                             Description of property transferred or                      Date transfer        Total amount or
                                                                payments received or debts paid in exchange                 was made             value

      13.1                                                                                                                                          $
             Recipien   Name



             Number        Street



             City                     State    ZIP Code

             Relationship to debtor




Part 7:      Previous Locations


14.     Previous addresses
        List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         Does not apply




Part 8:      Health Care Bankruptcies


15.     Health Care bankruptcies
        Is the debtor primarily engaged in offering services and facilities for:
        ⎯⎯ diagnosing or treating injury, deformity, or disease, or
        ⎯⎯ providing any surgical, psychiatric, drug treatment, or obstetric care?
         No. Go to Part 9.
         Yes. Fill in the information below.




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Debtor          The Litigation Practice Group P.C.                                                   Case number (if known)
                Name



             Facility name and address                            Nature of the business operation, including type of                     If debtor provides meals
                                                                  services the debtor provides                                            and housing, number of
                                                                                                                                          patients in debtor s care


      15.1
             Facility Name
                                                                  Location where patient records are maintained (if different
                                                                                                                                          How are records kept?
                                                                  from facility address). If electronic, identify any service provider.
                                                                                                                                          Check all that apply:
             Number         Street
                                                                                                                                           Electronically
                                                                                                                                           Paper
             City                       State    ZIP Code




Part 9:      Personally Identifiable Information


16.     Does the debtor collect and retain personally identifiable information of customers?
         No.
         Yes. State the nature of the information collected and retained.
                    Does the debtor have a privacy policy about that information?
                     No
                     Yes
17.     Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
        pension or profit-sharing plan made available by the debtor as an employee benefit?
         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                No. Go to Part 10.
                Yes. Fill in below:
                         Name of plan                                                                                Employer identification number of the plan



                         Has the plan been terminated?
                          No
                          Yes



Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units


18.     Closed financial accounts
        Wi hin 1 ear before filing hi ca e,        ere an financial acco n   or in r men     held in he deb or name, or for he deb or s benefit, closed, sold,
        moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
        brokerage houses, cooperatives, associations, and other financial institutions.
         None




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Debtor          The Litigation Practice Group P.C.                                                  Case number (if known)
                Name



             Financial institution name and address              Last 4 digits of         Type of account                    Date account         Last balance
                                                                 account number                                              was closed,          before closing or
                                                                                                                             sold, moved,         transfer
                                                                                                                             or transferred

      18.1                                                         XXXX                    Checking                                               $
             Name                                                                          Savings
                                                                                           Money market
             Number        Street                                                          Brokerage
                                                                                           Other
                                                                                                     ¯¯¯¯¯¯¯¯¯¯¯¯¯
             City                     State    ZIP Code




19.     Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
         None

             Depository institution name and address               Names of anyone with access to it               Description of the contents          Does debtor
                                                                                                                                                        still have it?

      19.1                                                                                                                                                No
             Name                                                                                                                                         Yes
                                                                   Address


             Number         Street


             City                      State    ZIP Code




20.     Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
        which the debtor does business.
         None

             Facility name and address                             Names of anyone with access to it               Description of the contents          Does debtor
                                                                                                                                                        still have it?

                                                                                                                                                         No
      20.1                                                                                                                                               Yes
             Name


                                                                   Address


             Number         Street



             City                      State    ZIP Code




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Debtor          The Litigation Practice Group P.C.                                               Case number (if known)
                Name



Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own


21.     Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
        trust. Do not list leased or rented property.
         None

             O ner s name and address                            Location of the property                   Description of the property            Value

      21.1                                                                                                                                         $
             O ner Name



             Number       Street



             City                    State   ZIP Code




Part 12:     Details About Environmental Information


For the purpose of Part 12, the following definitions apply:
◼ Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
  regardless of the medium affected (air, land, water, or any other medium).
◼ Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
  formerly owned, operated, or utilized.
◼ Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
  or a similarly harmful substance.
Report all notices, releases, and proceedings known, regardless of when they occurred.

22.     Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Provide details below.

             Case title                              Court or agency name and address                   Nature of case                           Status of case


      22.1                                                                                                                                        Pending
                                                     Name                                                                                         On appeal
             Case Number                                                                                                                          Concluded

                                                     Number       Street



                                                     City                     State ZIP Code




23.     Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
        environmental law?
         No
         Yes. Provide details below.


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                Name



             Site name and address                            Governmental unit name and address                    Environmental law, if       Date of notice
                                                                                                                    known

      23.1
             Name                                               Name



             Number       Street                                Number       Street



             City                    State    ZIP Code          City                   State    ZIP Code




24.     Has the debtor notified any governmental unit of any release of hazardous material?
         No
         Yes. Provide details below.

             Site name and address                            Governmental unit name and address                    Environmental law, if       Date of notice
                                                                                                                    known

      24.1
             Name                                               Name



             Number       Street                                Number       Street



             City                    State    ZIP Code          City                   State    ZIP Code




Part 13:     Details About the Debtor’s Business or Connections to Any Business


25.     Other businesses in which the debtor has or has had an interest
        List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
        Include this information even if already listed in the Schedules.
         None

             Business name and address                         Describe the nature of the business          Employer Identification number
                                                                                                            Do not include Social Security number or ITIN.

      25.1                                                                                                   EIN:
             Name
                                                                                                            Dates business existed

                                                                                                            From                     To     Present
             Number       Street



             City                    State    ZIP Code




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Debtor        The Litigation Practice Group P.C.                                                Case number (if known)
              Name



26.   Books, records, and financial statements
      26a. Li    all acco n an   and bookkeeper      ho main ained he deb or s books and records within 2 years before filing this case.
             None

                     Name and address                                                                              Dates of service

         26a.1       Carpenter & Assoc                                                                              From   11/1/2020      To 3/1/2023
                     Name

                     26020 Towne Centre Dr, N.
                     Number       Street

                     Foothill Ranch                                                  CA        92610
                     City                                                            State     ZIP Code



      26b. Li all firm or indi id al ho ha e a di ed, compiled, or re ie ed deb or book of acco n and record or prepared a financial
           statement within 2 years before filing this case.
             None

                     Name and address                                                                              Dates of service

         26b.1                                                                                                      From                  To Present
                     Name



                     Number       Street


                     City                                                            State     ZIP Code



      26c. Li    all firm or indi id al    ho   ere in po e   ion of he deb or book of acco n and record          hen hi ca e i filed.
             None

                                                                                                                   If any books of account and records are
                     Name and address
                                                                                                                   unavailable, explain why

         26c.1
                     Name


                     Number       Street


                     City                                                            State     ZIP Code



      26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.
             None




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Debtor          The Litigation Practice Group P.C.                                           Case number (if known)
                Name



                       Name and address

             26d.1
                       Name


                       Number     Street



                       City                                                       State     ZIP Code




27.     Inventories
        Ha e an in en orie of he deb or proper      been aken    i hin 2 ear before filing hi ca e?
         No
         Yes. Give the details about the two most recent inventories.

              Name of the person who supervised the taking of the inventory                                Date of            The dollar amount and basis
                                                                                                           inventory          (cost, market, or other basis)
                                                                                                                              of each inventory
                                                                                                                               $

              Name and address of the person who has possession of inventory records

      27.1
              Name


              Number              Street


              City                                                            State   ZIP Code




28.     List the debtor s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
        control of the debtor at the time of the filing of this case.

              Name                                  Address                                                                            % of interest, if
                                                                                           Position and nature of any interest
                                                                                                                                       any

                                                    20160 Nob Hill Dr.                      President and sole
      28.1    Daniel March                          Yorba Linda, CA 92886                   shareholder of debtor                       0.00



29.     Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
        of the debtor, or shareholders in control of the debtor who no longer hold these positions?
         No
         Yes. Identify below.

              Name                                 Address                                Position and nature of       Period during which position or
                                                                                          any interest                 interest was held


      29.1                                                                                                             From                 To Present




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Debtor          The Litigation Practice Group P.C.                                               Case number (if known)
                Name



30.     Payments, distributions, or withdrawals credited or given to insiders
        Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
        bonuses, loans, credits on loans, stock redemptions, and options exercised?
         No
         Yes. Identify below.

             Name and address of recipient                              Amount of money or description and                Dates               Reason for
                                                                        value of property                                                     providing the
                                                                                                                                              value

      30.1
             Recipien   Name


             Number       Street


             City                           State    ZIP Code

             Relationship to debtor




31.     Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         No
         Yes. Identify below.

             Name of the parent corporation                                                      Employer Identification number of the parent corporation

                                                                                                 EIN:


32.     Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         No
         Yes. Identify below.

             Name of the pension fund                                                            Employer Identification number of the pension fund

                                                                                                 EIN:




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Debtor        The Litigation Practice Group P.C.                                             Case number (if known)
              Name



Part 14:   Signature and Declaration


      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on     
                     MM/DD/YYYY
                                                                                                          'DQLHO60DUFK
      8 Signature of individual signing on behalf of the debtor                       Printed name



           Position or relationship to debtor    0DQDJLQJ6KDUHKROGHU


      Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
       No
       Yes




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                               SOFA #4: PENDING ACTIONS

   Case Captions            Court            Civil Action        Judge          Case Status
                                                 No.
 Plaintiff:            N.D. Georgia,       1:22-cv-00917-   Victoria M.        Pending class
 Gloria Eaton          Atlanta Division    VMC              Calvert            certification,
 (Putative Class                                                               which is
 Action)                                                                       contested.
                                                                               Claims involve
 Defendant:                                                                    Telephone
 The Litigation                                                                Consumer
 Practice Group,                                                               Protection Act
 PC                                                                            and Credit
                                                                               Repair
                                                                               Organization
                                                                               Act
 Plaintiff:            S.D. Mississippi,   1:22-cv-00057-   Halis S. Ozerden   Pending class
 Carolyn Beech         Southern            HSO-BWR                             certification,
 (Putative Class       Division                                                which is
 Action)                                                                       contested.
                                                                               Claims involve
 Defendant:                                                                    Telephone
 Litigation Practice                                                           Consumer
 Group, PC                                                                     Protection Act
                                                                               (“TCPA”) and
                                                                               Credit Repair
                                                                               Organization
                                                                               Act (“CROA”)
 Plaintiff:            M.D.                3:22-cv-00707-   Malachy E.         LPG has a
 Debra Price           Pennsylvania,       MEM              Mannion            pending
                       Scranton                                                motion to
 Defendants:           Division                                                dismiss.
 Litigation Practice
 Group, PC                                                                     Claims involve
 Daniel March,                                                                 TCPA and
 Esq., Marque                                                                  CROA
 Carey, Esq.,
 Randall Clark,
 Esq., Michael
 Robinson, Esq.,
 Jayde Trinh, Esq.,
 and Howard
 Gutman, Esq.                                               Judge
                                                1



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 Case Captions         Court              Civil Action
                                          No.
 Plaintiff:            W.D. Texas,        6:22-cv-00814-   Alan D. Albright   Pending
 Kenneth Topp          Waco Division      ADA-JCM                             motion to
                                                                              dismiss.
 Defendant:                                                                   Claim is under
 The Litigation                                                               the TCPA.
 Practice Group,
 PC

 Debtor:               Bankruptcy         22-40216         Dale L. Somers     Settlement
 Daniel Verne          Court              (Chapter 7)                         reached in
 Rowe                  D. Kansas                                              principal,
                       Topeka Division                                        awaiting
 Joint Debtor:                                                                consummation.
 Michelle Lee                                                                 Preference
 Rowe                                                                         action brought
                                                                              against LPG to
 Trustee:                                                                     set aside fees
 Darcy D.                                                                     paid to LPG by
 Williamson                               Adversary No.                       debtor.
                                          22-07015
 Plaintiff:
 Darcy D.
 Williamson
 (Trustee)

 Defendant:
 Litigation Practice
 Group, PC

 Plaintiff:            N.D. Georgia,      1:22-cv-04249-   Steven D.          Settlement
 James Hammett         Atlanta Division   SDG              Grimberg           discussions are
                                                                              ongoing;
 Defendant:                                                                   TCPA claim.
 Debt Resolution
 Direct, LLC, d/b/a
 Debt Advisors of
 America
 Company

 Plaintiff:            E.D. California,   2:22-cv-01959-   Dale A. Drozd      Settlement
 Johnny W. Rizo        Sacramento         DAD-DB                              discussions are
 Defendant:            Division                                               near
                                                                              completion,
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 The Litigation                                                           amount for
 Practice Group,                                                          settlement is
 PC                                                                       set but not yet
                                                                          paid; TCPA
                                                                          claim.
 Plaintiff:          C.D. California,   2:22-cv-07915-   (Magistrate)     Settlement
 Beverly A.          Los Angeles        MAR              Margo A.         discussions are
 Graham              Division                            Rocconi          ongoing;
 Defendant:                                                               TCPA claim.
 The Litigation
 Practice Group,     Court
 PC                                     Civil Action     Judge
 Case Captions                          No.
 Plaintiff:          N.D. Ohio          3:22-cv-02094-   James G. Carr    Settlement
 Teresa Klaus        Toledo Division    JGC                               discussions are
                                                                          ongoing;
 Defendant:                                                               TCPA claim.
 The Litigation
 Practice Group,
 PC
 Plaintiff:          S.D. Ohio          3:22-cv-00342-   Walter H. Rice   Settlement
 Kathlene Scarlett   Dayton Division    WHR-PBS                           discussions are
                                                                          ongoing;
 Defendant:                                                               TCPA claim.
 The Litigation
 Practice Group,
 PC


 Plaintiffs:       N.D. Ohio            3:22-cv-02093-   Jack Zouhary     Settlement
 Geneva Sheffield Toledo Division       JZ                                discussions are
 Myranda Sheffield                                                        near
                                                                          completion,
 Defendant:                                                               but settlement
 The Litigation                                                           amount not yet
 Practice Group,                                                          paid; TCPA
 PC                                                                       claim.

 Plaintiffs:         C.D. Cal.          8:23-cv-00339-   John Holcomb     Contract
 Marich Bein LLC                        JWH                               dispute
                                                                          between
 Defendant:                                                               creditor and
 The Litigation                                                           payment
 Practice Group,                                                          processor
                                                                          Marich Bein
                                             3



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 PC; Oakstone Law                                                    and LPG. No
 Group PC                                                            counterclaim
                                                                     or responsive
                                                                     pleading were
                                                                     filed as case
                                                                     was stayed
                                                                     prior to
                                                                     deadline.
 Plaintiffs:         Orange County    Case No. 30-    Gary Sherman   Contract
 Validation          Superior Court   2022-01281911                  dispute
 Partners LLC;                                                       between
 Debt Validation                                                     receivable
 Fund II, LLC; MC                                                    purchase
 DVI FUND 1,                                                         company and
 LLC; MC DVI                                                         its investors,
 FUND 2, LLC                                                         on the one
                                                                     hand, and LPG
 Defendant:                                                          and its
 The Litigation                                                      managers and
 Practice Group,                                                     marketing
 PC; Daniel March;                                                   affiliates, on
 Tony Diab; Wes                                                      the other.
 Thomas; Stratcap                                                    Settlement
 Mgmt, LLC;                                                          discussions are
 Vercy LLC; GoFi                                                     ongoing, but
 LLC; Integrity                                                      not likely to
 Docs, LLC                                                           resolve.

 Plaintiffs:         Supreme Court    Index No.       Eileen Daly-   Receivable
 Fundura Capital     of New York –    613192/2021     Sapraicone     purchase
 Group               County of                                       company is
                     Nassau                                          seeking
 Defendant:                                                          additional
 The Litigation                                                      money under
 Practice Group,                                                     receivable
 PC; Daniel March;                                                   purchase
 Tony Diab; BAT                                                      agreement;
 Inc. dba Coast                                                      LPG is seeking
 Processing;                                                         to recover for
 Vulcan Consulting                                                   overpayment
 Group LLC                                                           on agreement
                                                                     and for fraud.
                                                                     Counterclaim
                                                                     is being
                                                                     litigated,
                                           4



                                      Exhibit "1"                               0063
Case
 Case8:23-bk-10571-SC
      8:23-ap-01046-SC Doc
                        Doc34-1
                              -1 Filed
                                    Filed07/13/23
                                           04/04/23 Entered
                                                     Entered07/13/23
                                                             04/04/2309:14:48
                                                                      06:56:18 Desc
                                                                                Desc
                      Exhibit
                      Supplement
                              Exhibits
                                   SOFA1 - 12
                                           #4 list
                                                Page
                                                   Page
                                                     65 of
                                                        5 of
                                                           584
                                                             5



                                                                     complaint has
                                                                     been mostly
                                                                     abandoned.
 Plaintiffs:         Supreme Court   Index No.      Not assigned     Plaintiff claims
 Diverse Capital     of New York –   135614-2023                     breach of
 LLC                 County of                                       settlement
                     Ontario                                         agreement;
 Defendant:                                                          LPG alleges
 The Litigation                                                      settlement was
 Practice Group,                                                     paid in full.
 PC; Daniel March;
 LLC




                                          5



                                     Exhibit "1"                                 0064
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                      Exhibit “2”
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                                Exhibit "2"                             0065
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                                Exhibit "2"                             0066
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                                Exhibit "2"                             0067
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                                Exhibit "2"                             0068
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                                Exhibit "2"                             0069
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                                Exhibit "2"                             0070
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                                Exhibit "2"                             0071
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0072
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                                Exhibit "2"                             0073
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                                Exhibit "2"                             0074
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0075
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                                Exhibit "2"                             0076
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0077
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                                Exhibit "2"                             0078
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0079
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                                Exhibit "2"                             0080
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0081
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0082
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0083
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                                Exhibit "2"                             0084
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0085
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0086
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0087
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                                Exhibit "2"                             0088
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                                Exhibit "2"                             0089
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                                Exhibit "2"                             0090
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                                Exhibit "2"                             0091
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0092
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0093
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0094
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0095
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0096
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0097
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0098
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0099
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0100
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0101
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0102
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0103
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0104
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0105
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0106
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0107
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0108
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0109
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                                Exhibit "2"                             0110
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                                Exhibit "2"                             0111
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0112
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                                Exhibit "2"                             0113
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                                Exhibit "2"                             0114
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                                Exhibit "2"                             0115
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                                Exhibit "2"                             0116
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                                Exhibit "2"                             0117
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                                Exhibit "2"                             0118
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                                Exhibit "2"                             0119
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                                Exhibit "2"                             0120
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                                Exhibit "2"                             0121
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                                Exhibit "2"                             0122
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                                Exhibit "2"                             0123
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                                Exhibit "2"                             0124
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                                Exhibit "2"                             0125
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                                Exhibit "2"                             0126
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0127
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0128
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0129
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0130
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0131
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                                Exhibit "2"                             0132
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                                Exhibit "2"                             0133
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                                Exhibit "2"                             0134
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                                Exhibit "2"                             0135
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                                Exhibit "2"                             0136
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0137
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                                Exhibit "2"                             0138
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                                Exhibit "2"                             0139
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0140
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0141
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0142
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0143
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0144
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0145
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0146
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0147
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0148
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0149
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0150
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0151
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0152
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0153
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0154
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0155
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0156
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0157
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0158
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0159
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0160
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                                Exhibit "2"                             0161
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0162
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0163
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0164
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0165
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0166
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0167
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                                Exhibit "2"                             0168
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                                Exhibit "2"                             0169
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                                Exhibit "2"                             0170
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                                Exhibit "2"                             0171
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                                Exhibit "2"                             0172
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                                Exhibit "2"                             0173
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                                Exhibit "2"                             0174
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                                Exhibit "2"                             0175
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                                Exhibit "2"                             0176
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                                Exhibit "2"                             0177
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                                Exhibit "2"                             0178
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                                Exhibit "2"                             0179
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                                Exhibit "2"                             0180
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0181
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                                Exhibit "2"                             0182
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0183
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                                Exhibit "2"                             0184
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                                Exhibit "2"                             0185
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0186
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0187
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0188
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0189
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                                Exhibit "2"                             0190
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                                Exhibit "2"                             0191
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                                Exhibit "2"                             0192
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                                Exhibit "2"                             0193
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0194
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                                Exhibit "2"                             0195
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0196
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                                Exhibit "2"                             0197
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                                Exhibit "2"                             0198
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                                Exhibit "2"                             0199
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                                Exhibit "2"                             0200
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                                Exhibit "2"                             0201
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                                Exhibit "2"                             0202
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                                Exhibit "2"                             0203
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                                Exhibit "2"                             0204
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                                Exhibit "2"                             0205
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                                Exhibit "2"                             0206
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                                Exhibit "2"                             0207
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                                Exhibit "2"                             0208
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                                Exhibit "2"                             0209
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                                Exhibit "2"                             0210
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                                Exhibit "2"                             0211
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                                Exhibit "2"                             0212
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                                Exhibit "2"                             0213
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                                Exhibit "2"                             0214
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                                Exhibit "2"                             0215
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                                Exhibit "2"                             0216
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                                Exhibit "2"                             0217
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                                Exhibit "2"                             0218
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                                Exhibit "2"                             0219
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                                Exhibit "2"                             0220
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                                Exhibit "2"                             0221
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                                Exhibit "2"                             0222
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                                Exhibit "2"                             0223
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                                Exhibit "2"                             0224
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                                Exhibit "2"                             0225
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                                Exhibit "2"                             0226
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                                Exhibit "2"                             0227
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                                Exhibit "2"                             0228
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                                Exhibit "2"                             0229
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                                Exhibit "2"                             0230
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                                Exhibit "2"                             0231
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                                Exhibit "2"                             0232
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0233
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                                Exhibit "2"                             0234
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                                Exhibit "2"                             0235
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0236
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                                Exhibit "2"                             0237
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                                Exhibit "2"                             0238
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0239
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                                Exhibit "2"                             0240
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0241
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                                Exhibit "2"                             0242
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                                Exhibit "2"                             0243
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                                Exhibit "2"                             0244
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0245
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                                Exhibit "2"                             0246
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                                Exhibit "2"                             0247
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                                Exhibit "2"                             0248
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0249
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                                Exhibit "2"                             0250
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                                Exhibit "2"                             0251
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                                Exhibit "2"                             0252
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                                Exhibit "2"                             0253
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0254
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0255
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0256
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0257
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0258
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0259
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                                Exhibit "2"                             0260
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "2"                             0261
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                                Exhibit "2"                             0262
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                      Exhibit “3”
 Case8:23-bk-10571-SC
Case  8:23-ap-01046-SC Claim
                         Doc -131-1Filed  07/13/23
                                       Filed 05/09/23Entered
                                                       Desc 07/13/23 09:14:48 Page
                                                             Main Document     Desc1
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    THE LITIGATION PRACTICE GROUP P.C.




                                    Exhibit "3"                                0263
           Case
            Case8:23-bk-10571-SC
                 8:23-ap-01046-SC Claim
                                    Doc -131-1Filed
                                                  Filed
                                                     07/13/23
                                                        05/09/23Entered
                                                                  Desc 07/13/23
                                                                        Main Document
                                                                                09:14:48 Page
                                                                                          Desc2
                                 Exhibit Exhibits 1 -of
                                                      123 Page 267 of 584

 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        q No
   you use to identify the       q Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ____ ____ ____ ____
   debtor?



7. How much is the claim?                              50,000.00 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                             q No
                                                                             q Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 actual and statutory damages including legal fees and costs
                                 ______________________________________________________________________________



9. Is all or part of the claim   q No
   secured?                      q Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                           q Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                             Attachment (Official Form 410-A) with this Proof of Claim.
                                           q Motor vehicle
                                           q Other. Describe:             _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed) _______%
                                           q Fixed
                                           q Variable


10. Is this claim based on a     q No
    lease?
                                 q Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a   q No
    right of setoff?
                                 q Yes. Identify the property: ___________________________________________________________________




                                                                      Exhibit "3"                                                           0264
 Official Form 410                                                   Proof of Claim                                                         page 2
           Case
            Case8:23-bk-10571-SC
                 8:23-ap-01046-SC Claim
                                    Doc -131-1Filed
                                                  Filed
                                                     07/13/23
                                                        05/09/23Entered
                                                                  Desc 07/13/23
                                                                        Main Document
                                                                                09:14:48 Page
                                                                                          Desc3
                                 Exhibit Exhibits 1 -of
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12. Is all or part of the claim    q No
    entitled to priority under
    11 U.S.C. § 507(a)?            q Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                  q Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                q Up to $3,350* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                          q Wages, salaries, or commissions (up to $15,150*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                          q Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                 $____________________

                                          q Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                     $____________________

                                          q Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                     $____________________

                                          * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.            q           I am the creditor.
 FRBP 9011(b).                q           I am the creditor’s attorney or authorized agent.
 If you file this claim       q           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                              q           I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                              I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                                  amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be        I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,            and correct.
 imprisoned for up to 5
 years, or both.
 18 U.S.C. §§ 152, 157, and       I declare under penalty of perjury that the foregoing is true and correct.
 3571.
                                  Executed on date         03/30/2023
                                                           _________________
                                                           MM / DD     /   YYYY




                                    .s.Robert    P Cocco, Esq.
                                    ________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   ROBERT     PETER COCCO
                                                         _______________________________________________________________________________________________
                                                         First name                           Middle name                            Last name

                                  Title                  ATTY-AT-LAW
                                                         _______________________________________________________________________________________________

                                  Company                ROBERT     P COCCO P.C.
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                1500  WALNUT ST., STE. 900
                                                         _______________________________________________________________________________________________
                                                         Number             Street

                                                         PHILADELPHIA                                   PA           19102
                                                         _______________________________________________________________________________________________
                                                         City                                                         State          ZIP Code

                                  Contact phone          2153510200
                                                         _____________________________                                Email bob.cocco@phillyconsumerlaw.com
                                                                                                                                 ____________________________________




                                                                              Exhibit "3"                                                                  0265
 Official Form 410                                                           Proof of Claim                                                                page 3
Case 8:23-ap-01046-SC
     8:23-bk-10571-SC
        Case 3:22-cv-00707-KM
                        Doc
                        Claim -131-1
                                  Document
                                  Filed
                                     Part07/13/23
                                           2 1Filed
                                                 Filed
                                                     05/09/23
                                                     Entered
                                                       05/13/22
                                                              07/13/23
                                                                Desc
                                                                  Page
                                                                     Exhibit
                                                                       09:14:48
                                                                       1 of 13
                                                                             Complaint
                                                                                Desc
                     Exhibit Exhibits
                                    Page
                                      1 - 12
                                           1 of Page
                                                22 269 of 584




                         UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF PENNSYLVANIA
  DEBRA PRICE,
  319 Putnam Street
  Scranton, PA 18508,                          NO.
                        Plaintiff,
         v.

  LITIGATION PRACTICE GROUP P.C.
  17542 E 17th Street, Suite 100,
  Tustin CA 92780,

  DANIEL MARCH, ESQ., individually and d/b/a
  LITIGATION PRACTICE GROUP
  17542 E 17th Street, Suite 100,
  Tustin CA 92780;

  MARQUE CAREY, ESQ.,
  individually and d/b/a LITIGATION
  PRACTICE GROUP
  17542 E 17th Street, Suite 100,
  Tustin CA 92780;

  RANDALL CLARK, ESQ.,
  individually and d/b/a LITIGATION
  PRACTICE GROUP
  17542 E 17th Street, Suite 100,
  Tustin CA 92780;

  MICHAEL ROBINSON, ESQ.,
  individually and d/b/a LITIGATION
  PRACTICE GROUP
  17542 E 17th Street, Suite 100,
  Tustin CA 92780;

  JAYDE TRINH, ESQ., individually and d/b/a
  LITIGATION PRACTICE GROUP
  17542 E 17th Street, Suite 100,
  Tustin CA 92780;

  HOWARD GUTMAN, ESQ., individually and
  d/b/a LITIGATION PRACTICE GROUP
  17542 E 17th Street, Suite 100,
  Tustin CA 92780;

                        Defendants.




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                                        COMPLAINT

  I.      JURISDICTION AND VENUE

          1.      Subject matter jurisdiction is conferred upon this Court by 15 U.S.C. §§

  45(a) and 53(b) and 28 U.S.C. §§ 1331, 1337(a), and 1345.

          2.      Venue is proper in this District under 15 U.S.C. § 53(b) and 28 U.S.C. §

  1391(b) and (c).

    II.   PARTIES

          3.      Plaintiff, DEBRA PRICE, is an adult individual residing at the above

  captioned address.

          4.      Defendant LITIGATION PRACTICE GROUP, P.C. (“LPG”), is

  California law firm with principal offices at the above captioned address in California

  and is a professional corporation conducting business in the Commonwealth of

  Pennsylvania.

          5.      Defendant, DANIEL MARCH, ESQ. d/b/a LPG is an adult individual

  doing business as a debt settlement and credit repair organization at the above captioned

  address, at all times material also doing business as an attorney admitted to practice of

  law in the State of California and not so admitted in the Commonwealth of Pennsylvania.

          6.      Defendant, MARQUE CAREY, ESQ. d/b/a LPG is an adult individual

  doing business as a debt settlement and credit repair organization at the above captioned

  address, at all times material also doing business as an attorney admitted to practice of

  law in the State of California and not so admitted in the Commonwealth of Pennsylvania.

          7.      Defendant, RANDALL CLARK, ESQ. d/b/a LPG is an adult individual

  doing business as a debt settlement and credit repair organization at the above captioned




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  address, at all times material also doing business as an attorney admitted to practice of

  law in the State of California and not so admitted in the Commonwealth of Pennsylvania.

         8.       Defendant, MICHAEL ROBINSON, ESQ. d/b/a LPG is an adult

  individual doing business as a debt settlement and credit repair organization at the above

  captioned address, at all times material also doing business as an attorney admitted to

  practice of law in the State of California and not so admitted in the Commonwealth of

  Pennsylvania.

         9.       Defendant, JAYDE TRINH, ESQ. d/b/a LPG is an adult individual doing

  business as a debt settlement and credit repair organization at the above captioned

  address, at all times material also doing business as an attorney admitted to practice of

  law in the State of California and not so admitted in the Commonwealth of Pennsylvania.

         10.      Defendant, HOWARD GUTMAN, ESQ. d/b/a LPG is an adult individual

  doing business as a debt settlement and credit repair organization at the above captioned

  address, at all times material also doing business as an attorney admitted to practice of

  law in the State of California and not so admitted in the Commonwealth of Pennsylvania.

         11.      The individual attorney Defendants are sometimes collectively referred to

  herein as “the Attorney Defendants”.

         12.      Upon information and belief, LPG is nothing more than an alter ego of the

  Attorney Defendants over which they exercise complete dominion and control as a

  vehicle for the Attorney Defendants and their accomplices to deceive unsuspecting and

  desperate consumers into paying them large sums of money under the pretext of “debt

  settlement”. The scheme involved promising debt relief to vulnerable consumers which is

  nothing more than an illusory scheme to collect funds from these consumers that they




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  could better use themselves to negotiate debt settlements or pursue alternate traditional

  forms of debt remediation as discussed below.

          13.    At all times relevant hereto, defendants acted by and through their agents,

  servants, and employees who acted within the scope of their authority and within the

  course of their employment.

   III.   FACTUAL BACKGROUND

      A. Background - Nature of Debt Settlement Operations Generally

          14.    Debt settlement is a form of consumer debt relief, targeted to consumers

  with thousands of dollars of unsecured debt.

          15.    Unlike debt remediation options such as traditional credit counseling, debt

  management plans, debt consolidation loans, and possibly bankruptcy, debt settlement is

  an aggressive form of debt relief in which consumers stop paying all of their unsecured

  debts and begin saving the money they would normally use to pay those debts.

          16.    After several months, when the accounts are in default, the debt settlement

  company will contact the creditor, and negotiate a lump-sum payoff of the debt, ideally at

  a highly reduced percentage.

          17.    The consumer then uses the money that he/she has been saving to pay the

  lump-sum, and can then have the benefit of a significant portion of their original debt

  being forgiven. As will be described later herein, defendants did not allow plaintiff to use

  saved funds for negotiated payoffs but incredibly demanded additional funds towards

  such payments.

          18.    Because debt settlement only works if consumers are not making monthly

  payments on their unsecured debts (since creditors will not want to settle a debt if they




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  are receiving monthly payments), there are inherent risks involved with participating in a

  debt settlement program that can have catastrophic effects on the consumer. Specifically,

  consumers entering a debt settlement program may experience any or all of the

  following:

               a. Because the creditor is no longer receiving monthly payments, creditors

                  will likely engage in collection activities including filing a lawsuit against

                  the consumer for breaking their contract.

               b. The consumer will owe significantly more on their account if a settlement

                  is reached and concomitantly reduce the actual savings from the debt

                  settlement program because creditors will continue to assess interest, late

                  fees, over-limit charges, and any other fees associated with the account.

               c. The consumer’s credit reports will reflect the late charges and non-

                  payment of their unsecured debt causing the consumer’s credit score to

                  drop while participating in the program and the consumer may experience

                  the long term effects of a low credit score, which can include difficulty in

                  buying a house or car, obtaining insurance, or obtaining employment.

               d. Creditors are under no obligation to accept, or even entertain, a settlement

                  offer.

         19.      Debt settlement is largely a “for-profit” industry involving companies

  charging consumers large fees typically calculated as a percentage of the total debt the

  consumer brings into the program and often collected in the first several months of the

  program.

      B. Nature of Debt Validation /Credit Repair Services




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          20.      Since at least February 2021, and continuing thereafter, defendants,

  directly or through their representatives, have promoted, offered for sale, and sold credit

  repair services to consumers via Defendant LPG’s Internet website which it maintains to

  attract consumers to purchase defendants’ debt relief and credit repair services.

          21.      Through verbal statements by their representatives and through written

  statements on their website, defendants have offered “credit repair” services purporting to

  remove or attempt to remove derogatory information from, or improve, consumers’ credit

  histories, credit records, or credit ratings.

          22.      Before providing any of the promised services, defendants’ representatives

  request and obtain at least partial payment for these services.

          23.      Defendants require consumers to sign written contracts for defendants’

  services.

      C. The Credit Repair Organizations Act

          24.      The Credit Repair Organizations Act took effect on April 1, 1997, and has

  since that date remained in full force and effect.

          25.      Defendants are "credit repair organizations" as that term is defined in the

  Credit Repair Organizations Act, 15 U.S.C. § 1679a(3).

          26.      The purposes of the Credit Repair Organizations Act, according to

  Congress, are:

                a. to ensure that prospective buyers of the services of credit repair

                   organizations are provided with the information necessary to make an

                   informed decision regarding the purchase of such services; and

                b. to protect the public from unfair or deceptive advertising and business




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                 practices by credit repair organizations.

         27.     The Credit Repair Organizations Act prohibits credit repair organizations

  from charging or receiving any money or other valuable consideration for the

  performance of any service which the credit repair organization has agreed to perform

  before such service is fully performed. 15 U.S.C. § 1679b(b).

         28.     Pursuant to Section 410(b)(1) of the Credit Repair Organizations Act,

  15 U.S.C. § 1679h(b)(l ), any violation of any requirement or prohibition of the Credit

  Repair Organizations Act constitutes an unfair and deceptive act or practice in commerce

  in violation of § 5(a) of the FTC Act, 15 U.S.C. § 45(a).

   IV.   FACTUAL ALLEGATIONS

         29.     On or about February 17, 2021, plaintiff entered into a standardized

  adhesion contract of exculpation with LPG in an illusory several page “Legal Services

  Agreement” contract whereby she agreed to pay $260.10 monthly to defendant “to

  invalidate your debts and remove such invalid debts from your credit reports”, and, if it

  cannot do so, “may elect to have LPG negotiate a settlement on your behalf

  with the concerned creditor” (see Exhibit A).

         30.     The five credit card accounts plaintiff wished to have negotiated totaled

  over $16,000.00.

         31.     To pay the monthly fee, Plaintiff provided Defendants with a cancelled

  check to her personal checking account for which she was sole depositor.

         32.     The accounts plaintiff wished to have negotiated, and that LPG promised

  to remove from credit reporting by its contract, were accurate, but LPG nevertheless

  recommended that they be disputed as inaccurate.



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         33.     Defendants did not inform plaintiff and does not inform its customers

  generally that accurate negative credit items cannot be legally challenged as inaccurate.

         34.     To make matters even more confusing, LPG presented Plaintiff with

  another written contract, this time with an affiliated entity and agent, Help Finance

  Group, LLC (“HFG”), which also promised to negotiate debts on plaintiff’s behalf but, in

  exculpatory fine print in the contract, essentially disclaimed any obligation to perform

  any debt settlement or legal services for her, and disclaimed any representations that it

  would actually perform such services.

         35.     At all times herein, Plaintiff only had contact with LPG and, upon

  information and belief, HFG was an agent of and/or alter ego of LPG and acted at its

  direction and control.

         36.     In order to get relief from her cumulative debt, the HFG contract requires

  Plaintiff to agree to accumulate funds in a settlement savings fund escrow account over

  up to 180 days before any negotiation of debt can begin.

         37.     On or about April 2022, Defendants withdrew the monthly $260.10 fee

  from a different checking account than had been authorized by Plaintiff, a checking

  account held jointly by Plaintiff and her husband as co-depositors.

         38.     Two payments were withdrawn until Plaintiff’s reported the issue to her

  bank and demanded Defendants return the two payments and cease any further

  withdrawals from the unauthorized account.

         39.     Defendants have negotiated no debt reduction, indeed Plaintiff’s debts

  have increased, and has removed none of the debts from her credit. As a result, all of her

  debts have gone into collection while she has been enrolled in Defendants’ program and




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  Plaintiff has been sued by one creditor in Lackawanna County, Docket no. MJ-45106-

  CV-0000117-2022.

         40.     Defendants’ contract with plaintiff for debt settlement and credit repair

  services is void insofar as it promises nothing real and its purpose is to give the

  appearance of legal propriety to illegal debt settlement activities detailed in this

  Complaint, thereby enriching defendant at the expense of heavily indebted Pennsylvania

  consumers, and preempting for itself consumers’ money that should have been used to

  pay creditors or to file for bankruptcy relief.

         41.     Plaintiff suffered ascertainable loss by reason of defendant’s actions.

  Causes of Action

                              COUNT I
         VIOLATIONS OF THE CREDIT REPAIR ORGANIZATIONS ACT

         42.     In connection with the sale and performance of services for consumers by

  a credit repair organization, as that term is defined in § 403(3) of the Credit Repair

  Organizations Act, 15 U.S.C. § 1679a(3), defendants have charged or received money or

  other valuable consideration for the performance of credit repair services that defendants

  have agreed to perform before such services were fully performed. Defendants have

  thereby violated Section 404(b) of the Credit Repair Organizations Act. 15 U.S.C. §

  1679b(b).

         43.     In connection with the defendants’ agreement to provide credit repair

  services, defendants violated the CROA, inter alia, § 1679b(a)(1) by making untrue or

  misleading statements to a consumer reporting agency; §1679b(a)(3) by misrepresenting

  its services; and §1679b(a)(4) by engaging in acts, practices or courses of business which

  constitute or result in the commission of a deception on its customers, plaintiff or the



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  consumer reporting agencies; §1679b(b) by charging and receiving money for the

  performance of its agreement before the service was fully performed; and §1679d(b) by

  failure to include the information required by that subsection.


                                 COUNT II
      VIOLATIONS OF THE FAIR CREDIT EXTENSION UNIFORMITY ACT
                               (FCEUA) and
        PENNSYLVANIA UNFAIR TRADE PRACTICES AND CONSUMER
                     PROTECTION LAW (UTPCPL)
                        (Plaintiff v. All defendants)

         44.     Plaintiff incorporates all foregoing allegations as though set forth in full.

         45.     Defendants are each a “debt collector” as defined by 73 P.S. § 2270.3 of

  the FCUEA in that, at all times herein, defendant was “engaging or aiding directly or

  indirectly in collecting a debt owed or alleged to be owed a creditor”.

         46.     Plaintiff is a “consumer” as defined by 73 P.S. § 2270.3 of the FCUEA.

         47.     All of the above contacts by Defendants with plaintiff, including but not

  limited to attempting to settle the May 2017 debt, were “communications” relating to a

  debt as defined by 73 P.S. § 2270.3 of the FCUEA.

         48.     Because Defendants’ business model is premised on compromising the

  amount of debt owed rather than eliminating it as an attorney filing a chapter 7

  bankruptcy or defending a debt collection litigation, all of the above contacts by

  Defendants were with the purpose of engaging or aiding indirectly in collecting plaintiff’s

  debts owed or alleged to be owed to her creditors.

         49.     Moreover, even Defendants’ limited promise of compromising the amount

  of debt paid is illusory in that no results are promised, Ex. _, Sec. 3 titled, “No

  Guarantees of Results”.




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         50.      Defendants, by their conduct as described above including but not limited

  to failing to settle any debt with plaintiff’s creditors from “settlement savings fund”

  escrow account, violated the FDCPA including but not limited to the following:

               a) §1692e(5), engaged in false, deceptive, and misleading representations in

                  connection with the debt collection activities described herein;

               b) §1692f Otherwise used unfair or unconscionable means to collect or

                  attempt to collect a debt by collecting funds from plaintiff towards an

                  illusory promise of debt remediation when, instead, plaintiff’s debt burden

                  was increased by the fees and charges collected by defendants resulting in

                  no net financial relief to plaintiff and instead worsening her financial

                  burdens.

         51.      The foregoing acts and omissions of defendants in violation of the

  FDCPA, including but not limited to giving plaintiff a futile illusory contract to conceal

  the fact that defendants are not providing plaintiff with any legal services to settle any of

  her debts, constitute numerous and multiple per se violations of the FCEUA and

  UTPCPL, including but not limited to 73 P.S. § 2270.4(a), as evidenced by the following

  conduct:

               a) The use of false, deceptive or misleading representations or means in

                  connection with the collection of a debt;

               b) The use of false representation or deceptive means to collect a debt or

                  obtain information about a consumer;

               c) The use of unfair or unconscionable means to collect or attempt to collect

                  an alleged debt;




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          52.     Defendants’ acts which violated similar provisions in the Fair Debt

  Collection Practices Act (“FDCPA”) as described above thereby renders such acts per se

  unfair and deceptive practice violations of the Unfair Trade Practices Consumer

  Protection Law, 73 P.S. § 201-1 et. Seq., FCEUA, 73 P.S. § 2270.4(a).

                                          COUNT II
                Breach of Contract/ Covenant of Good Faith and Fair Dealing
                           (Plaintiff v. the Attorney Defendants)

          53.     Plaintiff incorporates all foregoing allegations as though set forth in full.

          54.     Plaintiff and Defendants entered into a contract for legal services.

          55.     Defendants’ aforementioned conduct constitutes a breach (express,

  implied, or as a matter of law) of that agreement to provide competent and effective legal

  services, as well as a breach of the covenant of good faith and fair dealing.

          56.     As a direct and proximate cause of the aforementioned breach of the

  agreement to provide legal services, Plaintiff has been damaged, as set forth above.

                           COUNT III - Breach of Fiduciary Duty
                            (Plaintiff v. the Attorney Defendants)

          57.     Plaintiff incorporates all foregoing allegations as though set forth in full.

          58.     Plaintiff and Defendants were in a fiduciary, attorney-client relationship.

          59.     Defendants’ aforementioned conduct constitutes a breach of that fiduciary

  relationship.

          60.     As a direct and proximate cause of the aforementioned breach of fiduciary

  duty, Plaintiff has been damaged as set forth above.

                                                    PRAYER

          WHEREFORE, Plaintiff demands judgment against defendants, jointly and

  severally, or singly as indicated, for:


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         (a) Actual, compensatory, and punitive Damages for violation of CROA;

         (b) Costs and reasonable attorney’s fees for violation of CROA;

         (c) Declaratory and injunctive relief, and such other and further relief as law or

             equity may provide for violation of CROA.

         (d) Actual damages pursuant to 73 P.S.§ 201-9.2(a) against Defendants;

         (e) Treble actual damages pursuant 73 P.S.§ 201-9.2(a) against Defendants;

         (f) Costs of litigation and reasonable attorney’s fees pursuant to 73 P.S.§ 201-

             9.2(a), and;

         (g) Actual damages for breach of contract and fiduciary duty.

         (h) Such other and further relief as the Court shall deem just and proper.


                                           JURY DEMAND

        Plaintiff demands trial by jury.

                                                         ROBERT P. COCCO, P.C.
                                                         BY:    /s/Robert P. Cocco

                                                         Attorney for Plaintiff

  Dated: May 10, 2022




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                                  LEGAL SERVICES AGREEMENT

Legal Services

The Litigation Practice Group PC (“LPG”) will provide debt validation services wherein it will assist
you in removing erroneous or inaccurate information appearing on one or more of your credit reports by
contesting debts appearing therein. This service is limited to information reported by creditors or
purported creditors to credit bureaus. The purpose of this program is to challenge the legal validity of
debts appearing on or being reported to credit bureaus. The cost of legal services rendered by LPG is set
forth below, and those fees are earned by LPG for services rendered to you as set forth herein at the time
such fees are paid.

Client Authorization

You authorize LPG to challenge, where applicable, any debts appearing in your credit report(s) that you
believe to be in any way invalid, inaccurate, or otherwise without a legal basis. You also authorize LPG
to obtain a copy of your credit report to assist in the process of analyzing your account and developing a
strategy regarding the invalidation of debts that are excessive or otherwise unauthorized by law. You
further authorize LPG, acting under power of attorney for you, to affix your signature to documents sent
on your behalf in relation to the matters addressed herein.

Description of Services to be Performed

LPG will obtain your credit reports, analyze them, and develop strategies for correcting invalid or
unlawful debts for which you should not be held legally responsible. Where appropriate, LPG will use
existing laws and interact with creditors and credit bureaus on your behalf to invalidate your debts and
remove such invalid debts from your credit reports. LPG will also interact with collection agencies, as
applicable, to invalidate your debts by requiring them to supply evidence of your indebtedness to them,
or any other legal mechanism. LPG will also consult with you regarding all aspects of the credit
reporting process, including all laws applicable to the same. LPG will also investigate your delinquent
accounts in order to determine the most effective method for invalidating your debts or otherwise
removing any legal liability for such debts, up to and including the initiation of lawsuits on your behalf
against your creditors and their third-party debt collectors.

In addition, if a lawsuit is filed against you, LPG will represent you in such a lawsuit and will not charge
any additional fees for such representation provided such a lawsuit was initiated after the date you sign
this Agreement. In the event a lawsuit was initiated against you before the date you execute this


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Agreement and you elect to have LPG represent you, an additional fee of $500.00 will be charged.
Where appropriate, if legal fees are recovered from an adverse party, LPG will retain such fees for its
services. You will be responsible to pay any damages resulting from any lawsuit. Any costs incurred in
a lawsuit will be paid by LPG out of the fees set forth below, including the fees of any attorney retained
on your behalf in a jurisdiction in which LPG is not admitted to practice law. No additional payment
from you to LPG will be necessary for the defense of any lawsuit filed against you after the date you
execute this Agreement. You will, however, be responsible to pay any damages resulting from such
lawsuits or any settlements reached in the course of such lawsuits.

Fees

You will pay the following fees for the legal services provided by LPG. No fee or other cost will be
charged or collected other than the following. This is the only amount you have to pay for LPG’s
services, and this fee is fixed, such that it is earned the moment it is transmitted to LPG. Upon request,
LPG will provide an update of the progress of services performed under this agreement at reasonable
intervals of no greater frequency than once a month.

Refund Policy

If an account is fully validated by a creditor, such that no further dispute to the validity of the account
could be made, you will receive a full refund of the fees that you paid towards the invalidation of that
account (i.e., you will be refunded the fees paid in proportion to the debt that was validated). Should
you have an outstanding balance with LPG at the time your refund is issued on the validated account,
any refund will first be applied towards the outstanding balance. A client can elect to move to a debt
settlement service on any validated account in lieu of obtaining a refund. If a client makes such an
election, fees will no longer be collected for such account and debt settlement services will be performed
for no additional fees.

Debt Settlement

If LPG is unable to invalidate any debt, you may elect to have LPG negotiate a settlement on your behalf
with the concerned creditor without any additional fees being charged to or incurred by you for such
service. Any settlement reached with any such creditor shall be your responsibility. At the point that
you reach a settlement with such creditor, your payment to LPG will be reduced and re-amortized to
adjust for the settled account being removed from the representation herein contemplated. Please see the
refund policy above for more details.

Actions Required of You

You agree to provide LPG with any and all correspondence you receive from any creditor, credit bureau,
attorney, or court of law. You further agree to keep a log of all communications, including telephonic
and electronic communications, from any creditor or credit reporting agency.

Right to Conduct Business Electronically and Contact You

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You agree that LPG may contact you electronically and telephonically and that any and all business with
LPG may be conducted electronically. You further agree that LPG may transmit data, including that
regarding your credit profile, electronically. You further agree that any electronic communication
carries the risk of disclosure to a third party and that LPG will not be held responsible for any such
inadvertent disclosure of information. A facsimile or email transmission of this signed agreement, via an
email attachment or otherwise, will be as valid as the original. This agreement may not be modified
except in writing by both parties.

Client Acknowledgements

By signing this agreement, you acknowledge that LPG has not instructed you to breach any contract, fail
to make any required payment, or fail to perform any obligation you have lawfully incurred. LPG
reserves the right to terminate this agreement if (a) client fails to make timely payment of the amount
due under hereunder or (b) the client`s payments are returned multiple times for any reason. LPG will
not pay your debts and does not guarantee that any debt you now have or may incur will be invalidated
or settled in association with LPG’s services. You understand and agree that you must forward any
communication you receive in printed or electronic form from any creditor, court, or representative of
other a creditor or a court to admin@coastprocessing.com and that you must keep a log of all telephonic
communications with any creditor or credit reporting agency. Do not sign this agreement until you
have received and read the information statements and notices of cancellation required by state
and federal law, even if otherwise advised. By signing this agreement, you acknowledge receipt of
these disclosures prior to the time of signing and agree to the terms of this agreement. You, the
client, may cancel this agreement at any time before midnight CST of the 5th day after the date of
execution of this agreement via an email to admin@coastprocessing.com. In addition, you, the
client may terminate LPG’s services under this agreement at any time via an email to
admin@coastprocessing.com.

Client Signature:             Debra Price
                              {SIGNATURE}                                                 2/17/2021
                                                                                    Date: {SIGNDATE}
Co-Applicant Signature        {COSIGNATURE}                                         Date: {COSIGNDATE}

                                         Creditor Information




Creditor                                Account #                  Amount Owed
LENDINGCLU                                                         $7,007.00
FNB OMAHA                                                          $4,413.00
Cap one                                                            $1,450.00
Cap one                                                            $1,331.00
BARCLAYSBK                                                         $984.00
                                                                   $15,185.00



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                                       Client Information

Name: Debra Price

Address: 319 Putnam St, , Stranton PA 18508



Home

Cell Ph

Email:

Las 4 S

                                      Co-Client Information

Name:

Address: , ,



Home Phone:

Cell Phone:

Email:

Last 4 SSN:




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                                          Schedule of Payments

                                                    DP
I agree to this payment schedule – Client Initials: {INITIAL}

Payment #                          Process Date                         Amount
1                                  Feb 26, 2021                         $260.10
2                                  Mar 26, 2021                         $260.10
3                                  Apr 26, 2021                         $260.10
4                                  May 26, 2021                         $260.10
5                                  Jun 28, 2021                         $260.10
6                                  Jul 26, 2021                         $260.10
7                                  Aug 26, 2021                         $260.10
8                                  Sep 27, 2021                         $260.10
9                                  Oct 26, 2021                         $260.10
10                                 Nov 26, 2021                         $260.10
11                                 Dec 27, 2021                         $260.10
12                                 Jan 26, 2022                         $260.10
13                                 Feb 28, 2022                         $260.10
14                                 Mar 28, 2022                         $260.10
15                                 Apr 26, 2022                         $260.10
16                                 May 26, 2022                         $260.10
17                                 Jun 27, 2022                         $260.10
18                                 Jul 26, 2022                         $260.10
19                                 Aug 26, 2022                         $260.10
20                                 Sep 26, 2022                         $260.10
21                                 Oct 26, 2022                         $260.10
22                                 Nov 28, 2022                         $260.10
23                                 Dec 27, 2022                         $260.10
24                                 Jan 26, 2023                         $260.10
25                                 Feb 27, 2023                         $260.10
26                                 Mar 27, 2023                         $260.10
27                                 Apr 26, 2023                         $260.10
28                                 May 26, 2023                         $260.10
29                                 Jun 26, 2023                         $260.10
30                                 Jul 26, 2023                         $260.10
31                                 Aug 28, 2023                         $260.10
32                                 Sep 26, 2023                         $260.10
33                                 Oct 26, 2023                         $260.10
34                                 Nov 27, 2023                         $260.10
35                                 Dec 26, 2023                         $260.10
36                                 Jan 26, 2024                         $260.18




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                                               Electronic Payment Authorization

Bank Name: COMMUNITY BANK N.A.

Name on Account: Debra Price

Account Type: Checking

                               ___ Other (specify: ______________________)

Routing Number:

Account Number:

Next Payment Date: Feb 26, 2021 Amount: $ 260.10

Recurring Payment Date: 26th

By signing below, I authorize and permit LPG or their designees, EPPS, Omnifund, Equipay, Forte, a CSG Company, or Authorize.NET to
initiate electronic funds transfer via an Automated Clearing House system (ACH) from my account listed above. I will also provide LPG
with a voided check or savings deposit slip.


If necessary, LPG may make adjustments if errors have occurred during the transaction. The date of the draft is listed above, however, if
the draft date falls on a weekend or bank holiday, the debit transaction will take place on the next business day. This authority will remain
in effect until LPG is notified by the member in writing at least 5 days prior to the next scheduled draft date. No other forms of
cancellation by members will be observed. If the debit is returned because of non-sufficient funds or uncollected funds, then the originator
and its financial institution may reinitiate the entry up to two (2) times. The reversal of funds from a client’s account that was drafted in
error cannot be made until seven business days from the draft date. The member agrees to waive all rights of reversal or refusal of any
payment on any draft that LPG may make against the member’s bank account while services are performed. The member agrees with all of
the provisions and conditions outlined within.


Acknowledgment of Refunds & Draft Date Changes


ACH Refunds: If a refund is due such will be made through the ACH process only if the fees were made through the ACH process. All
refunds may take up to 10 days to process. In the event my EFT or draft is returned from my bank unpaid, I agree that a fee of $25.00 or as
allowed by law may be charged to my account via draft or EFT. Furthermore, I warrant that I am authorized to execute this payment
authorization and the above information is true and correct. Draft Date Changes: A client may stop any ACH debit by providing written
notice to LPG at least five (5) business days prior to the scheduled payment. If you should need to notify us of your intent to cancel and/or
revoke this authorization you must contact us five (5) days prior to the questioned debit being initiated. Please call us at 949-593-0440 or
at admin@coastprocessing.com.



Client Signature:              Debra Price
                               {SIGNATURE}                                                                         Date: 2/17/2021
                                                                                                                         {SIGNDATE}




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Printed Name:       Debra Price




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                     Electronic Funds Transfer (EFT) Authorization to Debit Bank Account

Account Owner Name: Debra Price

Social Security Number:                                                         Birth Date:

Address:319 Putnam St                     City:Stranton                State:PA       Zip: 18508

Mobile Phone #:                             Bank Name: COMMUNITY BANK N.A.

Routing Number:                                       Account Number:

Total Amount of Debit: $260.10                Date of Next Debit:Feb 26, 2021            Checking or Saving: Checking

I hereby apply for and agree to establish a non-interest bearing special purpose account (the “Account”) with a bank
(“Bank”) selected by EPPS, LLC and/or its successors for the purpose of accumulating funds to pay for such goods and
services as I so direct EPPS, LLC to perform. This application is subject to Bank’s customer identification program, as
required by the USA PATRIOT ACT and other applicable laws, and accordingly, I hereby represent that the above
information is true and complete to the best of my knowledge and belief. The bank account information provided
above may be subject to account validation processes to include pre-notation and a $0.01 micro-deposit.




I hereby authorize Bank, directly or through EPPS, LLC, and/or its service providers, to administer the account on my behalf by (a)
periodically transferring and depositing funds to the Account, via any payment media currently in use, and (b) periodically disbursing funds
from the Account pursuant to instructions that I may give from time to time. I hereby authorize payments from the Account for the fees
and charges provided for in this application and in the agreement. I hereby grant permission for Bank to share information regarding the
Account with EPPS, LLC, and any other service provider to facilitate the transactions I may initiate that involve the Account, and with any
other party that is essential to the administration of the Account on my behalf. My signature below provides permission to be contacted by
phone at the number provided with this authorization. A payment reminder will be sent to your phone number via Text Messaging prior to
the payment scheduled above. This authorization shall remain in full force and effect until I provide a verbal or written termination notice
to EPPS. Any such notice, and any other written notice that is provided for in this Application or the Agreement, shall be sent to EPPS,
LLC at the address set forth in the Agreement. “EPPS-Ph# 800-215-3484” will appear on your bank statement


Account Holder’s Signature: Debra Price
                            {SIGNATURE}                                                          2/17/2021
                                                                                           Date: {SIGNDATE}




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                                   E-Signature Completion Certificate




                                                Your Document Was Successfully Signed!
                                                Congratulations, your document(s) was successfully signed. Please find
                                                details below related to your e-signature submission.




                                      Signing Details



                                         Document ID                                                           Signer Email
                                         3522897                                                               debbieprice98@yahoo.com

                                         Document Title                                                        Signer IP Address
                                         Legal Service Agreement with LPG - ASF ( English )                    73.175.109.248

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                                      BRIEF IN SUPPORT

I.     INTRODUCTION

       Plaintiff essentially tries to hammer a square peg into a round hole by alleging that

Defendants are subject to the Credit Repair Organizations Act (“CROA”), 15 U.S.C. §1679, et

seq., simply because they assist in developing creditworthy behavior or resolving debt. In her

Complaint, Plaintiff provides no detail or facts of any kind that support her allegation that

“Defendants are ‘credit repair organizations’” such that Defendants would be subject to the

CROA other than just blindly asserting that Defendants are credit repair organizations. (Doc. No.

1, ¶25). And, in any event, Congress’s focus in enacting the CROA was on entities who assist in

the improvement or repair of a consumer’s credit record, credit history, or credit rating, and not

the debt validation services that Defendant provides. Plaintiff attempts to make “debt validation”

and “credit repair” services synonymous in her Complaint, but the two are distinct. Plaintiff has

failed to plead facts that are necessary to state a claim for relief, and thus Count I of her

Complaint should be dismissed.

       Similarly, Count II should also be dismissed for these reasons.             Plaintiff’s own

allegations show that Defendants are not considered to be “debt collectors” by statute, such that

Count II must also be dismissed.

II.    PLAINTIFF’S ALLEGATIONS

       Defendants assist their clients in debt validation, debt relief, and collections harassment.

(See Doc. 1-1, attached to Complaint as “Exhibit A”). Defendants do so, in part, by working to

resolve their clients’ existing debts through negotiation with client creditors individually. (Id.).

Notably, the agreement expressly states the services Defendants would provide for Plaintiff. The

services include (but are not limited to):




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        •       Contesting debts;
        •       Obtaining client credit reports, analyzing them, and developing strategies for
                correcting invalid or unlawful debts for which the client should not be held legally
                responsible;
        •       Interacting with creditors and credit bureaus on the client’s behalf to invalidate
                debts and remove such invalid debts from the client’s credit reports;
        •       Interacting with collection agencies to invalidate the client’s debts;
        •       Initiating lawsuits on the client’s behalf against creditors and third-party debt
                collectors;
        •       Representing the client in a lawsuit filed against he or she;
        •       Negotiating debt settlements on the client’s behalf.
(See Doc. 1-1, attached to Complaint as “Exhibit A”).

        None of these services include improving Plaintiff’s credit record, credit history, credit

rating, or providing advice or assistance to Plaintiff in improving her credit record, credit history,

or credit rating. (Id.).

        Plaintiff filed her Complaint on May 15, 2022. (See Doc. No. 1). However, the

Complaint merely sets out a formulaic recitation of the requirements to be subject to the CROA.

Thus, the Complaint has no allegations that this Court could infer that Defendants are “credit

repair organizations” as required by the statute to be subject to liability.         (See, generally,

Plaintiff’s Complaint).

        Also taken from Plaintiff’s own allegations is the fact that Defendants are not acting on

behalf of any creditor. (See, generally, Plaintiff’s Complaint). As such, Defendants are not debt

collectors. (Id.).




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III.   LAW AND ARGUMENT

       A.      Legal Standard

       To survive a motion to dismiss pursuant to FRCP 12(b)(6), a plaintiff must plead “more

than labels and conclusions, and a formulaic recitation of the elements of a cause of action will

not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 546 (2007). Thus, when legal conclusions are

involved in the complaint “the tenet that a court must accept as true all of the allegations

contained in a complaint is inapplicable to [those] conclusions,” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009), and “only a complaint that states a plausible claim for relief survives a motion to

dismiss,” Id. at 679. Thus, mere “labels and conclusions” and “a formulaic recitation of the

elements of a cause of action” will not suffice and must be disregarded. Khalik v. United Air

Lines, 671 F.3d 1188, 1190–91 (10th Cir. 2012). In other words, a complaint must do more than

allege the plaintiff's entitlement to relief. “If the scope of the allegations in a complaint are so

general that they encompass a wide swath of conduct, much of it innocent, then the plaintiffs

‘have not nudged their claims across the line from conceivable to plausible.’” Robbins v.

Oklahoma, 519 F.3d 1242, 1247 (10th Cir.2008).

       In considering a motion to dismiss, the Court is not deciding the issue of whether a

plaintiff will ultimately prevail but is deciding if the plaintiff is entitled to offer evidence to

support claims. Burkhart v. Knepper, 310 F. Supp. 2d 734, 744 (E.D. Pa. 2004).

       B.      Defendants Are Not “Credit Repair Organizations” Under the Credit Repair
               Organizations Act


       The Credit Repair Organizations Act (“CROA”) was enacted to protect the public from

unfair or deceptive business practices by credit repair organizations. Henry v. Westchester

Foreign Autos, Inc., 522 F. Supp. 2d 610, 613 (SD NY 2007). Liability under CROA is limited



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to credit repair organizations as defined in § 1679a(3) and persons in connection with the

activities of or transactions involving credit repair organizations. Wright v. 21st Mortg. Corp. (In

re Wright), 2007 Bankr. LEXIS 1757, *40-41 (Bankr. ND Ala. 2207).

       A credit repair organization:

       (A) means any person who uses any instrumentality of interstate commerce or the
       mails to sell, provide, or perform (or represent that such person can or will sell,
       provide, or perform) any service, in return for the payment of money or other
       valuable consideration, for the express or implied purpose of—
       (i) improving any consumer’s credit record, credit history, or credit rating; or
       (ii) providing advice or assistance to any consumer with regard to any activity or
       service described in clause (i).
15 U.S.C. 1679a(3).

       Courts have held that credit repair organizations are only entities whose primary focus is

on the improvement or repair of a consumer’s credit record and not those who focus is

developing creditworthy behavior or resolving debts. Plattner v. Edge Solutions, Inc., 422 F.

Supp. 2d 969 (ND Ill. 2006); Walston v. Nationwide Credit, Inc., 2019 U.S. Dist. LEXIS 147865

(ND Ill. August 30, 2019) (stating that “the definition of credit repair organization encompasses

‘entities whose focus is on the improvement or repair of a consumer's credit record, credit history

or credit rating, explicitly or implicitly, not entities whose activities are aimed at assisting

consumers in developing “creditworthy behavior” and paying their debts, which may result in

improved actual credit as a collateral consequence, rather than as a program objective.”); White

v. Fin. Credit Corp., 2001 U.S. Dist. LEXIS 21486 (ND Ill. December 20, 2001)(finding a

company that represented paying debts would improve credit history was not a credit repair

organization because its primary business focus was debt collection).

       In Plattner, a company who offered a “Post Closing Credit Restoration Program” (in

addition to various debt payment and validation services), which falls directly into the purview



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of being considered a “credit repair organization,” was not a credit repair organization. Id. at

976. The court found that Congress did not intend the CROA to apply broadly to entities

providing advice related to debt and debt repayment, which may result in improved credit as a

collateral consequence. Id. at 975. Rather, Congress’s focus in enacting the statute was on

entities whose focus is the improvement or repair of a consumer’s credit record, credit history, or

credit rating. Id.

        If the “Post Closing Credit Restoration Program” was the only service offered by the

company in Plattner, it may have rendered it a “credit repair organization,” however, when

viewed in context with the company’s primary debt management services, the purpose was to

assist in managing a consumer’s debt. Id. at 976. Summary judgment was granted in favor of the

company. Id. at 976-977; See also Wright v. 21st Mortg. Corp. (In re Wright), 2007 Bankr.

LEXIS 1757 (Bankr. ND Ala. 2207)(holding the same); Hillis v. Equifax Consumer Servs., 237

F.R.D. 491 (ND GA 2006) (denying plaintiff’s motion for summary judgment on the fact that

defendant was a credit repair organization where defendant advertised that it could help improve

an individual’s credit outlook and credit score because such statements could be found to mean

that defendant would only provide the individual with information so that the individual could

take steps to improve their credit score on their own).

        The same analysis applies to the situation at bar. The agreement Plaintiff entered into

with Defendants stated that Defendants would provide Plaintiff services regarding her debt,

including debt validation and debt relief. The services Defendants offered Plaintiff are similar to

the services the company offered in Plattner. While debt assistance may implicitly improve

credit, the CROA was not intended to encompass any entity that does so. Plattner v. Edge

Solutions, Inc., 422 F. Supp. 2d 969, 975 (ND Ill. 2006). Liability under CROA is limited to




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“credit repair organizations” and, because “credit repair organizations” do not include entities

that offer debt validation and relief services, as Defendants do, Plaintiff has not plead a claim

upon which relief can be granted.

       Accordingly, because Defendants do not fit within the statutory definition of “credit

repair organizations,” Plaintiff can prove no set of facts that would entitle Plaintiff to recover on

her allegations that Defendants violated the Credit Repair Organizations Act.           Count I of

Plaintiff’s Complaint should therefore be dismissed as a matter of law.

       C.      Defendants Are Not “Debt Collectors”


       Plaintiff also asserts violations under the Fair Credit Extension Uniformity Act and

Pennsylvania Unfair Trade Practices and Consumer Protection Law (Count II of the Complaint).

These claims are premised on 73 P.S. § 2270.3, which defines a “debt collector” as a person not

a creditor who is “acting on behalf of a creditor.” 73 P.S. § 2270.3 (emphasis added).

       It is clear from Plaintiff’s allegations that Defendants are not acting on behalf of any

creditors. Rather, Defendants are adverse to all of Plaintiff’s creditors. Plaintiff alleges a

fiduciary relationship with Defendants, which relationship allegedly arises based upon the

engagement of Defendant LPG to assist in compromising debt owed to creditors.

       Therefore, Plaintiff’s own allegations bring Defendants outside the definition of “debt

collector.” Consequently, Count II of Plaintiffs Complaint must be dismissed as a matter of law.




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IV.    CONCLUSION

       For the aforementioned reasons, this Court should dismiss Count I and Count II of

Plaintiff's Complaint, with prejudice, for failure to state a claim.

                                                       Respectfully submitted,

                                                       /s/ Jordan M. Kurth
                                                       _____________________________
                                                       Jordan M. Kurth (PA B#: 317804)
                                                       The Litigation Practice Group PC
                                                       17542 17th St., Suite 100
                                                       Tustin, CA 92780
                                                       Phone: (949) 715-0644
                                                       Fax: (949) 415-7816
                                                       E-mail: JKurth@lpglaw.com
                                                       Attorney for Defendants


                                                       LUPER NEIDENTHAL & LOGAN
                                                       A Legal Professional Association

                                                       /s/ Kyle T. Anderson
                                                       _____________________________
                                                       Christopher R. Pettit (OH B#: 0065694)
                                                       Matthew T. Anderson (OH B#: 0082730)
                                                       Kyle T. Anderson (OH B#: 0097806)
                                                       1160 Dublin Road, Suite 400
                                                       Columbus, Ohio 43215-1052
                                                       (614) 221-7663 Fax: (866) 345-4948
                                                       Email: cpettit@LNLattorneys.com
                                                       Email: manderson@LNLattorneys.com
                                                       Email: kanderson@LNLattorneys.com
                                                       Attorneys for Defendants




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                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing has been filed via the Court’s
electronic filing system on this 8th day of July 2022. Notice of filing will be performed by the
Court’s electronic filing system, and Parties may access the document through the Court’s
electronic filing system.




                                                   /s/ Kyle T. Anderson
                                                   Kyle T. Anderson (OH B#: 0097806)
                                                   Attorney for Defendants




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                             UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF PENNSYLVANIA
 DEBRA PRICE,
                        Plaintiff,
        v.                                       NO. 3:22-cv-00707-KM

 LITIGATION PRACTICE GROUP P.C.;
 DANIEL MARCH, ESQ., individually and d/b/a
 LITIGATION PRACTICE GROUP;
 MARQUE CAREY, ESQ., individually and
 d/b/a LITIGATION PRACTICE GROUP;
 RANDALL CLARK, ESQ., individually and
 d/b/a LITIGATION PRACTICE GROUP;
 MICHAEL ROBINSON, ESQ., individually and
 d/b/a LITIGATION PRACTICE GROUP;
 JAYDE TRINH, ESQ., individually and d/b/a
 LITIGATION PRACTICE GROUP;
 HOWARD GUTMAN, ESQ., individually and
 d/b/a LITIGATION PRACTICE GROUP,
                        Defendants.


                PLAINTIFF’S OPPOSITION TO DEFENDANTS’
       MOTION TO DISMISS COUNTS I AND II OF PLAINTIFF’S COMPLAINT

       By his undersigned counsel, Plaintiff Debra Price (“Plaintiff” or “Price”) hereby opposes

Defendants’ Motion to Dismiss Plaintiff’s Complaint (ECF. )(“Motion”), and says as follows:


  I.   INTRODUCTION & SUMMARY OF RELEVANT FACTS

       This civil action by Plaintiff against Defendants, attorneys acting individually and via a

corporate entity ostensibly as debt negotiators for consumers like plaintiff to reduce their

outstanding debt (Compl. ¶¶ 14-19) and fix their credit (Compl. ¶¶ 20-23), but in fact act according

to an industry wide scheme to aid and enable creditor collection and deceive consumers to have

them believe otherwise. Compl. ¶¶ 29-41.


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       As a result of Defendants’ foregoing acts and omissions, Plaintiff has been damaged by

increased credit costs over the past year and a half since entering Defendants’ bogus debt

relief/negotiation program including a collection lawsuit being filed against her by one of her

enrolled creditors, Capitol One. Compl. ¶¶ 39.

       Based on the well pled Amended Complaint (ECF 13) and the argument herein, Plaintiff

requests that the Motion be DENIED in its entirety. In the alternative, if the Court believes that

additional facts are necessary for Plaintiff to proceed on his claims, he requests leave of the Court

to file an Amended Complaint to address those deficiencies.

 II.   LEGAL STANDARD

       The standard of review for a motion to dismiss is as follows:

       “To survive a motion to dismiss, a complaint must contain sufficient factual matter,
       accepted as true, to ‘state a claim to relief that is plausible on its face.’ ” Ashcroft
       v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (quoting Bell
       Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007).
       “A claim has facial plausibility when the plaintiff pleads factual content that allows
       the court to draw the reasonable inference that the defendant is liable for the
       misconduct alleged.” Id. “Threadbare” recitations of the elements of a claim
       supported only by “conclusory statements” will not suffice. Id. at 683, 129 S.Ct.
       1937. Rather, a plaintiff must allege some facts to raise the allegation above the
       level of mere speculation. Great Western Mining & Mineral Co. v. Fox Rothschild
       LLP, 615 F.3d 159, 176 (3d Cir. 2010) (citing Twombly, 550 U.S. at 555, 127 S.Ct.
       1955). In analyzing a motion to dismiss legal conclusions are disregarded, well-
       pleaded factual allegations are taken as true, and a determination is made whether
       those facts state a “plausible claim for relief.” Fowler v. UPMC Shadyside, 578
       F.3d 203, 210-11 (3d Cir. 2009).
Frompovicz v. Niagara Bottling, LLC, --- F.Supp.3d ----, No. CV 18-54, 2018 WL 4465879, at *2

(E.D. Pa. Sept. 18, 2018).

       Finally, “upon granting a motion to dismiss, ‘a district court must permit a curative

amendment, unless an amendment would be inequitable or futile.’ Phillips v. Cnty. of Allegheny,




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515 F.3d 224, 236 (3d Cir. 2008).” Bramlett v. United States Dep't of Treasury, No. CV 16-257,

2017 WL 1048366, at *8 (E.D. Pa. Mar. 20, 2017).

III.   ARGUMENT
       A. DEFENDANTS        ARE        CROA’S DEFINITION OF “CREDIT REPAIR
                                   WITHIN
           ORGANIZATION” OR, ALTERNATIVELY, PLEADED AS VIOLATING 1679B(A) WHICH
           VIOLATIONS APPLY TO ANY PERSON WHO COMMITS THEM.

       CROA defines a “credit repair organization” broadly as any person who performs debt

relief services “for the express or implied purpose of—(i) improving any consumer’s credit record,

credit history, or credit rating”, 15 U.S.C. § 1679a(3)(A). Therefore, applying the CROA to debt

relief services fits the remedial purpose of the Act and the broad definition of “credit repair

organization.” Because a consumer’s credit score or creditworthiness is heavily influenced by the

amount of debt owed and past due and because Debt relief or negotiation services are specifically

designed to settle consumers’ debts, such services will therefore have a direct impact on the Act’s

concern with “consumer’s credit record, credit history, [and] credit rating”. Id.

       Indeed, it is important to note that, even where a debt relief company does not expressly

offer credit repair, Courts have still found the broad remedial purpose of CROA fulfilled by debt

settlement services alone due to their impact on a consumer’s credit. For example, in Day v. Persels

& Assocs., L.L.C., 2015 WL 413224, at *17–19 (M.D. Fla. Jan. 30, 2015), the court held that a

debt settlement law firm’s services were implied to improve the consumer’s credit. The plaintiff

therein alleged that the law firm promised to reduce the consumer’s debts, to help the consumer

achieve “financial health,” and to provide related services. Id. at *17. The law firm argued that,

accepting those allegations as true, they were not subject to the CROA because CROA only applies

to persons offering to correct or repair credit reports—not those that merely promise debt

settlement. Id. The court rejected the law firm’s interpretation, holding that the CROA does not



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distinguish between past and prospective credit. Id. at *18 (citing Zimmerman v. Puccio, 613 F.3d

60, 72 (1st Cir. 2010).

           The cases cited by Defendants are all factually distinguishable from the facts of the case at

hand. In Plattner v Edge Solutions, the defendant law firm acting as a debt relief agency, expressly

disclaimed assurance as to credit repair and even gave notice that it could deteriorate by

participation in their debt relief program. By contrast, much of the first page of Defendants’

contract with Plaintiff herein describes the credit repair benefits of the program, see Compl. Ex.

A, e.g.:

           The Litigation Practice Group PC (“LPG”) … will assist you in removing erroneous

           or inaccurate information appearing on one or more of your credit reports by

           contesting debts appearing therein. This service is limited to information reported

           by creditors or purported creditors to credit bureaus. The purpose of this program

           is to challenge the legal validity of debts appearing on or being reported to credit

           bureaus.

           …

           LPG will obtain your credit reports, analyze them, and develop strategies for

           correcting invalid or unlawful debts for which you should not be held legally

           responsible. Where appropriate, LPG will use existing laws and interact with

           creditors and credit bureaus on your behalf to invalidate your debts and remove

           such invalid debts from your credit reports.

In Walston v. Nationwide Credit, the facts are a far cry from the instant facts wherein the plaintiff

argued the novel theory that the defendant debt collection firm, not a debt relief firm, was acting

as a credit repair organization by the terms of its debt collection letter attempting to collect the



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plaintiff’s debt despite the fact that there was no contractual relationship between the debtor and

collector at all. In White v. Fin. Credit Corp., a similar novel argument was made against a debt

collector with whom the debtor had no contractual relationship.

          Alternatively, certain provisions of the Act apply to any person who commits certain acts

which “no person” may commit without violating the Act regardless of whether the person is

deemed to be a “credit repair organization” under the Act. Here, Plaintiff has pleaded violations

in this respect of 15 U.S.C. § 1679b(a)(1),(3), and (4) (Compl. ¶ 43)1.

          B. DEFENDANTS ARE WITHIN THE FCEUA’S DEFINITION OF “DEBT COLLECTOR”

          Defendants move to dismiss Count II asserting its disputed factual contention that it is not

a debt collector under the FCEUA. Motion at 8. More specifically, it claims, with no factual basis

to do so, that it does not fall within the definition of a debt collector based on a truncated citation

of the Act’s definition of a debt collector as “a person not a creditor who is ‘acting on behalf of a

creditor’”. Id. 8. As the Third Circuit has discussed regarding the FCEUA’s definition of a debt

collector:

          Whether a defendant is a "debt collector" under the FCEUA, however, is somewhat
          more complicated, because rather than adopting the FDCPA's definition of "debt

1
    (a) In general, No person may—

(1) make any statement, or counsel or advise any consumer to make any statement, which is untrue or misleading (or
which, upon the exercise of reasonable care, should be known by the credit repair organization, officer, employee,
agent, or other person to be untrue or misleading) with respect to any consumer’s credit worthiness, credit standing,
or credit capacity to—
          (A) any consumer reporting agency (as defined in section 1681a(f) of this title); or
          (B) any person—
                   (i) who has extended credit to the consumer; or
                   (ii) to whom the consumer has applied or is applying for an extension of credit;
…
(3) make or use any untrue or misleading representation of the services of the credit repair organization; or
(4) engage, directly or indirectly, in any act, practice, or course of business that constitutes or results in the commission
of, or an attempt to commit, a fraud or deception on any person in connection with the offer or sale of the services of
the credit repair organization.


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           collector," the FCEUA provides its own. Under the FCEUA, a "debt collector" is
           "[a] person not a creditor... engaging or aiding directly or indirectly in collecting a
           debt...." Id. § 2270.3. The FCEUA includes within this definition "[a]n attorney,
           whenever such attorney attempts to collect a debt, as herein defined…
Glover v. FDIC, 698 F. 3d 139, 152 (3rd Cir. 2012)(emphasis added).
Here, there are no well pled facts before the Court to contradict Plaintiff’s allegations that

Defendants’ debt settlement scheme offers no benefits to Plaintiff, but, at least indirectly, aids

Plaintiff’s creditors while her five (5) debts to them have gathered interest and late charges for 1

½ years of Plaintiff’s enrollment in the program and, regarding at least one debt, a collection

lawsuit with accompanying litigation expenses2 while Plaintiff has paid $4,000 into a dormant

“settlement fund” administered by Defendants that has only benefited Defendants by paying them

fees. Compl. ¶¶ 29, 37, 39-41.

           Defendants also argue that Plaintiff pleading Defendants as her fiduciary somehow legally

contradicts her FCEUA allegation that Defendants are also acting as collectors. Because this

argument is made without support of legal citation to show that the allegations are mutually

exclusive somehow, it warrants no substantive counter.                       Indeed, it is expressly pled that

Defendants’ deceptive actions on behalf of creditors breach their fiduciary obligations to Plaintiff

as her lawyers by failing to fulfill a purported beneficial negotiating role on her behalf. It should

be noted also that, violation of the FCEUA is also a violation of Pennsylvania’s UTPCPL which

imposes strict liability upon Defendants for such violation here:

           Thus, we hold that the General Assembly, by “eliminating the common law state
           of mind element (either negligence or intent to deceive),” (citation omitted),
           imposed strict liability on vendors who deceive consumers by creating a likelihood
           of confusion or misunderstanding in private, as well as public, causes of actions.
           Carelessness or intent, required for negligent or fraudulent misrepresentations, may
           be absent when perpetrating “deceptive conduct” under 73 P.S. § 201-2(4)(xxi).
           Given their varying degrees of requisite intent, a UTPCPL catchall violation and
           the torts of negligent and fraudulent misrepresentation raise separate legal issues,

2
    Motion Response Ex. 1 reflecting the public docketing of the collection lawsuit.

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       as a matter of law.


Gregg v. Ameriprise Financial, Inc., 195 A.3d 930, 940 (2018).
IV.    CONCLUSION

       Plaintiff believes his well pled Complaint sufficiently states claims for relief and

Defendants’ motion should be DENIED. If the Court believes Plaintiff has not properly pled

claims, she seeks leave to amend their pleading to correct any deficiencies.

                                    [signatures on next page]




                                                7

                                           Exhibit "3"                                0302
Case
Case8:23-ap-01046-SC
     8:23-bk-10571-SC
       Case 3:22-cv-00707-KM
                       Doc
                        Claim-1 31-1
                                 Document
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                                                                      8 of 8Motion
                                                                                Desc
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                    Exhibit Exhibits
                             Dismiss1 -Page
                                         12 Page
                                              16 of 306
                                                    16 of 584



Dated: July 13, 2022                          /s/Robert P. Cocco
                                              Robert P. Cocco, Esquire
                                              Attorney I.D. No. 61907
                                              1500 Walnut St., Ste. 900
                                              Philadelphia, PA 19102
                                              (215) 351-0200
                                              bob.cocco@phillyconsumerlaw.com

                                              Counsel for Plaintiffs




                                          8

                                    Exhibit "3"                                 0303
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
                    Exhibit Exhibits 1 - 12 Page 307 of 584




                      Exhibit “4”
Case
 Case8:23-bk-10571-SC
      8:23-ap-01046-SC Claim
                         Doc -140-1Filed
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                                     Exhibit "4"                                0304
Case
 Case8:23-bk-10571-SC
      8:23-ap-01046-SC Claim
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                                     Exhibit "4"                                0305
Case
 Case8:23-bk-10571-SC
      8:23-ap-01046-SC Claim
                         Doc -140-1Filed
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                                     Exhibit "4"                                0306
Case
 Case8:23-bk-10571-SC
      8:23-ap-01046-SC Claim
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                      Exhibit Exhibits 1 -of12
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                                     Exhibit "4"                                0307
Case
 Case8:23-bk-10571-SC
      8:23-ap-01046-SC Claim
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                      Exhibit Exhibits 1 -of12
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                                     Exhibit "4"                                0308
Case
 Case8:23-bk-10571-SC
      8:23-ap-01046-SC Claim
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                      Exhibit Exhibits 1 -of12
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                                     Exhibit "4"                                0309
Case
 Case8:23-bk-10571-SC
      8:23-ap-01046-SC Claim
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                      Exhibit Exhibits 1 -of12
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                                     Exhibit "4"                                0310
Case
 Case8:23-bk-10571-SC
      8:23-ap-01046-SC Claim
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                      Exhibit Exhibits 1 -of12
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                                     Exhibit "4"                                0311
Case
 Case8:23-bk-10571-SC
      8:23-ap-01046-SC Claim
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                      Exhibit Exhibits 1 -of12
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                                     Exhibit "4"                                0312
Case
 Case8:23-bk-10571-SC
       8:23-ap-01046-SC Claim
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                                          07/13/23
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                                      Exhibit "4"                                0313
Case
 Case8:23-bk-10571-SC
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                      Exhibit Exhibits 1 -of12
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                                      Exhibit "4"                                0314
Case
 Case8:23-bk-10571-SC
       8:23-ap-01046-SC Claim
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                      Exhibit Exhibits 1 -of12
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                                      Exhibit "4"                                0315
Case
 Case8:23-bk-10571-SC
       8:23-ap-01046-SC Claim
                         Doc 40-1
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                                      Exhibit "4"                                0316
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "4"                             0317
Case
 Case8:23-bk-10571-SC
       8:23-ap-01046-SC Claim
                         Doc 40-1
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                                      Exhibit "4"                                0318
Case
 Case8:23-bk-10571-SC
       8:23-ap-01046-SC Claim
                         Doc 40-1
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                                      Filed
                                          07/13/23
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                      Exhibit Exhibits 1 -of12
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                                      Exhibit "4"                                0319
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
                    Exhibit Exhibits 1 - 12 Page 324 of 584




                                Exhibit "4"                             0320
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "4"                             0321
Case
 Case8:23-bk-10571-SC
       8:23-ap-01046-SC Claim
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                                      Exhibit "4"                                0322
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
                    Exhibit Exhibits 1 - 12 Page 327 of 584




                      Exhibit “5”
     Case
       Case
          8:23-bk-10571-SC
             8:23-ap-01046-SCClaim
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                            Exhibit Exhibits 1 - 12 Page 328 of 584
 Fill in this information to identify the case:
                                                                                                                                 FILED
 Debtor 1 The Litigation Practice Group P C                                                                              U.S. Bankruptcy Court
                                                                                                                       Central District of California
 Debtor 2
 (Spouse, if filing)                                                                                                             5/30/2023
 United States Bankruptcy Court           Central District of California                                              Kathleen J. Campbell, Clerk
 Case number: 23−10571


Official Form 410
Proof of Claim                                                                                                                                          04/22

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


Part 1: Identify the Claim
1.Who is the current            Abigail Beaudin
  creditor?
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor            Abby Beaudin

2.Has this claim been                    No
  acquired from                          Yes. From whom?
  someone else?
3.Where should notices            Where should notices to the creditor be sent?                  Where should payments to the creditor be sent? (if
  and payments to the                                                                            different)
  creditor be sent?               Abigail Beaudin

  Federal Rule of                 Name                                                           Name
  Bankruptcy Procedure
  (FRBP) 2002(g)                  64 Thompson Street, APT 16
                                  New York, NY 10012−64



                                  Contact phone              920−627−3794                        Contact phone

                                  Contact email                                                  Contact email
                                         abbybeaudin@gmail.com

                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):



4.Does this claim amend                  No
  one already filed?                     Yes. Claim number on court claims registry (if known)                       Filed on

                                                                                                                                 MM / DD / YYYY
5.Do you know if anyone                  No
  else has filed a proof                 Yes. Who made the earlier filing?
  of claim for this claim?
Official Form 410                                                      Proof of Claim                                                  page 1




                                                                      Exhibit "5"                                                         0323
   CaseCase   8:23-ap-01046-SCClaim
          8:23-bk-10571-SC            Doc50-1
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                                                                                   Document       Desc
                                                                                               Page 2 of 3
                                  Exhibit Exhibits   1  - 12   Page  329
Part 2: Give Information About the Claim as of the Date the Case Was Filed of 584
6.Do you have any                  No
  number you use to                Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:       6262
  identify the debtor?


7.How much is the             $      19017.60                       Does this amount include interest or other charges?
  claim?                                                              No
                                                                      Yes. Attach statement itemizing interest, fees, expenses, or
                                                                      other charges required by Bankruptcy Rule 3001(c)(2)(A).
8.What is the basis of        Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
  the claim?                  death, or credit card. Attach redacted copies of any documents supporting the claim required by
                              Bankruptcy Rule 3001(c).
                              Limit disclosing information that is entitled to privacy, such as healthcare information.
                              fraudulent legal services by a disbarred, misrepresenting attorney and debt
                              settlement scam program


9. Is all or part of the          No
   claim secured?                 Yes. The claim is secured by a lien on property.
                                   Nature of property:
                                       Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                      Proof of Claim Attachment (Official Form 410−A) with this Proof of Claim.
                                       Motor vehicle
                                       Other. Describe:


                                    Basis for perfection:

                                    Attach redacted copies of documents, if any, that show evidence of perfection of a security
                                    interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                    document that shows the lien has been filed or recorded.)

                                    Value of property:                        $

                                    Amount of the claim that is               $
                                    secured:
                                    Amount of the claim that is               $                                    (The sum of the secured and
                                    unsecured:                                                                     unsecured amounts should
                                                                                                                   match the amount in line 7.)


                                    Amount necessary to cure any default as of the                     $
                                    date of the petition:

                                    Annual Interest Rate (when case was filed)                                     %
                                          Fixed
                                          Variable
10.Is this claim based on           No
   a lease?                         Yes. Amount necessary to cure any default as of the date of the petition.$


11.Is this claim subject to        No
   a right of setoff?              Yes. Identify the property:




Official Form 410                                                Proof of Claim                                                page 2




                                                                Exhibit "5"                                                      0324
      Case
    Case    8:23-ap-01046-SCClaim
         8:23-bk-10571-SC      Doc50-1
                                    -1 Filed
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                                                 05/30/23 Entered 07/13/23
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                                                                      Document       Desc
                                                                                  Page 3 of 3
                           Exhibit Exhibits 1 - 12 Page 330 of 584
12.Is all or part of the claim            No
    entitled to priority under                                                                                                Amount entitled to priority
    11 U.S.C. § 507(a)?                   Yes. Check all that apply:
    A claim may be partly                   Domestic support obligations (including alimony and child support) $
    priority and partly                     under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,
    in some categories, the                 Up to $3,350 * of deposits toward purchase, lease, or rental of                   $
    law limits the amount                   property or services for personal, family, or household use. 11
    entitled to priority.                   U.S.C. § 507(a)(7).
                                            Wages, salaries, or commissions (up to $15,150 *) earned within                   $
                                            180 days before the bankruptcy petition is filed or the debtor's
                                            business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                            Taxes or penalties owed to governmental units. 11 U.S.C. §                        $
                                            507(a)(8).
                                            Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                            Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies                   $

                                         * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date
                                         of adjustment.

Part 3: Sign Below
 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date it. FRBP                  I am the creditor.
 9011(b).
                                         I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP                    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts
 to establish local rules                I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 specifying what a signature     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
 is.                             the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fraudulent claim could be       and correct.
 fined up to $500,000,
 imprisoned for up to 5          I declare under penalty of perjury that the foregoing is true and correct.
 years, or both.
 18 U.S.C. §§ 152, 157 and
 3571.                           Executed on date                5/30/2023

                                                                 MM / DD / YYYY


                                 /s/ Abigail Beaudin

                                 Signature

                                 Print the name of the person who is completing and signing this claim:
                                 Name                                        Abigail Beaudin

                                                                            First name       Middle name         Last name
                                 Title                                       Client / Creditor / Victim

                                 Company

                                                                            Identify the corporate servicer as the company if the authorized agent is a
                                                                            servicer
                                 Address                                     64 Thompson Street, APT 16

                                                                            Number Street
                                                                             New York, NY 10012

                                                                            City State ZIP Code
                                 Contact phone             920−627−3794                         Email         abbybeaudin@gmail.com


Official Form 410                                                      Proof of Claim                                                   page 3




                                                                     Exhibit "5"                                                           0325
         Case
          Case8:23-bk-10571-SC
                8:23-ap-01046-SC Claim
                                  Doc -150-1Filed
                                             Part 2 07/13/23
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                                            LEGAL SERVICES AGREEMENT

Legal Services

The Litigation Practice Group PC (“LPG”) will provide debt validation services wherein it will assist you in removing erroneous
or inaccurate information appearing on one or more of your credit reports by contesting debts appearing therein. This service is
limited to information reported by creditors or purported creditors to credit bureaus. The purpose of this program is to challenge
the legal validity of debts appearing on or being reported to credit bureaus. The cost of legal services rendered by LPG is set
forth below, and those fees are earned by LPG for services rendered to you as set forth herein at the time such fees are paid.

Client Authorization

You authorize LPG to challenge, where applicable, any debts appearing in your credit report(s) that you believe to be in any
way invalid, inaccurate, or otherwise without legal basis. You also authorize LPG to obtain a copy of your credit report to assist
in the process of analyzing your account and developing a strategy regarding the invalidation of debts that are excessive or
otherwise unauthorized by law. You further authorize LPG, acting under power of attorney for you, to affix your signature to
documents sent on your behalf in relation to the matters addressed herein.

Description of Services to be Performed

LPG will obtain your credit reports, analyze them, and develop strategies for correcting invalid or unlawful debts for which you
should not be held legally responsible. Where appropriate, LPG will use existing laws and interact with creditors and credit
bureaus on your behalf to invalidate your debts and remove such invalid debts from your credit reports. LPG will also interact
with collection agencies, as applicable, to invalidate your debts by requiring them to supply evidence of your indebtedness to
them, or any other legal mechanism. LPG will also consult with you regarding all aspects of the credit reporting process,
including all laws applicable to the same. LPG will also investigate your delinquent accounts in order to determine the most
effective method for invalidating your debts or otherwise removing any legal liability for such debts, up to and including the
initiation of lawsuits on your behalf against your creditors and their third party debt collectors.

In addition, if a lawsuit is filed against you, LPG will represent you in such lawsuit and will not charge any additional fees for
such representation provided such lawsuit was initiated after the date you sign this Agreement. In the event a lawsuit was
initiated against you before the date you execute this Agreement and you elect to have LPG represent you, an additional fee of
$500.00 will be charged. Where appropriate, if legal fees are recovered from an adverse party, LPG will retain such fees for its
services. You will be responsible to pay any damages resulting from any lawsuit. Any costs incurred in a lawsuit will be paid by
LPG out of the fees set forth below, including the fees of any attorney retained on your behalf in a jurisdiction in which LPG is
not admitted to practice law. No additional payment from you to LPG will be necessary for the defense of any lawsuit filed
against you after the date you execute this Agreement. You will, however, be responsible to pay any damages resulting from
such lawsuits or any settlements reached in the course of such lawsuits.

Fees

You will pay the following fees for the legal services provided by LPG. No fee or other cost will be charged or collected other
than the following. This is the only amount you have to pay for LPG’s services, and this fee is fixed, such that it is earned the
moment it is transmitted to LPG. Upon request, LPG will provide an update of progress of services performed under this
agreement at reasonable intervals of no greater frequency than once a month.
   Page 1 of 8
                                                          Exhibit "5"                                                0326
                                                                                    ID: 3065644 Signed: 2020-11-02T14:13:10-06:00
         Case
          Case8:23-bk-10571-SC
                8:23-ap-01046-SC Claim
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Refund Policy

If an account is fully validated by a creditor, such that no further dispute to the validity of the account could be made, you will
receive a full refund of the fees that you paid towards the invalidation of that account (i.e., you will be refunded the fees paid in
proportion to the debt that was validated). Should you have an outstanding balance with LPG at the time your refund is issued
on the validated account, any refund will first be applied towards the outstanding balance. A client can elect to move to a debt
settlement service on any validated account in lieu of obtaining a refund. If a client makes such an election, fees will no longer be
collected for such account and debt settlement services will be performed for no additional fees.

Debt Settlement

If LPG is unable to invalidate any debt, you may elect to have LPG negotiate a settlement on your behalf with the concerned
creditor without any additional fees being charged to or incurred by you for such service. Any settlement reached with any such
creditor shall be your responsibility. At the point that you reach a settlement with such creditor, your payment to LPG will be
reduced and re-amortized to adjust for the settled account being removed from the representation herein contemplated. Please
see the refund policy above for more details.

Actions Required of You

You agree to provide LPG with any and all correspondence you receive from any creditor, credit bureau, attorney, or court of
law. You further agree to keep a log of all communications, including telephonic and electronic communications, from any
creditor or credit reporting agency.

Right to Conduct Business Electronically and Contact You

You agree that LPG may contact you electronically and telephonically, and that any and all business with LPG may be
conducted electronically. You further agree that LPG may transmit data, including that regarding your credit profile,
electronically. You further agree that any electronic communication carries the risk of disclosure to a third party, and that LPG
will not be held responsible for any such inadvertent disclosure of information. A facsimile or email transmission of this signed
agreement, via an email attachment or otherwise, will be as valid as the original. This agreement may not be modified except in
writing by both parties.

Client Acknowledgements

By signing this agreement, you acknowledge that LPG has not instructed you to breach any contract, fail to make any required
payment, or fail to perform any obligation you have lawfully incurred. LPG reserves the right to terminate this agreement if (a)
client fails to make timely payment of the amount due under hereunder or (b) client`s payments are returned multiple times for
any reason. LPG will not pay your debts, and does not guarantee that any debt you now have or may incur will be invalidated or
settled in association with LPG’s services. You understand and agree that you must forward any communication you receive in
printed or electronic form from any creditor, court, or representative of other a creditor or a court to
admin@coastprocessing.com, and that you must keep a log of all telephonic communications with any creditor or credit
reporting agency. Do not sign this agreement until you have received and read the information statements and notices
of cancellation required by state and federal law, even if otherwise advised. By signing this agreement, you
acknowledge receipt of these disclosures prior to the time of signing and agree to the terms of this agreement. You,
the client, may cancel this agreement at any time before midnight CST of the 5th day after the date of execution of
this agreement via an email to admin@coastprocessing.com. In addition, you, the client may terminate LPG’s
services under this agreement at any time via an email to admin@coastprocessing.com.

Client Signature:                Abigail Beaudin                                             Date: 11/2/2020
Co-Applicant Signature                                                                       Date:

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                                                           Exhibit "5"                                              0327
                                                                                      ID: 3065644 Signed: 2020-11-02T14:13:10-06:00
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "5"                             0328
         Case
          Case8:23-bk-10571-SC
                8:23-ap-01046-SC Claim
                                  Doc -150-1Filed
                                             Part 2 07/13/23
                                                        Filed 05/30/23
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                                                                         Desc Attachment
                                                                                 09:14:48 1 Desc
                                                                                             Page
                               Exhibit Exhibits 1 4- 12
                                                     of 9 Page 334 of 584

                                              Client Information

Name: Abigail Beaudin

Address: 64 Thompson St Apt 16, , New York City NY 10012



Home Phone: 920-627-3794

Cell Phone: 920-627-3794

Email: abbybeaudin@gmail.com

Las 4 SSN: XXX-XX-6207

                                            Co-Client Information

Name:

Address: , ,



Home Phone:

Cell Phone:

Email:

Last 4 SSN:




   Page 4 of 8
                                                 Exhibit "5"                                  0329
                                                                    ID: 3065644 Signed: 2020-11-02T14:13:10-06:00
           Case
            Case8:23-bk-10571-SC
                  8:23-ap-01046-SC Claim
                                    Doc -150-1Filed
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                                 Exhibit Exhibits 1 5- 12
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                                                      Schedule of Payments

I agree to this payment schedule – Client Initials: AB

Payment #                                   Process Date                               Amount
1                                           Nov 16, 2020                               $197.46
2                                           Dec 01, 2020                               $197.46
3                                           Dec 15, 2020                               $197.46
4                                           Jan 04, 2021                               $197.46
5                                           Jan 15, 2021                               $197.46
6                                           Feb 01, 2021                               $197.46
7                                           Feb 16, 2021                               $197.46
8                                           Mar 01, 2021                               $197.46
9                                           Mar 15, 2021                               $197.46
10                                          Apr 01, 2021                               $197.46
11                                          Apr 15, 2021                               $197.46
12                                          May 03, 2021                               $197.46
13                                          May 17, 2021                               $197.46
14                                          Jun 01, 2021                               $197.46
15                                          Jun 15, 2021                               $197.46
16                                          Jul 01, 2021                               $197.46
17                                          Jul 15, 2021                               $197.46
18                                          Aug 02, 2021                               $197.46
19                                          Aug 16, 2021                               $197.46
20                                          Sep 01, 2021                               $197.46
21                                          Sep 15, 2021                               $197.46
22                                          Oct 01, 2021                               $197.46
23                                          Oct 15, 2021                               $197.46
24                                          Nov 01, 2021                               $197.46
25                                          Nov 15, 2021                               $197.46
26                                          Dec 01, 2021                               $197.46
27                                          Dec 15, 2021                               $197.46
28                                          Jan 03, 2022                               $197.46
29                                          Jan 18, 2022                               $197.46
30                                          Feb 01, 2022                               $197.46
31                                          Feb 15, 2022                               $197.46
32                                          Mar 01, 2022                               $197.46
33                                          Mar 15, 2022                               $197.46
34                                          Apr 01, 2022                               $197.46
35                                          Apr 15, 2022                               $197.46
36                                          May 02, 2022                               $197.46
37                                          May 16, 2022                               $197.46
38                                          Jun 01, 2022                               $197.46
39                                          Jun 15, 2022                               $197.46
40                                          Jul 01, 2022                               $197.46
41                                          Jul 15, 2022                               $197.46
42                                          Aug 01, 2022                               $197.46
43                                          Aug 15, 2022                               $197.46
44                                          Sep 01, 2022                               $197.46
45                                          Sep 15, 2022                               $197.46
46                                          Oct 03, 2022                               $197.46
47                                          Oct 17, 2022                               $197.46
48                                          Nov 01, 2022                               $197.46
     Page 5 of 8
                                                           Exhibit "5"                                 0330
                                                                             ID: 3065644 Signed: 2020-11-02T14:13:10-06:00
           Case
            Case8:23-bk-10571-SC
                  8:23-ap-01046-SC Claim
                                    Doc -150-1Filed
                                               Part 2 07/13/23
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                                 Exhibit Exhibits 1 6- 12
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49                                    Nov 15, 2022                              $197.46
50                                    Dec 01, 2022                              $197.46
51                                    Dec 15, 2022                              $197.46
52                                    Jan 03, 2023                              $197.46
53                                    Jan 17, 2023                              $197.46
54                                    Feb 01, 2023                              $197.46
55                                    Feb 15, 2023                              $197.46
56                                    Mar 01, 2023                              $197.46
57                                    Mar 15, 2023                              $197.46
58                                    Apr 03, 2023                              $197.46
59                                    Apr 17, 2023                              $197.46
60                                    May 01, 2023                              $197.46
61                                    May 15, 2023                              $197.46
62                                    Jun 01, 2023                              $197.46
63                                    Jun 15, 2023                              $197.46
64                                    Jul 03, 2023                              $197.46
65                                    Jul 17, 2023                              $197.46
66                                    Aug 01, 2023                              $197.46
67                                    Aug 15, 2023                              $197.46
68                                    Sep 01, 2023                              $197.46
69                                    Sep 15, 2023                              $197.46
70                                    Oct 02, 2023                              $197.46
71                                    Oct 16, 2023                              $197.46
72                                    Nov 01, 2023                              $197.31




     Page 6 of 8
                                                     Exhibit "5"                                0331
                                                                      ID: 3065644 Signed: 2020-11-02T14:13:10-06:00
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "5"                             0332
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
                    Exhibit Exhibits 1 - 12 Page 338 of 584




                                Exhibit "5"                             0333
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "5"                             0334
Case
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                         Doc -150-1Filed
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                                      Exhibit "5"                                 0335
Case
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                                      Exhibit "5"                                 0336
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                      Exhibit “6”
     Case
       Case
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                                Doc51-1
                                     -1 Filed
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                                                                       Document
                                                                            09:14:48
                                                                                   Page
                                                                                      Desc
                                                                                        1 of 3
                            Exhibit Exhibits 1 - 12 Page 343 of 584
 Fill in this information to identify the case:
                                                                                                                                 FILED
 Debtor 1 The Litigation Practice Group P C                                                                              U.S. Bankruptcy Court
                                                                                                                       Central District of California
 Debtor 2
 (Spouse, if filing)                                                                                                             5/30/2023
 United States Bankruptcy Court           Central District of California                                              Kathleen J. Campbell, Clerk
 Case number: 23−10571


Official Form 410
Proof of Claim                                                                                                                                          04/22

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


Part 1: Identify the Claim
1.Who is the current            Hunter Hastings
  creditor?
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor


2.Has this claim been                    No
  acquired from                          Yes. From whom?
  someone else?
3.Where should notices            Where should notices to the creditor be sent?                  Where should payments to the creditor be sent? (if
  and payments to the                                                                            different)
  creditor be sent?               Hunter Hastings

  Federal Rule of                 Name                                                           Name
  Bankruptcy Procedure
  (FRBP) 2002(g)                  26847 Ellis Mill Rd
                                  Seaford, DE 19973



                                  Contact phone               3023395462                         Contact phone

                                  Contact email                                                  Contact email
                                      hunterhastings94@yahoo.com

                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):



4.Does this claim amend                  No
  one already filed?                     Yes. Claim number on court claims registry (if known)                       Filed on

                                                                                                                                 MM / DD / YYYY
5.Do you know if anyone                  No
  else has filed a proof                 Yes. Who made the earlier filing?
  of claim for this claim?
Official Form 410                                                      Proof of Claim                                                  page 1




                                                                      Exhibit "6"                                                         0337
   CaseCase
          8:23-bk-10571-SC
              8:23-ap-01046-SCClaim   Doc51-1
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                                                   Filed07/13/23
                                                           05/30/23 Entered
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                                                                               07/13/23
                                                                                   Document
                                                                                        09:14:48
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                                                                                                    2 of 3
                                  Exhibit Exhibits   1  - 12   Page  344
Part 2: Give Information About the Claim as of the Date the Case Was Filed of 584
6.Do you have any                  No
  number you use to                Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:
  identify the debtor?


7.How much is the             $      10021.56                       Does this amount include interest or other charges?
  claim?                                                              No
                                                                      Yes. Attach statement itemizing interest, fees, expenses, or
                                                                      other charges required by Bankruptcy Rule 3001(c)(2)(A).
8.What is the basis of        Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
  the claim?                  death, or credit card. Attach redacted copies of any documents supporting the claim required by
                              Bankruptcy Rule 3001(c).
                              Limit disclosing information that is entitled to privacy, such as healthcare information.
                              Services rendered for debt validation services that were incomplete


9. Is all or part of the          No
   claim secured?                 Yes. The claim is secured by a lien on property.
                                   Nature of property:
                                       Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                      Proof of Claim Attachment (Official Form 410−A) with this Proof of Claim.
                                       Motor vehicle
                                       Other. Describe:


                                    Basis for perfection:

                                    Attach redacted copies of documents, if any, that show evidence of perfection of a security
                                    interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                    document that shows the lien has been filed or recorded.)

                                    Value of property:                        $

                                    Amount of the claim that is               $
                                    secured:
                                    Amount of the claim that is               $                                    (The sum of the secured and
                                    unsecured:                                                                     unsecured amounts should
                                                                                                                   match the amount in line 7.)


                                    Amount necessary to cure any default as of the                     $
                                    date of the petition:

                                    Annual Interest Rate (when case was filed)                                     %
                                          Fixed
                                          Variable
10.Is this claim based on           No
   a lease?                         Yes. Amount necessary to cure any default as of the date of the petition.$


11.Is this claim subject to        No
   a right of setoff?              Yes. Identify the property:




Official Form 410                                                Proof of Claim                                                page 2




                                                                Exhibit "6"                                                      0338
      Case
    Case    8:23-ap-01046-SCClaim
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                                    -1 Filed
                                          Filed07/13/23
                                                 05/30/23 Entered 07/13/23
                                                           Desc Main       09:14:48
                                                                      Document       Desc
                                                                                  Page 3 of 3
                           Exhibit Exhibits 1 - 12 Page 345 of 584
12.Is all or part of the claim            No
    entitled to priority under                                                                                                Amount entitled to priority
    11 U.S.C. § 507(a)?                   Yes. Check all that apply:
    A claim may be partly                   Domestic support obligations (including alimony and child support) $
    priority and partly                     under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,
    in some categories, the                 Up to $3,350 * of deposits toward purchase, lease, or rental of                   $
    law limits the amount                   property or services for personal, family, or household use. 11
    entitled to priority.                   U.S.C. § 507(a)(7).
                                            Wages, salaries, or commissions (up to $15,150 *) earned within                   $
                                            180 days before the bankruptcy petition is filed or the debtor's
                                            business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                            Taxes or penalties owed to governmental units. 11 U.S.C. §                        $
                                            507(a)(8).
                                            Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                            Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies                   $

                                         * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date
                                         of adjustment.

Part 3: Sign Below
 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date it. FRBP                  I am the creditor.
 9011(b).
                                         I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP                    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts
 to establish local rules                I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 specifying what a signature     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
 is.                             the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fraudulent claim could be       and correct.
 fined up to $500,000,
 imprisoned for up to 5          I declare under penalty of perjury that the foregoing is true and correct.
 years, or both.
 18 U.S.C. §§ 152, 157 and
 3571.                           Executed on date                5/30/2023

                                                                 MM / DD / YYYY


                                 /s/ Hunter Allen Hastings

                                 Signature

                                 Print the name of the person who is completing and signing this claim:
                                 Name                                      Hunter Allen Hastings

                                                                          First name       Middle name         Last name
                                 Title

                                 Company

                                                                          Identify the corporate servicer as the company if the authorized agent is a
                                                                          servicer
                                 Address                                   26847 Ellis Mil Rd

                                                                          Number Street
                                                                           Seaford, DE 19973

                                                                          City State ZIP Code
                                 Contact phone                                                  Email         hunterhastings94@yahoo.com


Official Form 410                                                      Proof of Claim                                                   page 3




                                                                     Exhibit "6"                                                           0339
      Case
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                            Exhibit Exhibits 1 1- 12
                                                  of 3 Page 346 of 584

Notice of Transition of Legal Services

From: LPG Law (support@lpglaw.com)
To:     hunterhastings94@yahoo.com

Date: Wednesday, March 1, 2023 at 07:04 PM EST




           Hello Hunter!

           On behalf of the entire LPG team, I would like to extend my sincerest apologies
           for the poor customer service experience that you have recently experienced
           with our company. I understand that we have not met your expectations,
           appreciate your patience and understanding as our company works to improve
           our customer service.

           Litigation Practice Group takes full responsibility for the inadequate service you
           have received, and I assure you that we are taking immediate steps to address
           the situation.

           After careful consideration, I have decided to transfer your file in order to
           ensure that you receive the best legal services in the industry. Your legal
           services will be transferred to Consumer Legal Group ("CLG"), a law firm I
           know and trust, and have worked extensively with in past.

           This law firm, which is larger and more experienced in the area of consumer
           rights, is based in Manhattan and has expertise fighting the largest banks and
           creditors in the nation. Its reputation has been built by attorneys across the
           country with a combined experience of more than 100 years of providing legal
           services to clients of all types. This transition will allow CLG, which I have
           worked with multiple times during my career, to manage your account and
           continue to provide a high level of service to you throughout your debt
           resolution process.

           Based on a negotiation I managed to complete, the terms of your agreement
           will remain the same, and you will not be required to pay anything more than
           what was agreed in your contract. All your payments have been credited, and
           your monthly payment will remain on the same day and in the same amount.
                                                 Exhibit "6"                                    0340
Case
 Case8:23-bk-10571-SC
       8:23-ap-01046-SC Claim
                         Doc -151-1Filed
                                    Part 2 07/13/23
                                               Filed 05/30/23
                                                       Entered 07/13/23
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                      Exhibit Exhibits 1 2- 12
                                            of 3 Page 347 of 584
     The length of your program and contract are also the same. To be clear, your
     payment, the length of your program, and the services that you are offered will
     remain exactly the same and comes with a guarantee that if your debts are not
     resolved at the conclusion of your program, you will receive a full refund of the
     fees paid toward such debts. Just as with Litigation Practice Group, CLG will
     represent you in any lawsuit filed against you without any additional cost to
     you.

     This transfer will be completed today, on February 28, 2023, and a
     representative from CLG will reach out to you to welcome you to their law firm.
     Consumer Legal Group can be reached at 212-920-1247 or
     support@consumerlegalgroup.com should you wish to contact them. I wish you
     the best of luck and success in completion of your journey to being debt free.

     Regards,

     Daniel S. March




     The Litigation Practice Group

     P.O. Box 513018
     Los Angeles, CA 90051-1018

     https://litigationpracticegroup.com




       TO SPEAK WITH A TEAM MEMBER:
       Call 949-229-6262 or Email support@lpglaw.com.




                                CONFIDENTIALITY AND DISCLAIMER NOTICE:

       This email is intended for clients of the The Litigation Practice Group; also known as LPG. LPG is a
       debt resolution law firm, not a debt settlement company. We do not settle, consolidate, reduce, or
       pay your debts or offer any sort of loans or financing. Just a reminder that you are receiving this
       email because you are our client. This e-mail and any attachments are intended for the exclusive


                                                 Exhibit "6"                                                  0341
Case
 Case8:23-bk-10571-SC
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                                    Part 2 07/13/23
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                                                                Desc Attachment
                                                                        09:14:48 1 Desc
                                                                                    Page
                      Exhibit Exhibits 1 3- 12
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       use of the intended recipient. If you are not the intended recipient, please delete this email. If you
       received this email in error, please notify the sender immediately by calling 949-229-6262, then
       delete this e-mail and any attachments. Any unauthorized use, dissemination, forwarding, printing,
       or copying of this email is strictly prohibited. Nothing contained in this email shall form the basis of
       an attorney-client relationship or constitute a waiver of any privilege.

       This email was sent by The Litigation Practice Group, P.O. Box 513018
       Los Angeles, CA 90051-1018 . You are receiving this email because you have signed up for our
       service. If you wish to no longer receive emails from us you can unsubscribe but you may miss out
       on important information about your account.




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                                                   Exhibit "6"                                                    0342
      Case
       Case8:23-bk-10571-SC
             8:23-ap-01046-SC Claim
                               Doc -151-1Filed
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                            Exhibit Exhibits 1 1- 12
                                                  of 1 Page 349 of 584

Important Payment Update Notice!

From: service@phoenixlaw.co (service@phoenixlaw.co)
To:     hunterhastings94@yahoo.com

Date: Wednesday, March 29, 2023 at 03:40 PM EDT




                                                                                         (424) 622-4044
                                                                                    www.phoenixlaw.co
                                                      6080 Center Drive 6th Floor Los Angeles, CA 90045




Dear Valued Client,


Congratulations and welcome to Phoenix Law PC! We are excited to have the opportunity to serve as your
counsel through the process of resolving your debt We understand that you have been represented by
and have worked with Litigation Practice Group for some time, and that you are now at the tail end of your
journey to becoming debt free.

As we transition your file from LPG to Phoenix Law, our attorneys will review your current status and
determine the best strategies to employ to complete your representation. It is our understanding that
another law firm, Consumer Legal Group, may have contacted you We have spoken with LPG and
Consumer Legal Group and have confirmed that your file was supposed to be assigned Phoenix Law. One
of our representatives will contact you soon to discuss the process of transitioning your file and update
you regarding the status of your file. In the meantime, if you have any questions please do not hesitate to
contact us at 424 622 4044
Regards,

Ty Carrs

Managing Attorney, Phoenix Law




                                                  Exhibit "6"                                     0343
    Case
     Case8:23-bk-10571-SC
           8:23-ap-01046-SC Claim
                             Doc -151-1Filed
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                          Exhibit Exhibits 1 1- 12
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LPG Account Update

From: Administration LPG (administration@lpglaw.com)
Date: Wednesday, March 29, 2023 at 04:26 PM EDT



Dear Valued Client

I am writing on behalf of Litigation Practice Group to update you regarding the transition of your
account. We wanted to convey our sincere apologies for the erroneous transfer of your file to
Consumer Legal Group It was our intention to transfer your file to Phoenix Law PC for servicing,
but by mistake your file was sent to Consumer Legal Group. We have corrected this error and
your file has now been assigned to Phoenix Law PC A representative from Phoenix Law PC will
contact you to discuss your account and how they will assist you as you complete the process of
resolving your debt

If you have any questions or would like to speak with a representative now, please contact
Phoenix Law PC at 424-622-4044.

Sincerely,

Daniel S. March
Managing Shareholder, LPG




NOTICE Thi email me age (including any attachment ) may contain material that i confidential and/or legally
privileged. Unless you are the intended recipient or are authorized to receive information for the intended recipient,
you may not use, copy, or disclose any part of this message. If you have received this message in error, please notify
us and delete all copies of it. Thank you.




                                                    Exhibit "6"                                            0344
      Case
       Case8:23-bk-10571-SC
             8:23-ap-01046-SC Claim
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                                                                                          Page
                            Exhibit Exhibits 1 1- 12
                                                  of 3 Page 351 of 584

Notice of Transition of Legal Services

From: LPG Law (support@lpglaw.com)
To:     hunterhastings94@yahoo.com

Date: Wednesday, March 1, 2023 at 07:04 PM EST




           Hello Hunter!

           On behalf of the entire LPG team, I would like to extend my sincerest apologies
           for the poor customer service experience that you have recently experienced
           with our company. I understand that we have not met your expectations,
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           our customer service.

           Litigation Practice Group takes full responsibility for the inadequate service you
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           After careful consideration, I have decided to transfer your file in order to
           ensure that you receive the best legal services in the industry. Your legal
           services will be transferred to Consumer Legal Group ("CLG"), a law firm I
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           This law firm, which is larger and more experienced in the area of consumer
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           continue to provide a high level of service to you throughout your debt
           resolution process.

           Based on a negotiation I managed to complete, the terms of your agreement
           will remain the same, and you will not be required to pay anything more than
           what was agreed in your contract. All your payments have been credited, and
           your monthly payment will remain on the same day and in the same amount.
                                                 Exhibit "6"                                    0345
Case
 Case8:23-bk-10571-SC
       8:23-ap-01046-SC Claim
                         Doc -151-1Filed
                                    Part 5 07/13/23
                                               Filed 05/30/23
                                                       Entered 07/13/23
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     The length of your program and contract are also the same. To be clear, your
     payment, the length of your program, and the services that you are offered will
     remain exactly the same and comes with a guarantee that if your debts are not
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     you.

     This transfer will be completed today, on February 28, 2023, and a
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     Consumer Legal Group can be reached at 212-920-1247 or
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     the best of luck and success in completion of your journey to being debt free.

     Regards,

     Daniel S. March




     The Litigation Practice Group

     P.O. Box 513018
     Los Angeles, CA 90051-1018

     https://litigationpracticegroup.com




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       Call 949-229-6262 or Email support@lpglaw.com.




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       This email is intended for clients of the The Litigation Practice Group; also known as LPG. LPG is a
       debt resolution law firm, not a debt settlement company. We do not settle, consolidate, reduce, or
       pay your debts or offer any sort of loans or financing. Just a reminder that you are receiving this
       email because you are our client. This e-mail and any attachments are intended for the exclusive


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                                  LEGAL SERVICES AGREEMENT

Legal Services

The Litigation Practice Group PC (“LPG”) will provide debt validation services wherein it will assist
you in removing erroneous or inaccurate information appearing on one or more of your credit reports by
contesting debts appearing therein. This service is limited to information reported by creditors or
purported creditors to credit bureaus. The purpose of this program is to challenge the legal validity of
debts appearing on or being reported to credit bureaus. The cost of legal services rendered by LPG is set
forth below, and those fees are earned by LPG for services rendered to you as set forth herein at the time
such fees are paid.

Client Authorization

You authorize LPG to challenge, where applicable, any debts appearing in your credit report(s) that you
believe to be in any way invalid, inaccurate, or otherwise without a legal basis. You also authorize LPG
to obtain a copy of your credit report to assist in the process of analyzing your account and developing a
strategy regarding the invalidation of debts that are excessive or otherwise unauthorized by law. You
further authorize LPG, acting under power of attorney for you, to affix your signature to documents sent
on your behalf in relation to the matters addressed herein.

Description of Services to be Performed

LPG will obtain your credit reports, analyze them, and develop strategies for correcting invalid or
unlawful debts for which you should not be held legally responsible. Where appropriate, LPG will use
existing laws and interact with creditors and credit bureaus on your behalf to invalidate your debts and
remove such invalid debts from your credit reports. LPG will also interact with collection agencies, as
applicable, to invalidate your debts by requiring them to supply evidence of your indebtedness to them,
or any other legal mechanism. LPG will also consult with you regarding all aspects of the credit
reporting process, including all laws applicable to the same. LPG will also investigate your delinquent
accounts in order to determine the most effective method for invalidating your debts or otherwise
removing any legal liability for such debts, up to and including the initiation of lawsuits on your behalf
against your creditors and their third-party debt collectors.

In addition, if a lawsuit is filed against you, LPG will represent you in such a lawsuit and will not charge
any additional fees for such representation provided such a lawsuit was initiated after the date you sign
this Agreement. In the event a lawsuit was initiated against you before the date you execute this


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Agreement and you elect to have LPG represent you, an additional fee of $500.00 will be charged.
Where appropriate, if legal fees are recovered from an adverse party, LPG will retain such fees for its
services. You will be responsible to pay any damages resulting from any lawsuit. Any costs incurred in
a lawsuit will be paid by LPG out of the fees set forth below, including the fees of any attorney retained
on your behalf in a jurisdiction in which LPG is not admitted to practice law. No additional payment
from you to LPG will be necessary for the defense of any lawsuit filed against you after the date you
execute this Agreement. You will, however, be responsible to pay any damages resulting from such
lawsuits or any settlements reached in the course of such lawsuits.

Fees

You will pay the following fees for the legal services provided by LPG. No fee or other cost will be
charged or collected other than the following. This is the only amount you have to pay for LPG’s
services, and this fee is fixed, such that it is earned the moment it is transmitted to LPG. Upon request,
LPG will provide an update of the progress of services performed under this agreement at reasonable
intervals of no greater frequency than once a month.

Refund Policy

If an account is fully validated by a creditor, such that no further dispute to the validity of the account
could be made, you will receive a full refund of the fees that you paid towards the invalidation of that
account (i.e., you will be refunded the fees paid in proportion to the debt that was validated). Should
you have an outstanding balance with LPG at the time your refund is issued on the validated account,
any refund will first be applied towards the outstanding balance. A client can elect to move to a debt
settlement service on any validated account in lieu of obtaining a refund. If a client makes such an
election, fees will no longer be collected for such account and debt settlement services will be performed
for no additional fees.

Debt Settlement

If LPG is unable to invalidate any debt, you may elect to have LPG negotiate a settlement on your behalf
with the concerned creditor without any additional fees being charged to or incurred by you for such
service. Any settlement reached with any such creditor shall be your responsibility. At the point that
you reach a settlement with such creditor, your payment to LPG will be reduced and re-amortized to
adjust for the settled account being removed from the representation herein contemplated. Please see the
refund policy above for more details.

Actions Required of You

You agree to provide LPG with any and all correspondence you receive from any creditor, credit bureau,
attorney, or court of law. You further agree to keep a log of all communications, including telephonic
and electronic communications, from any creditor or credit reporting agency.

Right to Conduct Business Electronically and Contact You

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                                        Client Information

Name: Hunter Hastings

Address: 26847 Ellis Mill Rd, , Seaford DE 19973



Home Phone: 302-339-5462

Cell Phone:

Email: hunterhastings94@yahoo.com

Las 4 SSN: XXX-XX-8567

                                      Co-Client Information

Name:

Address: , ,



Home Phone:

Cell Phone:

Email:

Last 4 SSN:




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Printed Name:     Hunter Hastings




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 Fill in this information to identify the case:
                                                                                                                                 FILED
 Debtor 1 The Litigation Practice Group P C                                                                              U.S. Bankruptcy Court
                                                                                                                       Central District of California
 Debtor 2
 (Spouse, if filing)                                                                                                             5/30/2023
 United States Bankruptcy Court           Central District of California                                              Kathleen J. Campbell, Clerk
 Case number: 23−10571


Official Form 410
Proof of Claim                                                                                                                                          04/22

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


Part 1: Identify the Claim
1.Who is the current            Debra M Archambault
  creditor?
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor


2.Has this claim been                    No
  acquired from                          Yes. From whom?
  someone else?
3.Where should notices            Where should notices to the creditor be sent?                  Where should payments to the creditor be sent? (if
  and payments to the                                                                            different)
  creditor be sent?               Debra M Archambault

  Federal Rule of                 Name                                                           Name
  Bankruptcy Procedure
  (FRBP) 2002(g)                  5 Carlann Lane
                                  Valley Cottage, NY 10989



                                  Contact phone              845−499−5081                        Contact phone

                                  Contact email                                                  Contact email
                                      darchambault66@gmail.com

                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):



4.Does this claim amend                  No
  one already filed?                     Yes. Claim number on court claims registry (if known)                       Filed on

                                                                                                                                 MM / DD / YYYY
5.Do you know if anyone                  No
  else has filed a proof                 Yes. Who made the earlier filing?
  of claim for this claim?
Official Form 410                                                      Proof of Claim                                                  page 1




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Part 2: Give Information About the Claim as of the Date the Case Was Filed of 584
6.Do you have any                  No
  number you use to                Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:
  identify the debtor?


7.How much is the             $      10295.00                       Does this amount include interest or other charges?
  claim?                                                              No
                                                                      Yes. Attach statement itemizing interest, fees, expenses, or
                                                                      other charges required by Bankruptcy Rule 3001(c)(2)(A).
8.What is the basis of        Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
  the claim?                  death, or credit card. Attach redacted copies of any documents supporting the claim required by
                              Bankruptcy Rule 3001(c).
                              Limit disclosing information that is entitled to privacy, such as healthcare information.
                              Paid for debt solutions , never rendered according to contract with LPG/Theft
                              of personal funds.


9. Is all or part of the          No
   claim secured?                 Yes. The claim is secured by a lien on property.
                                   Nature of property:
                                       Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                      Proof of Claim Attachment (Official Form 410−A) with this Proof of Claim.
                                       Motor vehicle
                                       Other. Describe:


                                    Basis for perfection:

                                    Attach redacted copies of documents, if any, that show evidence of perfection of a security
                                    interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                    document that shows the lien has been filed or recorded.)

                                    Value of property:                        $

                                    Amount of the claim that is               $
                                    secured:
                                    Amount of the claim that is               $                                    (The sum of the secured and
                                    unsecured:                                                                     unsecured amounts should
                                                                                                                   match the amount in line 7.)


                                    Amount necessary to cure any default as of the                     $
                                    date of the petition:

                                    Annual Interest Rate (when case was filed)                                     %
                                          Fixed
                                          Variable
10.Is this claim based on           No
   a lease?                         Yes. Amount necessary to cure any default as of the date of the petition.$


11.Is this claim subject to        No
   a right of setoff?              Yes. Identify the property:




Official Form 410                                                Proof of Claim                                                page 2




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12.Is all or part of the claim            No
    entitled to priority under                                                                                                 Amount entitled to priority
    11 U.S.C. § 507(a)?                   Yes. Check all that apply:
    A claim may be partly                   Domestic support obligations (including alimony and child support) $
    priority and partly                     under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,
    in some categories, the                 Up to $3,350 * of deposits toward purchase, lease, or rental of                    $
    law limits the amount                   property or services for personal, family, or household use. 11
    entitled to priority.                   U.S.C. § 507(a)(7).
                                            Wages, salaries, or commissions (up to $15,150 *) earned within                    $
                                            180 days before the bankruptcy petition is filed or the debtor's
                                            business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                            Taxes or penalties owed to governmental units. 11 U.S.C. §                         $
                                            507(a)(8).
                                            Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                            Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies                    $

                                         * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date
                                         of adjustment.

Part 3: Sign Below
 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date it. FRBP                  I am the creditor.
 9011(b).
                                         I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP                    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts
 to establish local rules                I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 specifying what a signature     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
 is.                             the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fraudulent claim could be       and correct.
 fined up to $500,000,
 imprisoned for up to 5          I declare under penalty of perjury that the foregoing is true and correct.
 years, or both.
 18 U.S.C. §§ 152, 157 and
 3571.                           Executed on date                5/30/2023

                                                                 MM / DD / YYYY


                                 /s/ Debra M Archambault

                                 Signature

                                 Print the name of the person who is completing and signing this claim:
                                 Name                                        Debra M Archambault

                                                                             First name      Middle name         Last name
                                 Title

                                 Company

                                                                             Identify the corporate servicer as the company if the authorized agent is a
                                                                             servicer
                                 Address                                     5 Carlann Lane

                                                                             Number Street
                                                                             Valley Cottage, NY 10989

                                                                             City State ZIP Code
                                 Contact phone             845−499−5081                         Email         darchambault66@gmail.com


Official Form 410                                                      Proof of Claim                                                    page 3




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                                Exhibit "8"                             0383
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                                Exhibit "8"                             0384
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "8"                             0385
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                                Exhibit "8"                             0386
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                                Exhibit "8"                             0387
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                                Exhibit "8"                             0388
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                                Exhibit "8"                             0389
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                                Exhibit "8"                             0390
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                                Exhibit "8"                             0391
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                                Exhibit "8"                             0392
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                                Exhibit "8"                             0393
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                                Exhibit "8"                             0394
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                                Exhibit "8"                             0395
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                                Exhibit "8"                             0396
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                                Exhibit "8"                             0397
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                                Exhibit "8"                             0398
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                                Exhibit "8"                             0399
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                                Exhibit "8"                             0400
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                                Exhibit "8"                             0401
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                                Exhibit "8"                             0402
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                                Exhibit "8"                             0403
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                                Exhibit "8"                             0404
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                                Exhibit "8"                             0405
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                                Exhibit "8"                             0406
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "8"                             0407
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                                Exhibit "8"                             0408
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                                Exhibit "8"                             0409
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                                Exhibit "8"                             0410
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                                Exhibit "8"                             0411
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                                Exhibit "8"                             0412
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                                Exhibit "8"                             0413
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                                Exhibit "8"                             0414
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                                Exhibit "8"                             0415
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                                Exhibit "8"                             0416
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                                Exhibit "8"                             0417
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                                Exhibit "8"                             0418
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                                Exhibit "8"                             0419
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                                Exhibit "8"                             0420
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                                Exhibit "8"                             0421
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                                Exhibit "8"                             0422
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                                Exhibit "8"                             0423
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                                Exhibit "8"                             0424
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                                Exhibit "8"                             0425
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                                Exhibit "8"                             0426
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                                Exhibit "8"                             0427
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                                Exhibit "8"                             0428
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                                Exhibit "8"                             0429
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                                Exhibit "8"                             0430
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                                Exhibit "8"                             0431
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "8"                             0432
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "8"                             0433
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                                Exhibit "8"                             0434
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                                Exhibit "8"                             0435
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                                Exhibit "8"                             0436
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                                Exhibit "8"                             0437
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                                Exhibit "8"                             0438
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                                Exhibit "8"                             0439
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                                             06/21/23 Entered
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                                      Exhibit "8"                                0440
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                                Exhibit "9"                             0441
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                                Exhibit "9"                             0442
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                                Exhibit "9"                             0443
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                                Exhibit "9"                             0444
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                                Exhibit "9"                             0445
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                                Exhibit "9"                             0446
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0447
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0448
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0449
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0450
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0451
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                                Exhibit "9"                             0452
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                                Exhibit "9"                             0453
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                                Exhibit "9"                             0454
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0455
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0456
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0457
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0458
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0459
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                                Exhibit "9"                             0460
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0461
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                                Exhibit "9"                             0462
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0463
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                                Exhibit "9"                             0464
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                                Exhibit "9"                             0465
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                                Exhibit "9"                             0466
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0467
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                                Exhibit "9"                             0468
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0469
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                                Exhibit "9"                             0470
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                                Exhibit "9"                             0471
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                                Exhibit "9"                             0472
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0473
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0474
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0475
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0476
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0477
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                                Exhibit "9"                             0478
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0479
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                                Exhibit "9"                             0480
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                                Exhibit "9"                             0481
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                                Exhibit "9"                             0482
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                                Exhibit "9"                             0483
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                                Exhibit "9"                             0484
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                                Exhibit "9"                             0485
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                                Exhibit "9"                             0486
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                                Exhibit "9"                             0487
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0488
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                                Exhibit "9"                             0489
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0490
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                                Exhibit "9"                             0491
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                                Exhibit "9"                             0492
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0493
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                                Exhibit "9"                             0494
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0495
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0496
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0497
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                                Exhibit "9"                             0498
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                                Exhibit "9"                             0499
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                                Exhibit "9"                             0500
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0501
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48   Desc
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                                Exhibit "9"                             0502
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                                Exhibit "9"                             0503
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                                Exhibit "9"                             0504
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                                Exhibit "9"                             0505
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                                Exhibit "9"                             0506
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                                Exhibit "9"                             0507
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                                Exhibit "9"                             0508
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                                Exhibit "9"                             0509
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                                Exhibit "9"                             0510
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                                Exhibit "9"                             0511
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                                Exhibit "9"                             0512
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                                Exhibit "9"                             0513
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                                Exhibit "9"                             0514
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                                Exhibit "9"                             0515
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                                Exhibit "9"                             0516
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                                Exhibit "9"                             0517
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                                Exhibit "9"                             0518
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                      Exhibit “10”
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                                   Litigation Practice Group Script



Hello [CLIENT NAME], This is [YOUR FIRST NAME] at [Affiliate Name]. You were chatting
with [Rep Name] and I’m calling for your appointment. The notes here say you owe about BLANK.
Is that about, right? Great so I’m going to ask you a few questions and we’ll go over some options to
see what we can do to help. So…

   x   What type of debt are you dealing with? We can include credit cards, store cards, personal
       loans, medical bills, collection accounts, repossession.
   x   And what state are you in?
   x   Alright and tell me a bit about what happened to create this situation?
   x   Do you have a co-signer on any of this?
   x   Are you married? (If yes try to get husband/wife on phone) And this ($$ DEBT AMOUNT)
       that you have – about how much are you paying per month on that? Is that affordable to you?
   x   How long have you had this debt? How long have you been paying $$$ for?
   x   Have you missed any payments? IF YES – Has anybody shown up at your door to serve you a
       summons or try to take you to court?
   x   Any idea what your interest rates are - approximately?
   x   How’s your credit? When are your next payments due? CALCULATE HOW MUCH CLIENT
       PAID ON THIS DEBT OVER TIME: # Months Paid x Avg Payment = $$
   x   So, you have paid $$ so far on this debt – have you seen the balances go down much - Have
       you made any progress?!
   x   So, after you pay your bills, every month are you putting any money in the bank? Wow, so is
       all your disposable income going towards keeping up on this interest? Do you have savings?
   x   Are you living paycheck to paycheck because that’s what we need to know to help you?
   x   When are you hoping to retire/how old are you? Are you still using these cards?

When you can’t pay off your balances you spend 25-30% extra on everything. Now when you buy
$100 worth of groceries, you’re paying $300 over 5 years. In the pay forever plan you pay endless
interest to maintain and protect your credit to try to avoid collections. It’s throwing money into thin
air. It sounds like you could really use a lower payment. It would be great for you to pay cash for
everything - maybe start an emergency fund.

Americans have been brainwashed to believe that being able to borrow money is important but
somehow everybody forgot the lesson about making smart financial decisions and building savings
and wealth. Most people have almost no savings but tons of debt. It’s a broken system and the problem
is miseducation. We were told that building good credit was important but that’s how everybody gets
into this debt cycle. Nobody learned that what’s more important is saving money and building wealth.
Most people I talk to make good money but are drowning in debt. Sadly, the credit card companies
love you. You’re their best type of customer who is sacrificing financial security just to keep up on
interest payments and protect your credit score. Credit scores can always be repaired, but you never
get back the interest you have paid just by trying to manage and stay afloat.




                                           Exhibit "10"                                          0519
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The lack of an emergency fund is the number one reason people struggle to get out of debt. Without
having savings to address the other unexpected expenses that always come up, your only option is to
use credit cards to weather these storms, which ruins any progress you've made. These interest rates
are criminal. Many of these card companies – big names like bank of America and Citi – they’ve been
sued for millions about their lending practices.


         *RECAP* Time to go over what they have told you - Recap how they got here and what the
         future looks like if they go down this road - how much longer they will likely pay this on this
                                        path – and just where they stand.



RECAP: How much they currently **OWE**

RECAP: How much monthly:

RECAP: How much Yearly:

RECAP: Total Paid so far:

RECAP: If they have made any progress:

RECAP: How much longer they will pay and how much END WITH: “It sounds like you are in a
debt cycle.”

                   Last Question: So, what made you want to take care of this now?



PROGRAM SECTION:


It sounds like that plan isn’t working so let’s see if we can get you some help. About 90% of people
with debt make minimum payments so you’re not alone. It’s a pay forever plan where all you do is
pay interest and penalties, and it can take 17-20 years of making minimum payments to get out of this
situation. Have you looked at the payoff dates on your statements? Refer to Hooked on Interest
Chart

Everybody at some point runs into financial difficulty but if you’re hoping for a fresh start we can
help. I’ll go over all your options for dealing with debt, but from what you’ve told me I already know
what you should qualify for. Have you talked to anybody about different programs, or should I go over
everything? So, some people do Credit Counseling, or Debt Management. With Credit Counseling you
make one payment to all your creditors and pay back 100% of the debt plus interest. You pay back
your debt in full plus several years of interest so realistically unless your credit is perfect like 740, a
debt management program is still 6-10 years to get out of debt.


                                           Do you own your home?



                                             Exhibit "10"                                                  0520
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IF YES: A lot of our clients first consider Home Equity Loans or Refinancing their houses, draining
their 401k’s. It’s just not a smart financial decision. Any financial advisor will tell you should NEVER
secure unsecured debt. If you own your home, you should never consider putting your best asset at risk
- And using your tax deferred retirement savings in your 401k to pay unsecured debt puts your future
financial security at risk. I want to help you move forward financially not backwards.

   x   Consolidation Loans: They’re simply dangerous – everybody thinks “I’m just going to get a
       loan to pay off my debt and get one payment,” but these loans are worse than having multiple
       payments. They have double digit interest rates often higher than your cards. The idea of
       having one payment sounds great to everyone, but the reality is you can pay far more in
       interest with the way they calculate the APR, and once you can’t keep up with that giant
       payment once a month it can be devastating. Unless you can afford a much higher payment
       than what you pay now monthly you should avoid them at all costs. They can be scary. Plus
       you’re just taking debt from your left hand and putting it in your right. You’re not really
       resolving the debt.
   x   Debt Settlement: You pay about 80% of what you owe. Have you talked to any debt
       settlement companies? Thankfully, you shouldn’t need to do debt settlement. It can get ugly
       because despite what debt settlement companies tell you- all of your accounts go to collections
       and sit there for years destroying your credit until you’ve saved up the money to settle. When
       you finally get a settlement with the collection agency you save a bit of money, but you are not
       paying off your debt for less, like they want you to believe. Instead, they’re settling with a 3rd
       party collection agency, so it destroys your credit for 4-6 years and leads to owing the IRS and
       having a giant tax bill. I wouldn’t recommend it. Some people do debt settlement thinking that
       they’re paying their bills but just for less money but that’s not the case – that’s what debt
       settlement companies want you to believe to make the program sound better, but we enroll for
       all programs including debt settlement, so we have to tell you how it really works.
   x   Bankruptcy: I don’t even want to go there with you or to that extreme. Bankruptcy is
       expensive. and stays on your Public Record forever. In addition, the time to rehabilitating your
       credit can be twice to three times as long with bankruptcy as compared to other solutions. But
       from what you’ve told me you should qualify for a debt resolution program.

Are you familiar with debt resolution? In a Debt Resolution program, you pay less than half of what
you owe, with ZERO interest, and won’t end up owing the IRS. It’s the most affordable way to fix
this debt problem and the quickest way to get you a fresh start if you qualify. But what I’ll do is pull
up your information, figure out which of your accounts are eligible, and see if we can get you an
approval – sound good?


                                    *********PULL CREDIT**********



Okay [Client Name], what’s your address, your date of birth, and your social. Alright give me a
moment and I’m going to pull up your credit report so we can go through each line item…

1. GET CREDIT REPORT - Okay [Client Name], your report just popped up. Let’s go through this
line by line and then we’ll put in for approval.

                                           Exhibit "10"                                          0521
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2. PAYMENTS – Ask them when their payments are due – “Let’s get you started before you waste
anymore payments towards interest. Find out how much they paid on each debt -when they last paid –
and WRITE INFORMATION IN VANILLASOFT.

3. Tell them you’re putting everything in for approval: Alright so I'm able to include a total of
[REFRESH CALCULATOR ON RIGHT] in debt and a total of [Number of Accounts] accounts
and I'm putting this in for an approval now. Bear with me…


                            REITERATE THEIR SITUATION AND WHY THIS WILL HELP



After going over your credit report it’s clear to me why this debt is preventing you from getting ahead.
Like so many people who call us you’re using high interest credit cards as part of your budget which
prevents you from having money in the bank. Unfortunately, you got used to being in debt, where
every $30-dollar purchase costs you $100 over 3 years because you pay interest on it. When is your
next payment due again? (Wait for answer)

Credit scores can always be repaired, but you will never get back the money spent on interest just
trying to stay afloat. You've paid over (INSERT AMOUNT) over last (# of YEARS) mostly towards
interest and you’ve made no progress. If you continue this plan what’s going to change? You're
looking at 15 plus years until you pay off this debt. We can get you some help and a fresh start. I want
to help you have money again and use a debit card instead of high interest credit cards that put you in
this situation. Right now, the payments you’re making to maintain this debt are directly preventing you
from being able to put money in the bank and save for the future. When something does come up that
you’re not expecting, you get behind again because you’re paying interest instead of building an
emergency fund. Do you see how you are in a debt cycle? When was the last time you had money in
your bank that wasn't going towards upcoming bills?


          4. QUOTE THE CLIENT: Determine payment that works. Aim for the highest payment you
          believe they can afford - If the client cannot do it extend and extend again. (If they ask for
                    something lower than the 3rd payment, quote them out at 36 months).



Alright, so just bear with me a moment, I’m trying to move some numbers around to see the best
possible deal I can get you but most importantly make it, so you succeed in this program.

CLOSE 1: Good News, I can get you on an “#” month program with a first payment of “$$$” and
then “$$$” per month for “#” months. You’re going to save “x” every month and “x” in
principal right off the bat, plus you pay zero interest instead of all that interest you’re paying
every year that has kept you in the debt cycle.

CAN YOU AFFORD “$$$$” PER MONTH TO FIX YOUR DEBT PROBLEM??

If YES – Continue & Run! Alright, let me walk you through the process so you understand how this
works. We are enrolling you with Litigation Practice Group, who are experienced debt resolution


                                             Exhibit "10"                                                  0522
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attorneys. They will resolve your debt problem. For our clients, they have chosen to stop making
their payments to their current creditors. Although it will affect your credit while you are in the
program, many of our clients that graduate the program and are back to good credit standing. Most
clients are not too concerned about the short-term effect on credit if they know they can be out of debt
and back to normal credit standing on average within 3 years.

Once you are enrolled in LPG’sUHVROXWLRQ program, the attorneys send out a dispute package to each
creditor and/or collection agency demanding that they provide the correct documentation and proof of
their right to collect from you pursuant to state and federal law. If the creditors and collection agencies
are unable to provide accurate documentation, which we find is often the case, the debt is classified as
invalid and unable to be collected upon. Typically, if you don’t pay a creditor for about 3-5 months,
they sell your debt to a collection agency for pennies. In addition to that, they’ve already made their
money back on the interest you’ve been paying AND they get a tax write-off. Now when those
original creditors sell your debt to a collection agency, again they sell it for pennies on the dollar
without the legal right to collect which is the paperwork you signed with your ORIGINAL creditor.
But, if you remember, you most likely applied online with no real signature or application or
paperwork. That’s where the issues start. You were never properly qualified for these accounts
and in direct conflict with all the lending laws put into place to protect you.

These creditors have your private information on them and are legally protected by the consumer
protection laws and privacy rights put in place by congress. Under the “Fair Debt Collections Practices
Act” any debt collector has to prove their legal right to collect money from you, but it's only when you
make them prove it, that is where the attorneys at LPG come in to help you. A lot of people don’t
understand the way the laws and legal process so, let’s put it in English for you, we’re going to use
your (highest debt on credit report) for example. If you stop paying on your (debt) for 3-5 months
while LPG demands they validate the account, they are going to sell your debt to a collection agency,
everybody knows that part.

Now here is what 99% of people don’t know, when (debt) sells your debt to, let’s say ABC collection
agency, they are going to sell it for pennies on the dollar. When (debt) sells your debt to Bob, you no
longer owe (debt) ANYTHING, you owe ABC collection agency. (debt) has made their money back in
interest alone that covers them for the debt, they are also going to get a tax write off. These credit card
companies never lose a penny on anyone, they always get their money back. When (debt) sells your
debt it is illegal for (debt) to give ABC collection agency the original paperwork you signed with
(debt) because it has your private information on it, like your social, date of birth, and your street
address. Once that debt is sold to ABC collection agency, these Attorneys with LPG are ALL over
ABC, demanding to see that paperwork. When ABC cannot produce that paperwork, that debt
becomes invalid. What that means to you is, you no longer owe ABC collection agency anything and
remember (debt) they have already sold off your debt and been paid so you’re not obligated to pay
either of them anything. The attorneys will send you a letter in the mail as proof that you no longer
owe this debt to anyone This process continues for all your accounts until they are all resolved.
You are also represented through the statute of limitations, meaning if the debt comes back,
LPG resolves it again and again until it’s completely gone.




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                                   Refer to FDCPA doc for explanation.



                                    Does that make MORE sense?

                                   “Address any doubt that comes.”

                              Did you understand my explanation better?

LPG’s team has worked in business law since 1982 in both state and federal courts. That’s a huge
advantage for our clients when it comes to invalidating debt as they know how the big creditors work.
They utilize all the consumer protection and lending laws such as the FDCPA, FCRA, FCBA, the
credit card act of 2009, the Truth in Lending Act and predatory lending laws. Many people ask
what happens if the debt is not invalidated. Although rare, it does happen. LPG guarantees its services
so if the debt is not invalidated, then your worst-case scenario is that they swap to debt settlement. If
for some reason a debt came back valid then any money that was spent towards the validation process
on that debt would be refunded back and reallocated towards settlement fees. In that case the LPG
attorneys would help settle the debt for you with that creditor. Even if an account gets a summons, you
will have an attorney representing you with no additional fees, giving you the ability to break your
debt cycle with confidence because you have an attorney by your side seeing the process through to
completion. But most importantly with LPG, paying back your debt doesn’t become a life sentence.
Do you see how that will help you finally break this debt cycle? I know it was a long explanation – do
you have any questions for me?

Alright so again I want to make it clear that the payments you're making are not going towards your
debt - because that would be debt settlement- but instead they're going to pay LPG - those are their
retainer - to UHVROYH these accounts and KHOS your FUHGLWZRUWKLQHVV which is why this program is half
the cost of a straight debt settlement program. So, in order to help you solve this debt problem in under
two years I broke the retainer into manageable payments so you can affordably get through this
program, hopefully get some payment relief, and maybe even start an emergency fund. And of course,
the most important goal I had is to help you finally get your financial life back in order by eliminating
this debt and all the interest so you can start saving money again.

Close 2: Okay, so ($$$) per month for (# of months) and you’re out from under it. Our job is to
make sure you succeed in this program. Is $$$ per month going to be manageable for you to get
by without having to put money back on your credit cards each month so we can fix this debt
problem for good, JHW\RXEDFNWRDJRRGFUHGLWVWDQGLQJ, and get you a fresh start?

PRE-Docs Showing Future: Okay, you and I need to do some paperwork and then I’ll send
everything for e-sign, and I'm going to schedule you for a Welcome Call. Litigation Practice
Group customer service will reach out to you a bunch in the first few months of the program for
updates and progress reports so what’s the best time of day to reach you? And the best number?

SET PAYMENT: Can we process your first payment BLANK (think about when they said their
payments are due – maybe go 7 days out?) so we can get started? (If nothing else ask when next
pay day is). And is the BLANK (keep same day if possible) of the month good for you. So, you’ll
have your first payment on (DATE) and then monthly on every (DAY) of the month.

                                          Exhibit "10"                                         0524
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BANKING: Alright and do you want to use a checking or savings account for the payments? Is that
in your name? Let’s start with the routing number first please – and the account?


                   Docs. This is simply getting the client’s info necessary to generate docs.



Ok. Now I’m going to send you everything for Clixsign – have you done an Clixsign before? Okay,
I’ll walk you through each page and make sure you understand everything and that all your
information is correct.


                        *************SEND ESIGN – GO OVER IT***************



You are looking for an email from Debt Pay Pro. Once you click on it you will see a link that will take
you to the document. When the window opens the first thing you will see is a box asking you to create
a signature and an initial that will be displayed where it’s required. Now you should see the agreement
with the Litigation Practice Group at the top of the page. We are going to go through the documents
together, it’s very simple, but at any time if you have any questions, please stop me so we can address
them as they come.

Legal Services: The first section describes the legal debt services program you are enrolling in. You
are hiring attorneys to assist you with invalidating your debt

Client Authorization: This allows LPG to speak on your behalf to the different entities that are
required to perform these services. That would include: Your creditors, collection agencies, and the 3
credit reporting agencies.

Description of services to be performed: This is the program services provided by LPG. LPG will
review and analyze your credit report to develop a strategy to invalidate your debts. LPG will utilize
all consumer protection laws to achieve your goal of resolving these debts Once LPG has proven that
the 3rd party entities do not have the legal right to collect, the debt has been invalidated and no further
attempts to collect can be made by anyone. The second paragraph covers any action taken should you
receive a summons on any of your accounts. At no additional fee, LPG will represent you in
negotiating a settlement for this account. If any of your accounts have already issued you a summons
prior to signing this agreement, a fee of $500.00 will be charged to represent you. You are not
currently being sued on any of these accounts, right? (NO) good, so that fee does not apply to you.

Fees: This section is to confirm there are no additional, or hidden fees. The monthly payment and term
show further down on this agreement is the amount you pay for these services.

Refund Policy: If any of your enrolled accounts are fully validated by the creditor during the process,
you are entitled to a refund of the fees paid towards that account. You have the option to transition that
account towards a settlement and any refund owed can be put towards that process.




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Debt Settlement: Any validated account that you choose to transition to settlement is removed from
your program cost and your payments are adjusted to reflect a lower total debt amount. There are no
additional fees for settling the account however you would be responsible for paying the settlement to
the creditor.

Actions Required of you: You only have one role in this entire process. Send in any and all
correspondence from the creditors or collection agencies. That includes emails and phone calls as well.

Right to Conduct Business and to contact you: This allows LPG to contact you via, Phone, Email,
and Text while you are in the program as well as send all documentation electronically on your behalf.

Client Acknowledgment: This is your acknowledgement that you are making the decision to stop
payments to the creditors voluntarily, that if you are unable to maintain your monthly payments your
program may be terminated, there is no guarantee that the accounts will be invalidated and that you are
responsible for sending LPG all creditor communication.

              **** CLIENT SIGNATURE: CLICK/TAP TO PLACE SIGNATURE****

Creditor Information: This is the list of accounts LPG will be assisting you with.

Client Information: This is your personal information. Please review this and make sure all
information is correct.

Schedule of Payments: This is a schedule of your monthly payments and the dates they will be
drafted. If any payment falls on a weekend of holiday, it will never come out early, it will always be
the next business day. There is a place to initial at the top, this initial is stating you agree to these
payments only.

                 **** CLIENT INITAL: CLICK/TAP TO PLACE SIGNATURE****

Electronic Payment Authorization: This is your banking information you provided to me. There is a
place to Initial and sign to authorize them to debit your account for services rendered. That is the
agreement, any questions? (no) Okay let’s go back and sign it. If you go back up to client
acknowledgments near the top, you will see your first signature. Should be a red tab you can click on.
Click that, and it should take you to the next one. There are 4 total. Once you have hit them all a box
will appear allowing you to complete the signing. You will click Complete signing and we are done.

              **** CLIENT SIGNATURE: CLICK/TAP TO PLACE SIGNATURE****

Okay so I want to go over the process: So, I’m going to make sure you get a Welcome Call from LPG
within the next two days or so. You’ll receive the Welcome Email, and they’ll do a short education
and introduction as well to make sure I have covered everything and explained the process correctly.
Before I let you go, please remember, the first 12-24 months of the program are the most difficult.
Also, because you have looked into debt relief, you will probably be getting calls from other
companies offering you, their services. Remember, we are an enrollment agency, we offer every debt
program there is. Based on your goals we went this route as it provides the most savings with the
fastest results to reach them. Please save my number, if you have any questions or concerns along the
way, I am still here for you. Last thing, [account manager] our accounts manager will be reaching out
to you. Their job is to check in on you, and help you navigate through the next steps of the process.

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She/He is a great asset for you to make sure your file is always moving forward. She/He willcall from
a 949 number. Sounds good?




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                                   Educational Outreach Script



Page 1

Hello, I am trying to reach {FIRSTNAME}?

Hi {FIRSTNAME}. My name is {SYSTEMUSER_FIRSTNAME} and I’m calling from The
Litigation Practice Group on a recorded line. We are going to handle the Debt Resolution
Program that you recently enrolled in with {ASSIGNED_TO}.

I am calling to welcome you to our program and to discuss your account in detail and how our
program will benefit you. I also want to let you know that if you haven’t received our welcome
package in the mail yet, you will shortly. For security purposes could you please verify the last
four digits of your Social Security Number and your date of birth (also acceptable is the address
and phone number).

SSN: {SSN}

Date of Birth: {DOB}

First, thank you for choosing The Litigation Practice Group to help you with your financial
situation. The program you enrolled in is the most effective debt resolution program in the
marketplace today because it is designed and operated by attorneys licensed to practice law. At
The Litigation Practice Group, our goal is to not only help you clear your debt, but also to
help get you back to a normal credit standing. Although you went over our process in detail
with {ASSIGNED_TO}, it is very important to us that you have any additional questions
answered as we begin the process.




                                          Exhibit "10"                                       0528
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Page 2

First, we will immediately give notice to your creditors that you are represented by counsel
and that all communication should be directed to your attorneys. This will ensure that your
creditors or any related debt collectors immediately cease communication with you. If
throughout the process of resolving your debts, your creditors continue to harass or intimidate
you regarding any of your accounts enrolled, we will review that communication for violations
of your rights and immediately file suit against the creditor on your behalf.

During this initial part of the program, your credit report will undergo an audit and any incorrect
or negative items impacting your credit report will be evaluated. For this to be corrected, we will
be contacting the credit bureaus to challenge the erroneous information. The initial dispute letters
to the credit bureaus and letters or representation to your creditors have been prepared for you
and have already been sent out. Please remember that the timeframe for the credit bureaus to
investigate and respond is 45-60 days. You should receive any responses in the mail. They will
come in a plain white envelope. Please make sure you send those to LPG or upload them in your
client portal.




                                          Exhibit "10"                                         0529
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Page 3

Now please keep in mind that the first few months are the most difficult phase in the
program. You will most likely start receiving collection calls from the creditors. This is
normal. We encourage you to answer these calls and tell the caller that you have hired LPG
to represent you for this account and that we are exploring all options including
bankruptcy and then politely hang up. That will let them know to contact us and help slow
the calls.



Any questions so far?




                                      Exhibit "10"                                   0530
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Page 4

To be clear, you have hired us as your law firm and the fees that you pay are for our
representation of you. As a result, we work for you and will do everything in our power to
assist you and give meaning to the rights that you have under federal law.

A few more things before I let you go; throughout this process you have an attorney assisting
you and you have the right to speak with an attorney to address any and all questions you have
regarding the debts you have hired us to help you resolve. If at any time you want to speak with
an attorney, call us and schedule a time, and one of our attorneys will contact you to discuss
whatever issue you wish to address regarding your accounts.




                                         Exhibit "10"                                       0531
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The Welcome Package has all of this information and more details regarding the program. Please
take the time to thoroughly read that welcome package because it gives a lot of great information
on the process and what your role is in this program.

Before we end the call, do you have any questions or clarification?

It has been such a pleasure speaking with you today {FIRSTNAME}, I appreciate your time and
your patience. Again, we want to welcome you and we look forward to working with you and
assisting you with your program. I hope you have a great day!

Thank you again for trusting us to serve as your attorneys, and do not hesitate to reach out to us
if there is anything that we can do to assist you throughout this process.

Before we hang up, I do need read the following disclosure to you:

LPG is a law firm and not a settlement or consolidation company. We do not pay your
creditors wit the funds that you pay. Rather those funds go directly to attorney’s fees to
resolve your debts.

I would like to confirm that you have been speaking with (YOUR NAME).

Thank you for your time and we look forward to working with you. Have a great day!




                                          Exhibit "10"                                        0532
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Litigation Practice Group
Case #:         2777

 Consumer                                             Business        Litigation Practice Group
 Info:                                                Info:           17542 17th St Ste 100
                                                                      Tustin, CA 92780
                                                                      9497150648




Date Filed: 8/18/2022 2:15:59 AM

Nature of the Complaint: Repair Issues
Consumer’s Original Complaint:
I signed up for the debt resolution program with the Litigation Practice group in 2020. I was given a total
amount need to resolve my agreed debts which I paid in full over the agreed 15 month period. When I
received a summons for a judgement being Dwight against me by one of my creditors I sent this
information to the group who assigned Legal council. I sent the asked information to this council but
they never filled a response or any action on my behalf as was in the agreement terms of my program.
Now there is a default judgment against me with a greater debt then I started with. I am infuriated that
despite numerous calls I still have not be given the support I was told I would have and am now facing
consequences that could have been avoided had I been informed no action would be taken. Seeking
help to have either my money returned to me or my agreed upon contact full filled .
Consumer’s Desired Resolution:
Refund or compliance to agreed services


Complaint Messages
 08/24/2022 - Madlin Batoon
 Respond to Complaint
 We have been in contact with the client's assigned legal counsel and we are working diligently to
 resolve all her concerns. Our VP of legal compliance will also reached out to client this week to
 provide further resolution.




                                              Exhibit "11"                                            0533
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48                              Desc
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Litigation Practice Group
Case #:         5323

 Consumer                                            Business        Litigation Practice Group
 Info:                                               Info:           PO Box 513018
                                                                     Los Angeles, CA 90051
                                                                     9497150648




Date Filed: 11/10/2022 11:59:31 AM

Nature of the Complaint: Repair Issues
Consumer’s Original Complaint:
Litigation Practice Group originally represented to me that they would "invalidate my debts" and if I paid
them instead of my creditors, my debts would be resolved through their process. Only later did I realize
all they really did was dispute the debt through the credit bureaus. They didn't actually pay any of my
creditors although I did pay LPG every month. All my debts still remain. They collected almost $4,000
from me and didn't resolve any of my debts. Further they were supposedly representing me legally for
these debts. A creditor sued me and LPG said they would be hiring local counsel to represent me at the
hearing and I didn't need to appear. As the court date got closer, LPG stopped returning my calls. A
receptionist would answer the phone and always say no one was available and they would call me back
but never did. The court date came and luckily I appeared. The judge said if I had not appeared a
judgment would be taken against me and LPG was essentially a scam. I am now working with this
creditor directly myself to resolve the pending lawsuit.
Consumer’s Desired Resolution:
Refund


Complaint Messages
 11/15/2022 - Madlin Batoon
 Respond to Complaint

 It is unfortunate that the customer is dissatisfied with our services, because we performed as
 contracted

 A personalized program was developed and agreed upon with the customer, based on the customers
 debt load and her ability to save. That program was to last an estimated twenty four months. She
 has completed fifteen. The customers settlement aggregate surpasses our target. The customer was
 fully educated about our the length of the program during the enrollment process and her signed
 enrollment documents signify that she both understood and agreed to that. The customer was also
 educated about the effects of participation in our program.




                                             Exhibit "11"                                           0534
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Litigation Practice Group
Case #:         0542

 Consumer                                           Business        Litigation Practice Group
 Info:                                              Info:           17542 17th St Ste 100
                                                                    Tustin, CA 92780
                                                                    9497150648




Date Filed: 2/24/2023 9:11:08 AM

Nature of the Complaint: Refund / Exchange Issues
Consumer’s Original Complaint:
LPG has destroyed me financially. I enrolled in this program with Litigation Practice Group in September
2020. I paid them $6925, but nothing has been resolved. On June 2022 I found that my bank account
gets garnished by one of the creditors who took the whole money that I received from my tax return
($5600) and I have another judgment against me because The attorney did not attend the court for both
creditors. I called LPG and told me to contact the attorney******. When I called him several times. The
only answer that I got from him was, let me see what I could do for you. I did not hear from him or the
program for 3 months. I tried to call the lawyer, but his phone disconnected and was no longer working.
After several attempts, I managed to speak with an employee MS B*****from the Legal department.
She doesn’t even know what’s going on with my case and I must explain to her that my bank account
gets garnished two times from Banc of America and Citibank and sent her all the documents showing
the Lawyer did not attend any court day. She apologized to me, and I asked her for my full refund. She
did agree to give me my refund and told me that she has to send the refund request to the up manager
V*******. I was waiting for my refund until V**** called me and told me I am eligible only for a half
refund because they have to pay the lawyer who didn’t do anything for me and missed the court day 2
times. I declined the offer then she approved me for $4516 and sent me an e-mail with that on Jan 10,
2023 ( thank you for speaking with me yesterday. I am contacting you to confirm that your refund of
$4,516.45 has been approved and will be issued to you as a check within 10 business days. If you have
any questions and/or concerns, please feel free to contact me). Of course, I did not get any refund until
now. I call and Email Every week MS V**** But no response because the line is always busy if I reach her
the only, I got from her is a promise that I will receive my refund by next week. This company ruined my
credit which was excellent before I hired them. They destroyed my life. I lost my job, I have a family to
take care of. From January 10 2023 waiting for my refund, spend hours on the phone trying to get
someone to speak with. I am so stuck and really don't know what to do anymore. Any advice on where
to go from here...PLEASE HELP!
Consumer’s Desired Resolution:
Refund


Complaint Messages
 03/03/2023 - Madlin Batoon
 Respond to Complaint




                                             Exhibit "11"                                          0535
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Litigation Practice Group
Case #:         8742

 Consumer                                           Business        Litigation Practice Group
 Info:                                              Info:           PO Box 513018
                                                                    Los Angeles, CA 90051
                                                                    9497150648




Date Filed: 3/23/2023 12:00:06 AM

Nature of the Complaint: Contract Issues
Consumer’s Original Complaint:
Approximately three years ago, in 2020. I was attempting to payoff my debt. I received a mailer from the
Litigation Practice Law Group which included four of the highest balances of my debtors. The total
balance of all of my combined debts was approximately $17,000. I placed a phone call to the Litigation
Practice Law Group attorney. I expressed exactly what my desires were regarding payoff of all of my
debts. The attorney explained that four of my debt would be consolidated. In order to settle the debts
via payment plan, would be $296.00 per month for three years. I commenced to making monthly
payments from that point on for a total of two and a half years. Monthly payments were withdrawn
from my Checking account in the amount of $296.00 directly paid to the Litigation Practice Law Group.
Payments were made faithfully, no payments were ever missed. Periodically I received phone calls from
the Litigation Practice Law Group trying to ascertain whether I had been receiving correspondence from
any of my debtors. I assured them that I had not been receiving any calls or correspondence at that
time. I would inquire as to whether or not my debts had been paid or not, to which the attorney that I
spoke with assured me that they were being time. All phone calls to this office had been recorded. One
day out of the blue, two deputy Sheriff's appeared at my residence to serve me a summons to appear in
court. A civil lawsuit was filed against me on 10 January 2022, I was totally appalled, shocked, and
humiliated by the Sheriffs' presence. Immediately after I was served the subpoena, I contacted the
Litigation Practice Law Group and spoke with an attorney advising her of the summons for me to appear
in court. I was extremely upset with the fact that Sheriff's were serving me with a subpoena to appear in
court on a matter that I had been assured that the Litigation Practice Law Group had been paying my
debtors, as agreed. The attorney assured me that there was no cause for alarm because the debtors
were in fact being paid as agreed. She further explained that when you appear in court, they will have an
attorney there to represent you. Prior to my court date, I contacted the attorney that was supposed to
be representing me in court. When I appeared in court, the judge informed me that the case had been
removed from the docket by the attorney(s) representing Synchrony Bank and Litigation Practice Group.
At that point I was under the impression that the case had been settled between both parties. After I
left court, I contacted the Litigation Practice Law Group and inquired as to why was I not informed that
the court date had been cancelled. Afterwards, I had received several calls from the Litigation Practice
Law Group inquiring as to whether or not I had been receiving any calls from any of my creditors, to
which I would reply that I had not received any calls or correspondence from any creditors. I would
always ask if my bills were being paid, to which the attorney would always reply, yes, they are all being




                                             Exhibit "11"                                          0536
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paid. In November 2022, I received a phone call from an attorney from the Litigation Practice Law
Group, informing me that it is urgent that I go online to receive and sign the Consent Judgment. At that
time, I expressed to the attorney my disbelief that I would be required to pay anything since I had
already paid the Litigation Practice Law Group almost $8,000.00, to which he explained that he agreed
with me and that they would waive the last six payments. I then asked the attorney whether I would
receive any of my money back to which he referred me to the finance department. They agreed to pay
me $5,500.00 and that they would keep $2,400 for attorney's fees and that I would receive a check
within fourteen days. After ten days, I contacted the law group, and they explained that they had four
more days in which to send the check. After fourteen days, they advised that they would not be
refunding any money because I had not given them a chance to represent me fully. The second reason
was they are not a debt consolidation company. I received a Consent Judgment for my signature, via e-
mail. The purpose was for me to resume paying Synchrony Bank the total amount due which they
agreed to settle for $10,776.00 for 24 months, at an amount of $449.00 monthly, which I again was
totally shocked by. I felt that this was totally unprofessional and that the tactics were not right and
fraudulent. This company should not be allowed to operate in this capacity. They knew that they had
settled for over a year and had not contacted me,, but continued to take my money.
Consumer’s Desired Resolution:
Refund




                                             Exhibit "11"                                           0537
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Litigation Practice Group
Case #:         6595

 Consumer                                           Business        Litigation Practice Group
 Info:                                              Info:           PO Box 513018
                                                                    Los Angeles, CA 90051
                                                                    9497150648




Date Filed: 3/27/2023 10:00:55 AM

Nature of the Complaint: Service Issues
Consumer’s Original Complaint:
I am another one who fell victim to this company’s lies. I was lead to believe my debt invalidation would
take 30 months of me making monthly payments of $258.72 for a total of $7620.44 to invalidate
$12,908 worth of debt. At the time, my credit was impeccable as I was current with all my creditors. Yet
I was up to my eyeballs in debt that would take me 30 years to pay off and I was struggling to pay
minimum payments. They led me to believe I needed to stop making payments to my creditors so that
my creditors would sell my debt and this would make it easier to invalidate the debt. They told me that
my credit would take a hit but they assured me that my credit would be all cleaned up by the 24 month
and I would be totally debt free by the 30th months. I was told this every three months since December
2020 when I opened up my case with them. When I had finally had a bad gut feeling that these people
were shady we were at the end of my 2nd year and they stopped answering my calls, emails and just
began ignoring me. After my 25th payment, which was January 2023 and paying them $6585.56 they
transitioned me to another law firm, Oakstone Law firm so they don’t have to deal with me. They still
took out $258.72 in February 2023 which they weren’t supposed to take. After that payment, it made it
a grand total of $6844.28 how much I had paid them at the beginning of my 3rd year and I have nothing
to show for my money. I tried to call them, and email them to ask for a refund but couldn’t get a hold of
them no how. Not only am I out $6844.28, the debt is still in my record, my credit is nowhere near the
impeccable credit that I once had. Not to mention the total debt increased to $15, 267.00 whereas I was
led me to believe my debt would decrease. Now, I am being sued by one of my creditors and I have very
little left to address this lawsuit and to fix my credit. I demand a refund from this company. I feel
deceived, violated and cheated out of my hard earned money.
Consumer’s Desired Resolution:
Refund




                                             Exhibit "11"                                           0538
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Litigation Practice Group
Case #:         1242

 Consumer                                             Business         Litigation Practice Group
 Info:                                                Info:            PO Box 513018
                                                                       Los Angeles, CA 90051
                                                                       9497150648




Date Filed: 3/29/2023 9:00:12 PM

Nature of the Complaint: Refund / Exchange Issues
Consumer’s Original Complaint:
On 01/05/22- I received an email from LPG law (email attached) that they would be servicing my debt
resolution account that was formerly services by Citadel. In the email it specifically says, "Your file is now
being serviced by a law firm, LPG, with licensed counsel in every state. As a result, if you are sued by a
creditor, or are being harassed by a creditor and need to sue them, LPG will handle your representation
for no additional fee - such service is already included the fees you have paid." Over the next few
months, I received tons of email communication and phone calls from LPG with updates to my account.
In Sept 2022, I received a summons for one of my accounts which I quickly uploaded to the LPG portal
on 09/03/22. I received acknowledge that LPG received the summons and someone even called my to
go over my income and monthly expenses. In December 2022, I received an email from someone in the
HR Dept where I work that my wages were being garnished. I uploaded the garnishment letter
(attached) to LPG law client portal and sent a message but no one responded. So, I scheduled a phone
conference and on December 30th, I had a phone conference with Juliette at Litigation Practice Group
who said that their office was going to take care of the wage garnishments. My wages continued to get
garnished at $1400 per month! So, I scheduled another phone conference and received a google
calendar invite for Jan 27th at 11:40 PM with Monica Bahena...she never called me! I scheduled another
phone conference and received a google calendar invite for Feb 1st at 1:40 PM with Selena Garcia...she
never called me. Now there are no open appointments available on their calendar. It is now almost April
and my wages are still getting garnished at $1400/month. I am more in debt and than before paying for
this debt consolidation assistance. My family is living off credit cards and the stress is unimaginable.
Consumer’s Desired Resolution:
Wage garnishments to end. Refund the amount of the wages garnishments. Assistance
with my debt resolution.




                                               Exhibit "11"                                             0539
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Litigation Practice Group
Case #:         5810

 Consumer                                            Business        Litigation Practice Group
 Info:                                               Info:           PO Box 513018
                                                                     Los Angeles, CA 90051
                                                                     9497150648




Date Filed: 3/30/2023 3:01:12 PM

Nature of the Complaint: Refund / Exchange Issues
Consumer’s Original Complaint:
Our account with LPG has been doubled billed again for at least the 3rd time for $792.80. The date of
occurrence was 3/8/2023. We've tried to call via phone and have no resolution, nor been able to discuss
with LPG. We've faxed twice now, due to receiving a blocked email message using the mylpglaw.com.
We have finally made it thru this nightmare to the last month and they double bill us again. They hide
behind the Coast Processing team and just moved us to Consumer Legal Group PC on 3/1/2023 and now
we've received notice that we are moving to Phoenix Law as of 3/30. Consumer Legal Group billed us
the second time after LPG billed the first.. LPG has been terrible to deal with and horribly represented us
legally. We've paid for 18 months and have nothing to show for it. We would have been better off telling
the sales lawyer to go away and let us handle our situation on our own. LPG is a predator and needs to
be shut down. Our client id is 445786344 Our advice to others is to run away from LPG and will ensure
that we reach out to numerous media outlets as well, in order to protect others.
Consumer’s Desired Resolution:
Refund


Complaint Messages
 04/13/2023 - Madlin Batoon
 Respond to Complaint
 We appreciate you bringing this issue to our attention and we are very grateful for the opportunity to
 respond. This issue is already escalated the the right department and someone will reach out to you
 so we can help you resolve this.

 We apologize for the inconvenience.




                                              Exhibit "11"                                           0540
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Litigation Practice Group
Case #:         3431

 Consumer                                            Business        Litigation Practice Group
 Info:                                               Info:           PO Box 513018
                                                                     Los Angeles, CA 90051
                                                                     9497150648




Date Filed: 4/1/2023 11:00:15 AM

Nature of the Complaint: Contract Issues
Consumer’s Original Complaint:
I enrolled with this group over 2 and half years ago. They were to help manage my debt and negotiate
on my behalf to stop compounding fines and fees. They starting taking monthly payment from me of
$268. I have lawsuits filed against me from creditors because LPG said to stop paying them. Then the
lawyer who LPG assigned to my account did not show up for judgement. I received a default judgment.
When I called to ask what my result was they assigned my account to a new lawyer. They worked to
negotiate payment. LPG has taken over $7000 from me in payment for no results. They then filed for
Chp 11 and transferred my account to another similar practice. I am now left owing over $10,000 to
creditors, a credit report that is trash and no resolution. I now have to work on my own with creditors,
lawyers and possible bank account garnishment. LPG does not return phone calls or emails.
Consumer’s Desired Resolution:
Correction to a credit report; Contact by the business




                                             Exhibit "11"                                           0541
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Litigation Practice Group
Case #:         6330

 Consumer                                              Business        Litigation Practice Group
 Info:                                                 Info:           PO Box 513018
                                                                       Los Angeles, CA 90051
                                                                       9497150648




Date Filed: 4/2/2023 1:30:29 PM

Nature of the Complaint: Service Issues
Consumer’s Original Complaint:
Three years ago my wife and I was looking into consolidating some debt. During our search we came
across a company called Coast. They offered the best payments and quickest payoff in their “debt relief
program”. Sounded like a no brainer so we signed up. We were instructed to not pay anymore bills that
it would mess up the payoff amounts and timeline. A few months in we started getting letters and
phone calls from the companies we owed. After several phone calls and emails to “coast” we find out
that the money we were sending them WAS NOT getting distributed to our debts but instead this is a
debt invalidation company, we were missled in the beginning But at this point we were already messed
up in the middle and they assured us that we would be taken care of by their “team” of lawyers. Coast
ended up changing their name to LPG halfway through this. Two years into it I get a summons delivered
that one of my debtors was taking me to court, I contacted LPG who said they assigned a local attorney
to my case. This local attorney never showed up for court or would ever return emails. They did this
twice. Second attorney would return calls but after judgment was filed against me she then admitted
that she couldn’t practice law in my state and couldn’t do anything. I’ve been calling and emailing LPG
with no response or answer. LPG is a scam. That take your money by missleading you then when your in
too deep and credit is ruined your left with nothing but bankruptcy. I’m sure they will reply to this saying
it has been sent to the appropriate person but that will be another lie.
Consumer’s Desired Resolution:
Refund




                                              Exhibit "11"                                            0542
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Litigation Practice Group
Case #:       17846

 Consumer                                            Business        Litigation Practice Group
 Info:                                               Info:           PO Box 513018
                                                                     Los Angeles, CA 90051
                                                                     9497150648




Date Filed: 4/10/2023 2:30:08 PM

Nature of the Complaint: Billing or Collection Issues
Consumer’s Original Complaint:
In February of 2023 I signed up as a client with Litigation Practice Group to do a Debt Resolution on my
Credit cards. They sent paperwork telling me how they would proceed and how the program works.
Then, after giving them all of my information, they referred me to another Law Practice called Consumer
Legal Group. Litigation Practice group was supposed to transfer my file to CLG but CLG keeps saying that
LPG hasn't sent them yet. I was supposed to fill out and sign consent forms and return them to CLG , but
CLG says they can't send them until LPG sends my file to them. I have tried to contact LPG through many
ways, email , Client Portal, and Phone and never get a response. I have already notified my creditors that
I am going through a debt resolution through CLG and was originally told by LPG that I was to give them
CLG's phone number to contact regarding my accounts. That is the same phone number I tried to
contact CLG at and cannot reach anyone( even by being on hold for hours!). CLG is deducting $251.30
from my checking account monthly ( both March 2023 and April 2023 so far). Meanwhile my creditors
keep calling saying that they have heard NOTHING from CLG and that they need consent forms signed
by me to even speak to them. Forms that I have never been sent by CLG. They have provided ZERO
service to me but have taken my money!! LPG, the original group I started with has all my my credit card
info: Account numbers, Exp dates, codes on the back of all of the cards, and my checking account info
where the money is being removed monthly by CLG. I can reach NEITHER company for anything,
information, updates. NO voice to voice contact has been successfully made to either company.
Meanwhile my credit card companies are charging me late fees and this is destroying my credit rather
than helping to fix it. UPDATE: Successfully Contacted CLG, they are refunding what they removed from
my bank account. Still trying to successfully contact LPG.
Consumer’s Desired Resolution:
Refund




                                             Exhibit "11"                                           0543
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Litigation Practice Group
Case #:         4847

 Consumer                                             Business        Litigation Practice Group
 Info:                                                Info:           PO Box 513018
                                                                      Los Angeles, CA 90051
                                                                      9497150648




Date Filed: 4/17/2023 12:00:53 PM

Nature of the Complaint: Repair Issues
Consumer’s Original Complaint:
I was told that when I signed up with Litigation Practice Group and paid the fee that they would help to
repair my credit and that it could take two years to see results. The service would cover if I had to go to
court, a lawyer would be in court to represent me, as well as they would work on validating debt and
debt settlement. It’s been 2 years and 4 months since i signed the contract and NOTHING has been done
on my credit. They tell me they are working on it and to watch my mail for responses from creditors, but
since I’m not even receiving responses from creditors I have a hard time believing they are doing
anything with my credit. Now here’s the part that frustrates me most, I was summoned to court on a
debt and LPG told me that this debt wasn’t covered by my contract. They told me they would be
charging me $500 for the lawyer to respond to the summons, I agreed, but then the lawyer ended up
having me call the creditor myself to negotiate a settlement and never did respond to the summons or
the court, now I cannot get a hold of anyone for anything and they won’t call me when I used the
scheduler for a return call. I have been taken for a little over $5,300 by this company- it’s all been a
scam! My credit has not seen any changes and they give me a generic explanation every time saying
they’re “reaching out to creditors” and that it takes two years to see any changes- the two years is up,
there have been no changes, they do not communicate with me. I have tried calling them repeatedly
and it’s always busy, I tried texting them from a number they have texted me from- nothing. I have tried
to setup calls on their calendar service and they’ll text that someone will call soon and no one calls. I’m
frustrated, I’ve done everything they told me to do and I have seen no evidence to support that they are
doing what they claimed to be doing for the fee that I was charged.
Consumer’s Desired Resolution:
Billing Adjustment




                                              Exhibit "11"                                           0544
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48                                   Desc
                    Exhibit Exhibits 1 - 12 Page 556 of 584



Litigation Practice Group
Case #:         5604

 Consumer                                          Business        Litigation Practice Group
 Info:                                             Info:           PO Box 513018
                                                                   Los Angeles, CA 90051



                                                                   http://litigationpracticegroup.com

Date Filed: 5/2/2023 12:23:38 PM

Nature of the Complaint: Billing or Collection Issues
Consumer’s Original Complaint:
I enrolled a contact with LPG to take care of credit cards and other debts that I had. I paid the company
$384 a month for 3 years. My last payment was made on 1/3/23. In June of 2022, I received a summon
from Goldman Sachs regarding my debt with them so I forward the paperwork to LPG. They
acknowledged that you received the information and that they would be handling it and that I didn't
have to do anything else.. Well approximately 8 months later I received a certified letter of garnishment
from Goldman Sachs stating that they was garnishing my bank account. When I pulled up my account,
that had garnishment everything I had in my checking and saving account with my bank. Totaling over
$3,800. I tried to get in contact with LPG to find that the company was no longer in business .. all email
came back. When I called the number it goes to Phoenix Law Service who tell me that they have taken
over my account but cannot help me with this garnishment because it was assigned to an attorney with
LPG but the attorney can not be reach. With all of that being said, I'm out the $27, 648.00 that I paid LPG
and other 3,800 that was garnished. Plus, I may be garnished again for the remaining balance that is
owed to Goldman Sachs. I want this company to refund the amount garnished and to fulfill their
obligation of settling my account with my creditor.
Consumer’s Desired Resolution:
Refund




                                              Exhibit "11"                                              0545
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48                           Desc
                    Exhibit Exhibits 1 - 12 Page 557 of 584



Litigation Practice Group
Case #:        6950

 Consumer                                           Business        Litigation Practice Group
 Info:                                              Info:           PO Box 513018
                                                                    Los Angeles, CA 90051
                                                                    9497150648




Date Filed: 5/31/2023 5:00:45 PM

Nature of the Complaint: Service Issues
Consumer’s Original Complaint:
I paid $312.00 for 30 months for this company to pay off my credit card I have not heard anything from
them, and my daughter called with me on 3 way calling and was told the company went bankrupt and
that Phoenix Law group had taken over and they were "ripping" apart the files to figure out what they
needed to do. However, Cole, at Phoenix Law group said they were only on retainer, and that the
$10,000 I had paid LPG was only for Phoenix to be on retainer and not to pay off card. The bank has no
information from either company to try and settle the loan payoff. They stated that the amount is now
over $17,000 owed bc no payments have been made in over 3 years. I was told by LPG that they would
be paying off this account, which started out at $10,000. PLG said they would not be helping me to get
the $10,000 back, but they were on retainer, but couldn't tell me how they would be helping. so, my
complaint is with both companies. I am 73 years old and only have an income $600. I need help. I'm sure
my credit is also now ruined.
Consumer’s Desired Resolution:
Refund




                                            Exhibit "11"                                         0546
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48                               Desc
                    Exhibit Exhibits 1 - 12 Page 558 of 584



Litigation Practice Group
Case #:         1007

 Consumer                                             Business        Litigation Practice Group
 Info:                                                Info:           PO Box 513018
                                                                      Los Angeles, CA 90051
                                                                      9497150648




Date Filed: 2/24/2023 11:57:32 AM

Nature of the Complaint: Billing or Collection Issues
Consumer’s Original Complaint:
In September 2022, I was sold on using the debt dispute services of Litigation Practice Group (LPG) by a
3rd party company called Point Break Financial. In October, 2022, LPG began withdrawing their fee from
my bank account in the amount of $288.60/month for a total 24 payments. At first, LPG seemed to be
doing what they said they would but that turned out to be a lie. They said they’d sent dispute and cease
collection notices to creditors, but I’ve since learned they hadn’t sent them to all my creditors. In
February, 2023, LPG Law attempted to debit a second payment from my bank account. I was forced to
put a stop payment on the second charge to prevent my account from being overdrawn. Since then, I
have attempted daily to contact LPG Law by telephone, email and text, as well as through their client
portal. LPG Law is not answering the phone or responding to any attempts to speak with anyone. Only a
few of my creditors have received cease-and-desist letters and NONE have received Powers of Attorney
from LPG Law. LPG Law has caused me major damage. While I was in debt before hiring LPG Law, I was
making payments on time. Now, my credit is seriously ruined. LPG Law is evidently not a legitimate
business and appears to have disappeared. On February 22, 2023, I received an email from a Phoenix
Law Co. saying they’d purchased my LPG account and that this new law firm would be handling my case.
I’ve discovered Phoenix is a new company that just opened in January, 2023. Phoenix’s principal owner
is Ty Carss, who until December, 2022, was doing estate planning and bankruptcy law in Carlsbad, CA. I
caught Phoenix reps in several lies. I suspect that Phoenix is a reincarnation of LPG Law. I want to cancel
the contract and stop all further payments to Phoenix/LPG Law. Furthermore, I am demanding an
immediate full refund of all money paid to LPG Law in the amount of $1,154.40. I want my money back!
Consumer’s Desired Resolution:
Billing Adjustment




                                              Exhibit "11"                                            0547
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48                            Desc
                    Exhibit Exhibits 1 - 12 Page 559 of 584



Litigation Practice Group
Case #:        2884

 Consumer                                           Business        Litigation Practice Group
 Info:                                              Info:           PO Box 513018
                                                                    Los Angeles, CA 90051
                                                                    9497150648




Date Filed: 3/1/2023 7:02:55 PM

Nature of the Complaint: Billing or Collection Issues
Consumer’s Original Complaint:
I had a “contract” with this company and not one cease or desist letter has been sent to the previous
firm and now my credit has tanked, I tried to call and it seems like my number has been blocked.
“Stephanie” was who set my account up and had no problem setting up a payment plan of $274.12
money has been taken out but no work on their end. This company has to be a complete scam that
steals money by buying your info then selling it. Please please somebody help as now the other firm is
send me to court for the “default” in payments to them. Due to LPG telling me directly to call my bank
and stop payments for the other original firm whom they were supposed to be helping me with. I want
my money back and “contract” CANCELLED.
Consumer’s Desired Resolution:
Refund; Contact by the business




                                            Exhibit "11"                                          0548
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48                              Desc
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Litigation Practice Group
Case #:         6149

 Consumer                                           Business        Litigation Practice Group
 Info:                                              Info:           PO Box 513018
                                                                    Los Angeles, CA 90051
                                                                    9497150648




Date Filed: 3/28/2023 10:00:04 PM

Nature of the Complaint: Customer Service Issues
Consumer’s Original Complaint:
I enrolled in a debt relief program with LPG on 4 MAR 2022 while fully understanding its terms and
conditions. During this time, I was getting letters from collection agencies and notified several times to
LPG about an issue dealing with change of ownership from a couple of credit cards that did not show up
on the original credit report requested by them. Right after Thanksgiving of 2022, I got sued by 2
creditors and LPG was only able to reach a settlement payment with them (A CLEAR SIGNAL THAT THEIR
PROGRAM IS NOT EFFECTIVE). Moreover, I was still getting letters from collection agencies despite the
cease and desist communications sent by LPG (and no action whatsoever was taken by the law firm). On
10 FEB 2023 I got an email from LPG telling me that THEY WILL NOT BE ABLE TO CONTINUE
REPRESENTING ME AND THAT MY ACCOUNT WAS ALREADY TRANSFERRED TO ANOTHER LAW FIRM:
Phoenix Law (this transfer was done unexpectedly, and without any prior consultation with me - a clear
UNETHICAL BEHAVIOR displayed by LPG). On 13 FEB 2023 I contacted Phoenix Law regarding the
ongoing issues that were NOT taken care by LPG (letters and emails from collection agencies and change
of ownership from a couple of credit cards). Phoenix Law told me that as soon as they evaluate the
current status of my account they will proceed to take action on those issues. 45 DAYS LATER I AM STILL
RECEIVING EMAILS AND LETTERS FROM COLLECTION AGENCIES. Phoenix Law DOESN'T HAVE AN ONLINE
CUSTOMER PORTAL WHERE I WOULD BE ABLE TO MONITOR ANY DEVELOPMENTS REGARDING MY
ACCOUNT nor did they assign me an account manager. WORST OF ALL, LITIGATION PRACTICE GROUP
TOOK MONEY FROM MY BANK ACCOUNT FOR THE PERIOD CORRESPONDING TO THE MONTH OF
MARCH 2023 WHILE PHOENIX LAW DID NOT COLLECT ANY FUNDS. Today 28 MAR 2023, I officially
ended my relationship with Phoenix Law. This program doesn't work for me, therefore I'M OFFICIALLY
REQUESTING A FULL REFUND from LPG the money I have already invested with them for 1 YEAR:
$9636.06
Consumer’s Desired Resolution:
Refund




                                             Exhibit "11"                                           0549
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48                               Desc
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Litigation Practice Group
Case #:         2661

 Consumer                                            Business        Litigation Practice Group
 Info:                                               Info:           17542 17th St Ste 100
                                                                     Tustin, CA 92780
                                                                     9497150648




Date Filed: 2/6/2023 4:22:57 PM

Nature of the Complaint: Billing or Collection Issues
Consumer’s Original Complaint:
On or about December 16, 2022 I signed on to the LPG Law for help with my credit card and personal
loan debts. I was told there would be no upfront fee but on 12-22-2022 $427.04 was debited from my
account without a warning. I expected to pay after the services started. On 12-27-2022 I received a
message saying that "cease and desist letters" had been sent. The companies did not receive them. I
cancelled service on 1-11-2023 because I can't afford the service. On 1-23-2023 LPG debited my account
again for $427.04, well after I cancelled. Since 1-23-2023 I have been unable to get anyone to respond to
emails or calls to individuals while calls to LPG end after 10 minutes. I have tried nearly every day in
hopes of getting to talk to someone. They passed my file to a Consumer group but they had to return it
to LPG because they are the company that owes me the money. Calls to LPG ended after a 10 minute
wait so I have yet to be successful. This has gone on for over 2 weeks.
Consumer’s Desired Resolution:
Refund


Complaint Messages
 02/08/2023 - Madlin Batoon
 Respond to Complaint
 Thank you for bringing this issue to our attention. We sincerely apologize that you were charged twice
 for your account.
 This is a terrible mistake caused by a glitch in our billing system, and we’re currently looking into how
 this could have happened.
 In the meantime, we will process the full refund. Please allow 3-5 business days for the amount to
 appear back on your account.
 Getting overcharged is a stressful and frustrating ordeal, and we’re sorry once again to have put you
 through that. If there are any other issues or questions, please don’t hesitate to contact us.




                                             Exhibit "11"                                            0550
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48                                 Desc
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Litigation Practice Group
Case #:         9070

 Consumer                                             Business         Litigation Practice Group
 Info:                                                Info:            17542 17th St Ste 100
                                                                       Tustin, CA 92780
                                                                       9497150648




Date Filed: 10/31/2022 4:30:32 PM

Nature of the Complaint: Customer Service Issues
Consumer’s Original Complaint:
while looking through social media i came across an add claiming to help you get out of cc debt. I put in
my information and not long after a man from this company name Laurence contacted me. He asked me
if i could afford 256.+ change a month to work with his attorneys so that i could become debt free. He
advised to me to stop paying my accounts and to tell the creditors that this law firm was representing
me Lpg Law and Attorney March was one of the best. So i agreed because being newly single i was
between a rock and a hard place. after a time went by and 1000.00+ dollars in payments later i was still
getting harassing's phone calls and letters. i called reached out to Laurence and did not receive an
response i sent a message over the email on my account and nothing. So i decided to cancel and file a
bbc complaint. when did this i was told that i needed to contact laurence directly he scolded and advised
to have the creditors call them directly. i did the calls and correspondence still did not stop. more time
went by and i tried to call again i was told now that i had to wait until the companies sold my debt to the
debt collections agencies so they could negotiate with them to lower my debt. i was at this point
furious. i paid this company to send out a 1 letter to all my creditors and then tell me i have to wait until
they sell my debt in order for them to do anything on my account. so i cancelled my account and
demanded my 1000.00+ dollars back i paid. ive been ignored and heard nothing.
Consumer’s Desired Resolution:
Refund


Complaint Messages
 11/07/2022 - Madlin Batoon
 Respond to Complaint
 Attempts have been made to contact the customer; however, their voicemail is full and we have been
 unable to leave messages. The customer should contact LPG for further assistance.




                                              Exhibit "11"                                             0551
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48                              Desc
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Litigation Practice Group
Case #:         4505

 Consumer                                           Business         Litigation Practice Group
 Info:                                              Info:            17542 17th St Ste 100
                                                                     Tustin, CA 92780
                                                                     9497150648




Date Filed: 4/21/2022 6:13:11 PM

Nature of the Complaint: Billing or Collection Issues
Consumer’s Original Complaint:
Account Number:                        . Agreement start January- 2021 I hired the company to do debt
consolidation over a matter of time through an agreement. I have not been able to get in touch with this
business. I don't even know the status of my debt consolidation. I am getting collection notices,
subpoenas- finally spoke with the company they mentioned I would get something in the mail but it has
been 3 week and I still haven't received anything. I have been making monthly payments that have been
consistently coming out of my account. This is the only interaction I have with them. I have been there
for 1 year and a 1/2 and all I have been doing is getting charged and no action taken. THEY SHOULD AT
LEAST BE PROVIDING UPDATES! This is insane- I just feel like I am getting charged by a company where I
cant event speak to someone. They only answer the phone if they think it is someone new. I wanted to
know the status of our agreement but at this time due to the unresponsiveness on agreed upon services
and my payments being take that i would like my money back for work not done in the agreement
Consumer’s Desired Resolution:
Refund; Contact by the business


Complaint Messages
 04/27/2022 - Daniel March
 Respond to Complaint
 It’s always important for us to cater to our clients needs as much as possible, so we apologize for any
 inconvenience this has caused you. Your account was escalated to the attention of the appropriate
 leadership. The newly assigned legal counsel has been in touch with the client with an update and
 next steps for the next settlements, We will follow-up again at the end of the week. We look forward
 to assisting the client through the successful completion of her program.




                                             Exhibit "11"                                           0552
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48                            Desc
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Litigation Practice Group
Case #:        0551

 Consumer                                          Business        Litigation Practice Group
 Info:                                             Info:           17542 17th St Ste 100
                                                                   Tustin, CA 92780
                                                                   9497150648




Date Filed: 11/22/2022 9:49:51 AM

Nature of the Complaint: Service Issues
Consumer’s Original Complaint:
I have been attempting to reach a representative by phone and email for two months now. When I try
and call, I am put into an endless cue of waiting and my call has never been connected to a person.
When the company calls me, it is obvious the person is simply reading a script. When I asked a specific
question about how to send documentation that my account has been paid off, I was told to upload
letters from my credit counseling company indicating this. I have done this, and TWO MONTHS LATER I
have heard nothing from the company. The collection of my monthly amount should cease now that my
accounts have been paid off - this is even indicated on the dashboard in my account online!!! It is
IMPOSSIBLE to speak with a knowledgeable representative and the customer service AFTER THE
DOCUMENTS ARE SIGNED is HORRIBLE.
Consumer’s Desired Resolution:
Refund; Modification/discontinuance of an advertised claim


Complaint Messages
 11/28/2022 - Madlin Batoon
 Respond to Complaint
 A complete review of the client's account was conducted and revealed that a clerical error had taken
 place when the customer provided updated information. We apologize for the inconvenience and
 frustration that this error caused. We were able to reinstate the customer's settlements and look
 forward to assisting her with the completion of her program. Our VP of Customer Relations tried to
 reach the client to clarify the situation and offer further resolution.




                                            Exhibit "11"                                          0553
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48                               Desc
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Litigation Practice Group
Case #:         9682

 Consumer                                            Business        Litigation Practice Group
 Info:                                               Info:           17542 17th St Ste 100
                                                                     Tustin, CA 92780
                                                                     9497150648




Date Filed: 2/1/2022 6:05:34 PM

Nature of the Complaint: Refund / Exchange Issues
Consumer’s Original Complaint:
I signed up with LPG in June of last year and have been told nothing but they sent cease & desist letters.
I have received settlement offers from debtors that I forward to them and they state they are awaiting
another 60 days for creditors to remove from my credit profile. Most of my debtors are not listed on my
credit profile. I have requested a refund and cancelation of services and no one has responded. I am
very unhappy with the service, the almost $600 per month I have been paying could have paid off most
of my debts by now.
Consumer’s Desired Resolution:
Refund


Complaint Messages
 02/08/2022 - Tony Diab
 Respond to Complaint

     ,

 We appreciate you bringing this issue to our attention and we are very grateful for the opportunity to
 respond. Messages have been left from the appropriate representative. Kindly review your emails and
 texts and respond accordingly for future assistance.




                                             Exhibit "11"                                            0554
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48                                Desc
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Litigation Practice Group
Case #:         5839

 Consumer                                            Business        Litigation Practice Group
 Info:                                               Info:           17542 17th St Ste 100
                                                                     Tustin, CA 92780
                                                                     9497150648




Date Filed: 3/24/2022 2:50:08 PM

Nature of the Complaint: Service Issues
Consumer’s Original Complaint:
First signed up through “coast processing” in March of last year. Have been sending money monthly
ever since. Only thing I’ve noticed is my chances of improving my credit going down and down. Still
receiving collection calls and when I finally reach someone at LPG who claim to take my info down and
claim they send out a cease and desist letter it still happens. To the point I could be on the phone for 30
min at a time simply to get a progress report on what it is exactly I’m paying for. I want out of this
contract immediately. I have lost enough money to a company that as far as I can see has done nothing
to help me. The accounts I’ve had have been off my credit report now for months and they are still
taking my money.
Consumer’s Desired Resolution:
Cancellation of the program immediately with any refund necessary since my money has
been used for nothing as far as I can see


Complaint Messages
 03/30/2022 - Daniel March
 Respond to Complaint
 A complete review of the client's account was conducted and revealed that a technical error had
 taken place when the client called us. We apologize for the inconvenience and frustration that this
 error caused. We were able to reinstate the client's settlements and look forward to assisting him
 with the completion of his program. Our legal counsel has been in contact with the customer to
 inform him of our progress




                                              Exhibit "11"                                            0555
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                      Exhibit “12”
                   Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48       Desc
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                               IN THE SUPREME COURT OF THE STATE OF NEVADA


                        IN THE MATTER OF DISCIPLINE OF                            No. 77318
                        TONY DIAB, BAR NO. 12954.
                                                                                         F1L3ED
                                                                                         iAv Iit 2919



                                                ORDER OF DISBARMENT
                                    This is an automatic review of a Southern Nevada Disciplinary
                        Board hearing panel's recommendation that attorney Tony Diab be
                        disbarred based on violations of RPC 1.3 (diligence), RPC 1.4
                        (communication), RPC 3.4 (fairness to opposing party or counsel), and RPC
                        8.4(c) (misconduct). Because no briefs have been filed, this matter stands
                        submitted for decision based on the record. SCR 105(3)(b).
                                    The State Bar has the burden of showing by clear and
                        convincing evidence that Diab committed the violations charged.           In re
                        Discipline of Drakulich, 111 Nev. 1556, 1566, 908 P.2d 709, 715 (1995).
                        Here, however, the charges alleged in the complaint are deemed admitted
                        because Diab withdrew his answer and requested a default be entered
                        against him, resulting in the panel entering a default. SCR 105(2).
                                    The record therefore establishes that Diab violated the above-
                        referenced rules. He redirected a $375,000 settlement payment, which was
                        to be deposited directly into a client's account, and had it deposited into his
                        own personal bank account. When the client inquired about the settlement
                        payment, Diab falsely asserted that he was negotiating the deposit with the
                        opposing party and went as far as to provide the client with a fraudulent
                        email from opposing counsel contesting the payment. After, the client called
SUPREME COURT
        OF




                                                                                              ob31
     NEVADA


(0) 1947A    (e)                                     Exhibit "12"                               0556
                  Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48      Desc
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                      the opposing party and learned that the payment was made to Diab directly,
                      Diab promised to repay the client but only if the client signed an agreement
                       releasing any claims the client may have against Diab. Needing the funds,
                      the client signed the agreement without having another attorney review it,
                      but the client did not understand that the agreement allowed Diab to keep
                       $372,000 of the $375,000 payment. Once the client retained outside counsel
                       to sue Diab, Diab forged a retainer agreement, which he alleged was signed
                       by the client in person on December 2, 2016, and that provided that Diab
                       could retain the $375,000 as attorney fees. The client, however, provided
                       travel receipts demonstrating that he could not have signed the agreement
                       in person on that day because he was not in California, as alleged by Diab.
                       Diab's former employer eventually settled the matter with the client,
                       agreeing to pay the client $375,000, plus the attorney fees and costs the
                       client incurred in recovering that amount.
                                   Additionally, Diab represented the same client's brother in a
                       criminal matter, in which Diab told to the client and his brother that he had
                       successfully had a warrant for the brother's arrest quashed. Diab even
                       provided the brothers an order quashing the arrest warrant. Diab, however,
                       never made an appearance in the criminal matter or filed anything on
                       behalf of the brother in the matter and the arrest warrant was still pending.
                       The order Diab gave the client and his brother was fraudulent: it was from
                       a different court than the one to which the brother's matter was assigned
                       and included a forged signature of a judge.
                                   Turning to the appropriate discipline, we review the hearing
                       panel's recommendation de novo. SCR 105(3)(b). Although, we "must . . .
                       exercise independent judgment," the panel's recommendation is persuasive.
                       In re Discipline of Schaefer, 117 Nev. 496, 515, 25 P.3d 191, 204 (2001). In

SUPREME COURT
        OF
     NEVADA
                                                             2
(0) 1947A    ce                                    Exhibit "12"                              0557
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                    determining the appropriate discipline, we weigh four factors: "the duty
                    violated, the lawyer's mental state, the potential or actual injury caused by
                    the lawyer's misconduct, and the existence of aggravating or mitigating
                    factors." In re Discipline of Lerner, 124 Nev. 1232, 1246, 197 P.3d 1067,
                     1077 (2008).
                                    Diab knowingly violated duties to his clients (diligence,
                     communication), the public (failure to maintain personal integrity), and the
                     profession (misconduct). Diab's misconduct injured his clients. Specifically,
                     his client had to retain new counsel to recover the settlement funds and he
                     was deprived of those funds for a period of time preventing him from
                     expanding his business and resulting in a loss of business opportunities.
                     Diab's misconduct also injured the integrity of the profession. The baseline
                     sanction for Diab's misconduct before considering aggravating and
                     mitigating circumstances is disbarment.         See Standards for Imposing
                     Lawyer Sanctions, Compendium of Professional Responsibility Rules and
                     Standards, Standard 5.11 (Am. Bar Ass'n 2017) (providing that disbarment
                     is appropriate if an attorney "engages in serious criminal conduct, a
                     necessary element of which includes . . misrepresentation, fraud, . . .
                     misappropriation, or theft" or "engages in any other intentional conduct
                     involving dishonesty, fraud, deceit, or misrepresentation that seriously
                     adversely reflects on the lawyer's fitness to practice").
                                    The record supports the hearing panel's findings of three
                     aggravating circumstances (dishonest or selfish motive, pattern of
                     misconduct, and multiple offenses) and one mitigating circumstance
                     (absence of prior disciplinary record). We agree with the panel that the
                     single mitigating circumstance does not warrant discipline less than
                     disbarment, particularly considering the aggravating circumstances.

SUPREME COURT
        OF
     NEVADA
                                                            3
(0) I947A                                         Exhibit "12"                             0558
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                    Further, because Diab's misconduct was extreme and he went to great
                    lengths to cover up his initial acts of misconduct, including fraudulently
                     creating an email, a retainer agreement, and a district court order,
                    disbarment is appropriate.
                                   Accordingly, we disbar attorney Tony Diab from the practice of
                     law in Nevada. Such disbarment is irrevocable. SCR 102(1). Diab shall
                    pay the costs of the disciplinary proceedings, including $3,000 under SCR
                     120, within 30 days from the date of this order. Further, to the extent Diab's
                     actions have not been reported to law enforcement, we direct the State Bar
                     to refer this matter to the appropriate law enforcement agencies. The
                     parties shall comply with SCR 115 and SCR 121.1.
                                   It is so ORDER

                                                                            C.J.
                                               Gibbons


                                                                                   wesale\    J.
                                                                   Hardesty


                                                                                              J.
                     Parraguirre                                   Stiglich


                                                    J.                 s.      c,144-0J
                     Cadish                                        Silver



                     cc: Chair, Southern Nevada Disciplinary Panel
                          Tony M. Diab
                          Bar Counsel, State Bar of Nevada
                          Executive Director, State Bar of Nevada
                          Perry Thompson, Admissions Office, U.S. Supreme Court
SUPREME COURT
        OF
     NEVADA
                                                              4
(0) 1947A
                                                    Exhibit "12"                             0559

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  Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48
                                                                SUPREMEDesc
                                                                        COURT
                      Exhibit Exhibits 1 - 12 Page 572 of 584
                                                                                             FILED
                                                                                             1350112019
                                                 (Stale Bar Court N0. 17-0-04174)
                                                                                      Jorge Navarrete Clerk
                                                             $258336
                                                                                               Deputy
                 IN THE SUPREME COURT OF CALIFORNIA
                                                            En Banc

                                             In rc TONY M. DIAB on Discipline
                                   _.r
              The court orders that Tony M. Diab (Respondent), Slate Bar Number
        277343, is disbarred from the practice oflaw in California and that Respondent’s
        name is stricken 'om the roll ofattomeys.

              Respondent must comply with California Rules ofCoun, rule 9.20, and
       perform the acts specied in subdivisions (a) and (c) ofthat rule within 30 and 40
       calendar days, respectively, after the effective date ofthis order.

              Costs are awarded to the State Bar in accordance with Business and
       Professions Code section 6086.10 and are enforceable both as provided in
       Business and Professions Code section 6140.7 and as a Inoneyjudgment.




                                                                            CANTlL-SAKAUYE
                                                                             Cine/Justice



is in; m 544 3’      ‘, 'F gr the b‘upume Goun
ui ill-saute iii iaiifnrérii’do hereby certify that the
piccelmg is a truc copy ofan otcr ol‘this Court as
shown by the records ot‘my ofce.
   Wltnch my hand and the scat ofthc Court this
                  DEC T l 2019              20
        day of       ..

                              .   on

                          '
          By
                              'Dcvutv




                                                          Exhibit "12"                             0560
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                       STATE BAR OF CALIFORNIA
                       OFFICE OF CHIEF TRIAL COUNSEL
                       MELANIE J. LAWRENCE, No. 230102
                                                                                  PUBLIC
                                                                                       FILED
                                                                                                ~ V




                       INTERIM CHIEF TRIAL COUNSEL
                       JOHN T. KELLEY, No. 193646                                           359 1 2 gggg
                       ASSISTANT CHIEF TRIAL COUNSEL
                       R. KEVIN BUCHER, No. 132003                                        STATE BAR COURT
                       SUPERVISING ATTORNEY                                               CLERK'S omen
                       KIMBERLY G. ANDERSON, No. 150359                                    LOS ANGELES
  3\OOO\lO\UI-BUJIN)

                       SENIOR TRIAL COUNSEL
                       845 South Figueroa Street
                       Los Angeles, California 90017-2515
                       Telephone: (213) 765-1083



                                                            STATE BAR COURT
                                              HEARING DEPARTMENT - LOS ANGELES

         l\)
                       In the Matter of:                                  Case No. 17-O-04174
  r—-




                                                                      )

  ya
         14-)

                       TONY M. DIAB,                                  )
                                                                      )   NOTICE OF DISCIPLINARY CHARGES
                       No. 277343,                                    )



  r#
         U)
                       A Member of the State Bar.                     3
                                                                      )

 a—t    ON



 «-
        \l
                                                    NOTICE - FAILURE TO RESPOND!
 18                           IF YOU FAIL TO FILE A WRITTEN ANSWER TO THIS NOTICE
                              WITHIN 20 DAYS AFTER SERVICE, OR IF YOU FAIL TO APPEAR AT
                              THE STATE BAR COURT TRIAL:
 20                           (1) YOUR DEFAULT WILL BE ENTERED;
                              (2) YOUR STATUS VVILL BE CHANGED TO INACTIVE AND YOU
                                  WILL NOT BE PERMITTED TO PRACTICE LAW;
                              (3) YOU WILL NOT BE PERMITTED TO PARTICIPATE FURTHER IN
 22                               THESE PROCEEDINGS UNLESS YOU MAKE A TIMELY MOTION
                                  AND THE DEFAULT IS SET ASIDE, AND;
                              (4) YOU SHALL BE SUBJECT TO ADDITIONAL DISCIPLINE.
                                  SPECIFICALLY, IF YOU FAIL TO TIMELY MOVE TO SET ASIDE
 24                               OR VACATE YOUR DEFAULT, THIS COURT    WILL ENTER AN
                                  ORDER RECOMMENDING YOUR DISBARMENT
 25                               FURTHER HEARING OR PROCEEDING. SEE RULE 5.80WITHOUT
                                                                                ET SEQ.,
                                  RULES OF PROCEDURE OF THE STATE BAR OF CALIFORNIA.
 26


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 28

                                                       Exhibit "12"                   \mW\||\\||\\|\l\\|\|\|\
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                pa
                                 The State Bar of California alleges:

                                                                     JURISDICTION
                                 1.   TONY M. DIAB ("respondent") was admitted to the practice of law in the State of
                         California on June 29, 2011, was a member at all times pertinent to these charges, and is

                         currently a member of the State Bar of California.
    S\OO0\lO\UI-BU->19




                                                                      COUNT ONE
                                                                  Case No. 17-O-04174
                                                     Rules of Professional Conduct, Rule 3-110(A)
                                                         [Failure to Perform with Competence]


                                2.    On or about July 6, 2016, Vishal Chamaria (“Vishal”) employed respondent to
                         perform legal services, namely to defend Vishal in a personal injury case entitled California
   p_n
             ,_A




                         Automobile Ins. Co. v. Vishal Chamaria, Riverside County (California) Superior Court, case no.
           l\)

                         RIC1606614, which respondent intentionally, recklessly, or repeatedly failed to perform with
   r—I




   r—\     U)
                         competence, in willful violation of Rules of Professional Conduct, rule 3-110(A),
                                                                                                           by the
  >—      -5

                         following:
  —I      U‘!


                                a.    failing to notify Vishal that respondent was served with a set of requests for
  >—I
          O'\


                                      admissions on behalf of Vishal;
  n—-     \)

                                b.    failing to respond to the requests for admissions propounded
                                                                                                     by plaintiff;
  >-A     00
                                c.    failing to oppose p1aintiff’s motion to deem requests admitted; and
  v—-
         K0
                                d.    failing to inform Vishal that plaintiffs motion to deem requests admitted was
 K0      O
                                      granted on January 25, 2017
 I\) —A
                                                                      COUNT TWO
                                                                   Case No. 17-O-04174
 [Q [Q
                                                   Business and Professions Code, Section 6068(m)
                                                [Failure to Inform Client of Signiﬁcant Developments]
 B3 U.)



 B.)
         A                      3.    Respondent    failed   to   keep respondent’s   client,   Vishal Chamaria       (“Vishal”),
 l\J U1                  reasonably informed of signiﬁcant developments in the case entitled California Automobile
                                                                                                                             Ins.

 [0 ON                   Co. v. Vishal Chamaria, Riverside County (California) Superior Court, case
                                                                                                            no. RIC1606614, a
 I\) \l




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                                                              Exhibit "12"                                           0562
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                    Exhibit Exhibits 1 - 12 Page 575 of 584



                   pg    matter in which respondent had agreed to provide legal services, in wi11ﬁJ.1 violation of Business

                         and Professions Code, section 6068(m), by failing to inform the client of the following:

                                 a.    failing to inform Vishal that requests for admissions were propounded
                                                                                                                by plaintiff;
                                 b.    failing to inform Vishal that he had failed to timely respond to the requests for

                                       admissions;
    S\OOO\]O\UI-PUJIN)




                                 c.    failing to inform Vishal that he had failed to oppose plaintiffs motion to deem

                                       requests admitted;

                                 d.    failing to inform Vishal that plaintiffs motion to deem requests admitted was

                                       granted on January 25, 2017; and

                                 e.   failing to inform Vishal that on or about March 22, 2017, respondent settled the

                                      matter at mediation withoutVisha1’s knowledge or consent.
    p_n
             pi




                                                                   COUNT THREE
    ad
           l\)




   n--«    U)                                                   Case No. 17-O-04174
                                                      Rules of Professional Conduct, Rule 3-510
   >—
                  -(>-



                                                      [Failure to Communicate a Settlement Offer]

  >—a      U!                   4.    On or about March 22, 2017, while respondent was representing his client, Vishal
  r—-
          O'\            Chamaria (“Vishal”), in a personal injury case entitled California Automobile Ins. Co. v. Vishal

  r—
          \)             Chamaria, Riverside County (California) Superior Court, case no. RIC1606614, respondent

  u—A     OO             learned of a settlement offer, and respondent did not communicate any of the terms or conditions

  »--n
          KO             of the offer to Vishal, and settled the matter without Visha1’s consent or knowledge, in willful

 [0       O              violation of the Rules of Professional Conduct, rule 3-510.

 I\J      >----




                                                                    COUNT FOUR
 [O [O
                                                                  Case No. 17-O-04174
                                                     Rules of Professional Conduct, Rule 3-110(A)
 I\-) L»)                                                [Failure to Perform with Competence]

 [Q         -l>a




                                5.    On or about February 20, 2017, Vishal Chamaria (“Vishal”) employed respondent to
 l\) U1
                         perform legal services, namely to represent his brother, Vivek Chamaria (“Vivek”), in a criminal
 [0 O\
                         case entitled State of Nevada vs. Vivek Chamaria, Las Vegas Justice.Court, case no.
                                                                                                                  17F01221X,
                         and speciﬁcally, to get an outstanding arrest warrant against Vivek quashed.
         \1
 [U



 l\) 00



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                                                             Exhibit "12"                                        0563
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                 ._n
                                   6.   Between on or about February 20, 2017 and on or about May 9, 2017, respondent
                           failed to take any action to quash the warrant, and thereby intentionally, recklessly, or repeatedly

                           failed to perform with competence, in willful violation of Rules of Professional Conduct, rule 3-

                           110(A).
                                                                      COUNT FIVE
   5\OOO\lO'\UI-RU->l\.)




                                                                   Case No. 17-O-04174
                                                     Business and Professions Code, Section 6068(m)
                                                   [Failure to Inform Client of Signiﬁcant Development]


                                   7.   Respondent failed to keep respondent’s client, Vivek Chamaria ("Vivek"), reasonably

                           informed of signiﬁcant developments in a matter in which respondent had agreed to provide

                           legal services, by failing to inform Vivek that the arrest warrant in Vivek’s criminal case entitled

   p_n         p—A
                           State ofNevada vs. Vivek Chamaria, Las Vegas Justice Court, case no. 17F01221X had not been

  —a I\)
                           quashed, in Wil1ﬁ1l violation of Business and Professions Code, section 6068(m).


                                                                       COUNT SIX
  r—-          U)




  r--A
           -P
                                                                  Case No. 17-O—04174
                                                       Business and Professions Code, section 6106
  |—A          U1
                                                     [Moral Turpitude — Misrepresentation to Clients]
  :-t
           O'\                     8.   On or about April 3, 2017, respondent advised his client Vivek Chamaria (“Vivek”)
  >—-      \l              and Vivek’s brother, Vishal Chamaria (“Vishal”), that he had ﬁled a motion to quash a warrant

  »—I      00              that had issued against Vivek, in the case entitled State of Nevada v. Vivek Chamaria, Las Vegas

  rd      \O               Justice Court, Case no. 17F01221X (“the criminal case”), that he had attended a hearing on the

 [Q       G                motion to quash, and that the court had in fact quashed the warrant, when respondent knew that

 l\3 r—-                   he had not ﬁled a motion to quash the warrant, he had not attended a hearing on a motion to

 [Q [Q                     quash, and the court had not issued any order quashing the warrant. Respondent knew that his

 l\) U.)                   statements were false and misleading, and respondent thereby committed acts involving moral

 [Q      -Ik
                           turpitude, dishonesty or corruption in willful violation of Business and Professions Code, section

 l\J U1                    6106.

 [0
         O'\                       9.   A violation of section 6106 may result from intentional conduct or grossly negligent
 l\) \l                    conduct. Respondent is charged with committing intentional misrepresentation. However, should

                           the evidence at trial demonstrate that respondent committed misrepresentation as a result
 I\) O0
                                                                                                                        of gross
                                                                            -4-
                                                              Exhibit "12"                                        0564
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                        negligence, respondent must still be found culpable of violating section 6106 because

                        misrepresentation through gross negligence is a lesser included offense of intentional

                        misrepresentation.

                                                                   COUNT SEVEN
   \O0O\lO\UI->0->l\)



                                                                 Case No. 17-O-04174
                                                     Business and Professions Code, section 6106
                                                         [Moral Turpitude — False Pretenses]
                                10.   On or about April 11, 2017, respondent sent Vishal and Vivek Chamaria (“the
                        Chamarias”) an email, stating that the Court had granted a Motion to Quash Vivek’s arrest

                        warrant on April 3, 2017, in the case entitled State ofNevada v. Vivek Chamaria, Las Vegas

  10                    Justice Court, Case no. 17F01221X, when respondent knew the court had not granted a motion
                                                                                                                             to

  11                    quash Vivek’s arrest warrant. Respondent also attached a falsiﬁed court order to the April 11,

 12                     2017 email, with a falsiﬁed signature of Judge Amy Chelini, when respondent knew that no such

 13                     order had issued, and that Judge Chelini had not signed such an order. Respondent thereby

 14                     committed acts involving moral turpitude, dishonesty or corruption in willful yiolation of

 15                     Business and Professions Code, section 6106.

 16                             11.   A violation of section 6106 may result from intentional conduct or grossly negligent
 17                     conduct. Respondent is charged with committing intentional misrepresentation and falsiﬁcation

 18                     of evidence. However, should the evidence at trial demonstrate that respondent committed

 19                     misrepresentation and falsiﬁcation of evidence as a result of gross negligence, respondent must

 20                     still be found culpable of violating section   6106 because misrepresentation through gross
 21                     negligence is a lesser included offense of intentional misrepresentation.

 22
                                                                   COUNT EIGHT
 23
                                                                Case No. 17-O-04174
 24                                                Business and Professions Code, section 6106
                                               [Moral Turpitude — Conversion and Misappropriation]
 25
                               12. Respondent was employed by Vishal and Vivek Chamaria (“the Chamarias”)
                                                                                                                      on
 26
                        December 27, 2016, to review the ﬁnal draft of a Termination Agreement between P&V L.L.C.,
 27
                        Chop Shop L.L.C., and Ameritel Management Incorporated (“ATI”), and to obtain payment
 28
                                                                           -5-
                                                            Exhibit "12"                                      0565
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                pi    from ATI relating to the Termination Agreement. On or about May 1, 2017, respondent diverted

                      $375,000.00 in funds belonging to “the Chamarias”, owners of P&V L.L.C. and Chop Shop

                      L.L.C., and improperly converted the funds for his own personal beneﬁt.

                              13.   On or about May 1, 2017, respondent emailed Adam Sgro (“Sgro”), counsel for ATI,
                      with instructions to wire the $375,000.00 installment payment owed to the Chamarias, pursuant

   3xooo\:oxuu.:>wN   to the Termination Agreement, into his personal Bank of America account, no. xxxxxxxx1081

                      (“personal accoun ”). The installment payment was scheduled to be deposited into the P&V

                      L.L.C. and Chop Shop L.L.C. business account on or about May 1, 2017, but respondent

                      instructed payment be made to his personal account, representing to S gro that the wire deposit

                      into his personal account was on behalf of respondent’s clients, the Chamarias.

  1...;
            pi                14. Respondent knew that he had improperly and dishonestly converted the ﬁlnds without

  o--n    l\)
                      the knowledge or consent of the Chamarias to divert the $375 ,OO0.00 and respondent never

  )—d
          U.)
                      informed the Chamarias that he had received the $375,000.00 on or about May 1, 2017. From on
  »—I
          -l>
                      or about May 1, 2017, to the present, respondent has intentionally not paid the $3 75,000.00 owed

  >-\
          U‘:
                      to the Chamarias, and intentionally converted and misappropriated the funds, thereby committing

  >—-
          O’\
                      an act involving moral turpitude, dishonesty or corruption in willful violation of Business and
  >-\     \)
                      Professions Code, section 6106.

  >—-     00                  15.   A Violation of section 6106 may result from intentional conduct or grossly negligent
  La      \O          conduct. Respondent is charged with committing an intentional conversion and

 l\J
          O           misappropriation. However, should the evidence at trial demonstrate that respondent converted

 l\) r—I
                      and misappropriated the funds as a result of grossly negligent conduct, respondent must still be
 l\) [Q
                      found culpable of violating section 6106 because misappropriation through gross negligence is a

 I9
          U.)
                      lesser included offense of intentional conversion.

 IQ       A           ///


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                                                          Exhibit "12"                                       0566
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                                              pg
                                                                                                                   COUNT NINE
                                                                                                               Case No. 17-O-04174
                                                                                                Rules of Professional Conduct, Rule 4-100(B)(1)
                                                                                                  [Failure to Notify of Receipt of Client Funds]


                                                                             16.   On or about May 1, 2017, respondent received on behalf of respondent’s clients,
                                                                     Vishal and Vivek Chamaria ("the Chamarias"), funds owed to the Chamarias pursuant to a
                                       >—‘©\OOO\lO'\£I’I-U>-U-3l\3




                                                                     Termination Agreement between P&V L.L.C., Chop Shop L.L.C., and Ameritel Management

                                                                     Incorporated ("ATI"). Respondent failed to notify the Chamarias of respondent’s receipt of funds

                                                                     on behalf of the Chamarias, in willful violation of the Rules of Professional Conduct, rule 4-

                                                                     100(B)(1).
                                                                                                               COUNT TEN
               r—-)—-




                                                                                                             Case No. 17-O-04174
                                                                                                 Rules of Professional Conduct, Rule 4-100(A)
                                                                                               [Failure to Deposit Client Funds in Trust Account]

                                                                             17.   On or about May 1, 2017, respondent received on behalf of respondent’s clients,
                                                                     Vishal and Vivek Chamaria (“the Chamarias”), funds owed to the Chamarias pursuant to a

                                                                     Termination Agreement between P&V L.L.C., Chop Shop L.L.C., and Ameritel Management
                               ©\OOO\)O\UI-RU-)I\J




 [\)r-dr—an—>—-In->—-v—-I»-A




                                                                     Incorporated ("ATI"). Respondent failed to deposit $375,000.00 in funds received for the beneﬁt

                                                                     of the Chamarias in a Client Trust Account, in willful violation of the Rules of Professional

                                                                     Conduct, rule 4-100(A).
                                                                                                               COUNT ELEVEN
                                                                                                             Case No. 17-O-04174
                                                                                              Rules of Professional Conduct, Rule 4-1 O0(B)(4)
                                                                                                     [Failure to Pay Client Funds Promptly]
 l\J :-I
                                                                             18.   On or about May 1, 2017, respondent received, on behalf of respondent’s clients,
                                                                     Vishal and Vivek Chamaria (“the Chamarias”), funds owed to the Chamarias as owners of P&V
 l\) Ix)




                                                                     L.L.C. and Chop Shop L.L.C., $375,000.00, pursuant to a Termination Agreement between the
 IN) L»)




 IQ                            A                                     Chamarias and Ameritel Management Incorporated (‘ATI”). Of this sum, the Chamarias were

                                                                                                            On or about May 1, 2017, the Chamarias ﬁrst requested
 l\J L11
                                                                     entitled to the entire $375 ,O00.00.

 [0 O\
                                                                     payment of the ﬁmds, but were informed by respondent that ATI was withholding payment. On
                                                                     or about May 11, 2017, Vishal Chamaria met with respondent in Orange County California,
 l\J \l


                                                                                                                                                                      after
 I\) O0



                                                                                                                        -7-
                                                                                                            Exhibit "12"                                   0567
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               p_A
                        receiving an email from ATI’s counsel, Adam Sgro, conﬁrming that the installment payment had

                        been made and received by respondent on May 1, 2017, and demanded immediate payment of

                        the funds. To date, respondent has failed to pay promptly, as requested by respondent’s client,

                        $375,000.00 in respondent’s possession in willﬁxl violation of the Rules of Professional Conduct,

                        rule 4-100(B)(4).
   S\OOO\)O\UI-JBUJIQ

                                                                   COUNT TWELVE
                                                                  Case No. 17-O-04174
                                                       Business and Professions Code, section 6106
                                                     [Moral Turpitude — Misrepresentation to Clients]
                                19.   On or about December 27, 2016, Vishal and Vivek Charnaria (“the Chamarias”)
                        employed respondent to review the ﬁnal draft of a Termination Agreement between the
   5-:       p_n
                        Chamarias, as owners of P&V L.L.C. and Chop Shop L.L.C., and Ameritel Management

   r—-    l\)           Incorporated (“ATI”)    .   The Chamarias had negotiated the terms of the agreement themselves,
   n—A     L»)          from on or about November 24, 2016 through on or about December 27, 2016, but were advised

   >—-         -5-      to seek counsel before executing the ﬁnal agreement. Respondent obtained a copy of the ﬁnal

  —I      kl‘:
                        draft of the Termination Agreement, and advised his clients to execute it on December 30, 2016.

  —-     O‘\                   20. Between on or about May 1, 2017 through May 12, 2017, respondent made the

  n—I    \l             following representations to the Chamarias, in connection with his haﬁdling the review of the

  o—-     00            Termination Agreement, when respondent knew or was grossly negligent in not knowing that the

  r-—A
         KO             representations were false, and thereby committed acts involving moral turpitude, dishonesty or

 l\J     O              corruption, in willful violation of Business and Professions Code section 6106:

 I\) o—-                       a.     On or about May 1, 2017, respondent stated to Vishal Chamaria that ATI was
 IO [0                                refusing to make the ﬁnal installment payment of $375,000.00 as a result of an

 l\) U.)                              alleged chargeback dispute pursuant to paragraph 4 of the Termination Agreement,

 l\)
         A                            when respondent knew there was no such chargeback.
 l\) U!                        b.     Beginning on or about May 1, 2017, when a $375,000.00 installment payment was

 [0 ON                                scheduled to be deposited into the Chamarias’ P&V L.L.C. and Chop Shop L.L.C.

 [0 \)                                business account, through on or about       May 4, 2017, respondent, via multiple
 IN) 00                               telephone and text messages, represented to the Chamarias that he was in on-going
                                                                           -3-
                                                              Exhibit "12"                                    0568
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               pi
                                     negotiations with ATI's counsel,    Adam Sgro (“Sgro”), regarding ATI’s delay in
                                     payment, when in fact respondent had already received the $3 75,000.00.

                                c.   On or about May 5, 2017, in furtherance of respondent’s representations, he
                                     forwarded the Chamarias two separate emails he claimed to have sent to Sgro,

                                     disputing the alleged chargebacks, when respondent knew that the emails had been
   S\O0O\lO\UI~PUJl\J




                                     falsiﬁed, as respondent himself converted payment of those funds into his personal

                                     Bank of America account, no. xxxxxxxx1081 on May 1, 2017, and misappropriated
                                     them.

                               cl.   On or about May 10, 2017, respondent forwarded a purported email chain between
                                     himself and Sgro to the Chamarias. By the contents of those emails, respondent
   ;_n       pa
                                     represented to the Chamarias that they were negotiating a $90,000.00 lease dispute,
   —-
          IQ                         and the reason why the $375,000.00 installment had not been made, when in fact

   rd
          U.)
                                     respondent   knew the email chain was falsiﬁed and had already received the
   r—I
         -B
                                     $375,000.00.

   r-A
          U1
                               21.   A violation of section 6106 may result from intentional conduct or grossly negligent
  >—A    O\
                        conduct. Respondent is charged with committing intentional misrepresentations. However,

  —A     \]
                        should the evidence at trial demonstrate that respondent committed the misrepresentations as a

  >-—A
         00             result of gross negligence, respondent must still be found culpable of violating section 6106

  »—I
         \O             because misrepresentation through gross negligence is a lesser included offense of intentional

 [0 CD                  misrepresentation.


                                                               COUNT THIRTEEN
 l\3 y—




 [Q [Q
                                                               Case No. 17-O-04174
 B)      U.)
                                                    Business and Professions Code, section 6106
                                                       [Moral Turpitude - Misrepresentation]
 [Q -B
                               22. On or about December 14, 2017 respondent made the following representations to a

                        State Bar investigator, in connection with his handling the review of the Termination
         Q!‘-
 I\)

                                                                                                                Agreement,
 Ix) O\
                        and his handling of Vivek Chamaria’s (“Vivek”) criminal matter:
 [Q \]



 l\-)    00




                                                           Exhibit "12"                                        0569
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                     )—A
                                            a.    Respondent stated that he entered into a fee agreement with the Chamarias related to

                                                  the Termination Agreement between      P&V L.L.C., Chop Shop L.L.C., and Ameritel
                                                  Management Corporation (“ATI”), and attached a copy of the purported fee
                                                  agreement to his letter responding to the State Bar investigative letter.

                                            b.    Respondent stated that he and Vishal Chamaria (“Vishal”) executed a settlement
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                                                  agreement related to the ATI representation, whereby Vishal agreed to take $3,000.00

                                                  of the $375,000.00 installment payment from ATI, and the remaining $372,000.00

                                                  would remain with respondent as attorney fees.

                                            c.    Respondent stated that he never agreed to represent Vivek Chamaria in his criminal

                                                  matter, and never received a $7,500.00 ﬂat fee for the representation, but that the

  p_n                p_a

                                                  $7,500.00 deposit was from the P&V L.L.C. account and was in connection with a

                                                  different matter respondent was handling for   P&V L.L.C.
                                            23. Respondent made these representations when he knew or was grossly negligent in not

                                    knowing that the representations were false, and thereby committed acts involving moral
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                                    turpitude, dishonesty or corruption in willful violation of Business and Professions Code, section

                                    6106.

                                            24.   A violation of section 6106 may result from intentional conduct or grossly negligent
                                    conduct. Respondent is charged with committing intentional misrepresentation. However,

                                    should the evidence at trial demonstrate that respondent committed misrepresentation as a result

                                    of gross negligence, respondent must still be found culpable of violating section 6106 because

                                    misrepresentation through gross negligence is a lesser included offense of intentional

                                    misrepresentation.

                                                              NOTICE - INACTIVE ENROLLMENT!
                                            YOU ARE HEREBY FURTHER NOTIFIED THAT IF THE STATE BAR
                                            COURT FINDS, PURSUANT TO BUSINESS AND PROFESSIONS CODE
                                            SECTION 6007(c), THAT YOUR CONDUCT POSES A SUBSTANTIAL
                                            THREAT OF HARM TO THE INTERESTS OF YOUR CLIENTS OR TO
                                            THE PUBLIC, YOU MAY BE INVOLUNTARILY ENROLLED AS AN
                                            INACTIVE MEMBER OF THE STATE BAR. YOUR INACTIVE
                                            ENROLLMENT WOULD BE IN ADDITION TO ANY DISCIPLINE
                                            RECOMMENDED BY THE COURT.
                                                                                       -10-
                                                                         Exhibit "12"                                         0570
Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48                                                       Desc
                    Exhibit Exhibits 1 - 12 Page 583 of 584



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                                   Ix)
                                                                                   NOTICE - COST ASSESSMENT!
                                                             IN THE EVENT THESE PROCEDURES RESULT IN PUBLIC
                                                             DISCIPLINE, YOU MAY BE SUBJECT TO THE PAYMENT OF COSTS
                                    U.)




                                                             INCURRED BY THE STATE BAR IN THE INVESTIGATION, HEARING
                                                             AND REVIEW OF THIS MATTER PURSUANT TO BUSINESS AND
                                                             PROFESSIONS CODE SECTION 6086.10.
                                                                                                 Respectfully submitted,

                                                                                                 THE STATE BAR OF CALIFORNIA
                                  P"‘$\O00\lO'\§/I-5
                                                                                                 OFFICE OF CHIEF TRIAL COUNSEL



                                                       DATED: September/‘9,‘2O18           By:
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                                                                                     Exhibit "12"                            0571
        Case 8:23-ap-01046-SC Doc -1 Filed 07/13/23 Entered 07/13/23 09:14:48                                                                                                                            Desc
                            Exhibit Exhibits 1 - 12 Page 584 of 584
                                                                                         DECLARATION OF SERVICE
                                                                                                                                   by
                           U.S. FIRSTCLASS MAIL / U.s. CERTIFIED MAIL / OVERNIGHT DELIVERY / FACSIMILE—ELECTRONIC TRANSMISSION


  CASE NUMBER(s): 17-O-04174

              I,   the undersigned, am over the age of eighteen (18) years and not a party to the within action, whose business address and place of employment is the State Bar of




                                                                                                                                                                                                                     ~
  California, 845 South Figueroa Street. Los Angeles, California 90017, declare that:

              -     on the date shown below, caused to be sewed a true copy of the within document described as follows:
                                                           I




                                                                                     NOTICE OF DISCIPLINARY CHARGES

  C‘          By U.S. First-Class Mail: (CCP §§ 1013 and 1013(3))
              -
                                                                                                                                             X‘ By U.S. Certiﬁed Mail: (CCP §§ 1013 and 1013(a))
                     inf Ecoo;r\dan?e
                                        with the practice of the State Bar of California for collection and processing of mail,                          I   deposited or placed for collection and mailing in the City and County
              -      o   as nge es.


  El          By Overnight Delivery: (CCP §§ 1013(c) and 1013(d))
              -  am readily familiar with the State Bar of California's practice for collection and processing of correspondence for ovemight delivery by the United Parcel Service ('UPS').
                     I




  I:          By Fax Transmission: (CCP §§ 1013(e) and 1013(f))
              Based on agreement of the parties to accept service by fax transmission, faxed the documents to the persons at the fax numbers listed herein
                                                                                                                          I
                                                                                                                                                           below. No error was
              reported by the fax machine that used. The original record of the fax transmission is retained on ﬁle and available upon
                                                                    I
                                                                                                                                       request.


  El          By Electronic Service: (CCP§ 1010.6)
              Based on a court order or an agreement of the parties to accept sewioe by electronic transmission, caused the documents to be sent to the
                                                                                                                                                     I
                                                                                                                                                            person(s) at the electronic
              addressesfliﬁted herein below. did not receive. within a reasonable time after the transmission, any electronic message or other indication that the transmission
                                                                I

                                                                                                                                                                                was
              unsucoess u.



                   E] (forU.S. Firs!-Class mm in a sealed envelope placed for collection and mailing at Los Angeles, addressed to: (see below)
                   IXI   (forcerriﬁeduail)       in a sealed envelope placed for collection and mailing as certiﬁed mail, return receipt
                                                                                                                                                                             requested,
                   Article No.2    A              A
                                                          94147266 9904 21110224 88                               A   V
                                                                                                                              at Los Angeles, addressed to: (see below)

                   III (forovemightbelivery)          together with a copy of this declaration, in an envelope, or package designated by UPS,
                   Tracking N0-I                                                                                                         addressed 103 (899 WOW)
                                        .   ._                 *1       ..   .       .    ._   .   _.    _   _.           .._

              Person Served                           5



                                                                                 Business-Residential Address                                      Fax Number                                    Courtesy Copy to:
                                                                                         DIAB LAW
        TONY M. DIAB                                           620 NEWPORT CENTER DR, STE 670                                                  Electronic Address
                                                                NEWPORT BEACH, CA 92660-8055

I:I via inter-ofﬁce mail regularly processed and maintained by the State Bar of California addressed to:


                                                                                                                                NIA

          I am readily familiar with the State Bar of CaIifomia's practice for collection and processing of correspondence for mailing with the United States Postal Service, and
 overnight delivery by the United Parcel Service (‘UPS’). In the ordinary course of the State Bar of CaIifomia's practice, correspondence
                                                                                                                                            collected and processed by the State Bar of
 galifomia would be deposited with the United States Postal Service that same day, and for overnight delivery, deposited with delivery fees
                                                                                                                                                paid or provided for, with UPS that same
  ay.

          I   am aware that on motion of the party served, service is presumed invalid                                if      postal cancellation date or postage meter date on the envelope or package is more than one day
 after date of deposit for mailing contained in the afﬁdavit.



               declare under penalty of perjury, under the laws of the State of California, that the foregoing is true and correct. B<ecuted at Los
          I
                                                                                                                                                    Angeles,
California, on the date shown below.


  DATED: September 12, 2018

                                                                                                                                                                                                a
                                                                                                                  SIGNED:
                                                                                                                                         NATALIE FLORES
                                                                                                                                         Declarant




                                                                                                             State Bar of Califomia
                                                                                                        DECLARATION OF SERVICE
                                                                                                         Exhibit "12"                                                                                      0572
